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                           UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

 VALLEY HOPE ASSOCIATION, on behalf
 of itself and all other entities similarly
 situated,

        Plaintiff,
                                                        Case No. __________________
 v.

 AMERISOURCEBERGEN DRUG
 CORPORATION; CARDINAL HEALTH,
 INC.; McKESSON CORPORATION;
 PURDUE PHARMA L.P.; PURDUE
 PHARMA, INC.; THE PURDUE
 FREDERICK COMPANY, INC.; TEVA
 PHARMACEUTICAL INDUSTRIES, LTD.;
 TEVA PHARMACEUTICALS USA, INC.;
 CEPHALON, INC.; JOHNSON &
 JOHNSON; JANSSEN
 PHARMACEUTICALS, INC.; ORTHO-
 MCNEIL-JANSSEN
 PHARMACEUTICALS, INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 JANSSEN PHARMACEUTICA INC. n/k/a
 JANSSEN PHARMACEUTICALS, INC.;
 NORAMCO, INC.; ENDO HEALTH
 SOLUTIONS INC.; ENDO
 PHARMACEUTICALS, INC.; ALLERGAN
 PLC f/k/a ACTAVIS PLS; WATSON
 PHARMACEUTICALS, INC. n/k/a
 ACTAVIS, INC.; WATSON
 LABORATORIES, INC.; ACTAVIS LLC;
 ACTAVIS PHARMA, INC. f/k/a WATSON
 PHARMA, INC.; MALLINCKRODT PLC
 and MALLINCKRODT LLC.,

        Defendants.

                               CLASS ACTION COMPLAINT

       Plaintiff, on behalf of all other treatment centers who have had to clean up the mess

caused by Defendants, bring this Complaint against Defendants, and allege as follows:
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                I.      INTRODUCTION

        1.      The United States is in the midst of an opioid epidemic caused by Defendants'

unlawful marketing, sales, and distribution of prescription opioids that has resulted in addiction,

criminal activity, serious health issues, and loss of life.

        2.      Plaintiff brings this civil action to recover monetary losses that have been incurred

as a direct and proximate result of Defendants' false, deceptive, and unfair marketing and/or

unlawful diversion of prescription opioids. Such economic damages were foreseeable to

Defendants and were sustained because of Defendants' unlawful actions and omissions.

        3.      Opioid analgesics are widely diverted and improperly used, and the widespread

abuse of opioids has resulted in a national epidemic of opioid overdose deaths and addictions. 1

        4.      The opioid epidemic is "directly related to the increasingly widespread misuse of

powerful opioid pain medications." 2

        5.      Plaintiff brings this suit against the manufacturers of prescription opioids. The

manufacturers aggressively pushed highly addictive, dangerous opioids, falsely representing to

doctors that patients would only rarely succumb to drug addiction. These pharmaceutical

companies aggressively advertised to and persuaded doctors to prescribe highly addictive,

dangerous opioids, and turned patients into drug addicts for their own corporate profit. Such

actions were unlawful.

        6.      Plaintiff also brings this suit against the wholesale distributors of these highly

addictive drugs. The distributors and manufacturers unlawfully breached their legal duties under


1
 See Nora D. Volkow & A. Thomas McLellan, Opioid Abuse in Chronic Pain-Misconceptions
and Mitigation Strategies, 374 N. Eng. J. Med. 1253 (2016).
2
 See Robert M. Califf et al., A Proactive Response to Prescription Opioid Abuse, 374 N. Eng. J.
Med. 1480

                                                   2
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federal law to monitor, detect, investigate, refuse, and report suspicious orders of prescription

opiates.

                II.    PARTIES

                       A.     PLAINTIFFS

          7.    Plaintiff VALLEY HOPE ASSOCIATION, INC., is a private non-profit

corporation organized under the laws of the State of Kansas, with its principal place of business

in Kansas.

                       B.     DEFENDANTS

                                  1. Manufacturer Defendants

          8.    The Manufacturer Defendants are defined below. At all relevant times, the

Manufacturer Defendants have packaged, distributed, supplied, sold, placed into the stream of

commerce, labeled, described, marketed, advertised, promoted and purported to warn or purported

to inform prescribers and users regarding the benefits and risks associated with the use of the

prescription opioid drugs. The Manufacturer Defendants, at all times, have manufactured and sold

prescription opioids without fulfilling their legal duty prevent diversion and report suspicious

orders.

          Purdue

          9.    PURDUE PHARMA L.P. is a limited partnership organized under the laws of

Delaware. None of its partners are citizens of the State of Mississippi. PURDUE PHARMA INC.

is a New York corporation with its principal place of business in Stamford, Connecticut, and THE

PURDUE FREDERICK COMPANY is a Delaware corporation with its principal place of business

in Stamford, Connecticut (collectively, "Purdue").

          10.   Purdue manufactures, promotes, sells, and distributes opioids such as OxyContin,

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MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq ER in the United States.

OxyContin is Purdue's best-selling opioid. Since 2009, Purdue's annual nationwide sales of

OxyContin have fluctuated between $2.47 billion and $2.99 billion, up four-fold from its 2006

sales of $800 million. OxyContin constitutes roughly 30% of the entire market for analgesic drugs

(painkillers).

        Cephalon

        11.      CEPHALON, INC. is a Delaware corporation with its principal place of business

in Frazer, Pennsylvania.

        12.      TEVA PHARMACEUTICAL INDUSTRIES, LTD. ("Teva Ltd.") is an Israeli

corporation with its principal place of business in Petach Tikva, Israel. In 2011, Teva Ltd.

Acquired Cephalon, Inc. TEVA PHARMACEUTICALS USA, INC. ("Teva USA") is a Delaware

corporation which is a wholly owned subsidiary of Teva Ltd. In Pennsylvania. Teva USA acquired

Cephalon in October of 2011.

        13.      Cephalon, Inc. manufactures, promotes, sells, and distributes opioids such as Actiq

and Fentora in the United States. Actiq has been approved by the FDA only for the "management

of breakthrough cancer pain in patients 16 years and older with malignancies who are already

receiving and who are tolerant to around-the-clock opioid therapy for the underlying persistent

cancer pain."3 Fentora has been approved by the FDA only for the "management of breakthrough

pain in cancer patients 18 years of age and older who are already receiving and who are tolerant

to around-the-clock opioid therapy for their underlying persistent cancer pain." 4 In 2008,


3
 Highlights of Prescribing information, ACTIQ® (fentanyl citrate) oral transmucosal lozenge,
CII (2009), https://www.accessdata.fda.gov/drugsatfdadocs/label/2009/020747s030lbl.pdf.
4
 Highlights of Prescribing Information, FENTORA® (fentanyl citrate) buccal tablet, CII (2011),
https://www.accessdata.fda.gov/drugsatfda docs/label/2012/021947s015lbl.pdf.

                                                  4
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Cephalon pled guilty to a criminal violation of the Federal Food, Drug and Cosmetic Act for its

misleading promotion of Actiq and two other drugs, and agreed to pay $425 million. 5

       14.     Teva Ltd., Teva USA, and Cephalon, Inc. work together closely to market and sell

Cephalon products in the United States. Teva Ltd. conducts all sales and marketing activities for

Cephalon in the United States through Teva USA and has done so since its October of 2011

acquisition of Cephalon. Teva Ltd. and Teva USA hold out Actiq and Fentora as Teva products to

the public. Teva USA sells all former Cephalon branded products through its "specialty

medicines" division. The FDA-approved prescribing information and medication guide, which is

distributed with Cephalon opioids, discloses that the guide was submitted by Teva USA, and

directs physicians to contact Teva USA to report adverse events.

       15.     All of Cephalon's promotional websites, including those for Actiq and Fentora,

display Teva Ltd.'s logo.6 Teva Ltd.'s financial reports list Cephalon's and Teva USA's sales as

its own, and its year-end report for 2012 - the year immediately following the Cephalon acquisition

attributed a 22% increase in its specialty medicine sales to "the inclusion of a full year of

Cephalon's specialty sales," including inter alia sales of Fentora®. 7 Through interrelated

operations like these, Teva Ltd. operates in the United States through its subsidiaries Cephalon

and Teva USA. The United States is the largest of Teva Ltd.'s global markets, representing 53%

of its global revenue in 2015, and, were it not for the existence of Teva USA and Cephalon, Inc.,



5
 Press Release, U.S. Dep't of Justice, Biopharmaceutical Company, Cephalon, to Pay $425
Million & Enter Plea to Resolve Allegations of Off-Label Marketing (Sept. 29, 2008),
https://www.justice.gov/archive/opa/pr/2008/September/08-civ-860.html.
6
 E.g., ACTIQ, http://www.actiq.com/ (displaying logo at bottom-left) (last visited Aug. 21,
2017).
7
 Teva Ltd., Annual Report (Form 20-F) 62 (Feb. 12, 2013),
http://annualreports.com/HostedData/AnnualReportArchive/t/NASDAQ TEVA 2012.pdf

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Teva Ltd. would conduct those companies' business in the United States itself. Upon information

and belief, Teva Ltd. directs the business practices of Cephalon and Teva USA, and their profits

inure to the benefit of Teva Ltd. as controlling shareholder. Teva Pharmaceutical Industries, Ltd.,

Teva Pharmaceuticals USA, Inc., and Cephalon, Inc. are referred to as "Cephalon."

       Janssen

       16.     JANSSEN PHARMACEUTICALS, INC. is a Pennsylvania corporation with its

principal place of business in Titusville, New Jersey, and is a wholly owned subsidiary of

JOHNSON & JOHNSON (J&J), a New Jersey corporation with its principal place of business in

New Brunswick, New Jersey. NORAMCO, INC. ("Noramco") is a Delaware company

headquartered in Wilmington, Delaware and was a wholly owned subsidiary of J&J until July of

2016. ORTHO-MCNEIL-JANSSEN PHARMACEUTICALS, INC., now known as

JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal place

of business in Titusville, New Jersey. JANSSEN PHARMACEUTICA INC., now known

as JANSSEN PHARMACEUTICALS, INC., is a Pennsylvania corporation with its principal

place of business in Titusville, New Jersey. J&J is the only company that owns more than 10%

of Janssen Pharmaceuticals' stock, and corresponds with the FDA regarding Janssen's products.

Upon information and belief, J&J controls the sale and development of Janssen

Pharmaceuticals' drugs and Janssen's profits inure to J&J's benefit. Janssen Pharmaceuticals,

Inc., Ortho-McNeil-Janssen Pharmaceuticals, Inc., Janssen Pharmaceutica, Inc., Noramco, and

J&J are referred to as "Janssen."

       17.     Janssen manufactures, promotes, sells, and distributes drugs in the United States,

including the opioid Duragesic (fentanyl). Before 2009, Duragesic accounted for at least $1

billion in annual sales. Until January 2015, Janssen developed, marketed, and sold the opioids

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Nucynta (tapentadol) and Nucynta ER. Together, Nucynta and Nucynta ER accounted for $172

million in sales in 2014.

       Endo

       18.     ENDO HEALTH SOLUTIONS INC. is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. ENDO PHARMACEUTICALS INC. is a wholly

owned subsidiary of Endo Health Solutions Inc. and is a Delaware corporation with its principal

place of business in Malvern, Pennsylvania. Endo Health Solutions, Inc. and Endo

Pharmaceuticals Inc. are referred to as "Endo."

       19.     Endo develops, markets, and sells prescription drugs, including the opioids

Opana/Opana ER, Percodan, Percocet, and Zydone, in the United States. Opioids made up roughly

       $403 million of Endo's overall revenues of $3 billion in 2012. Opana ER yielded $1.15

billion in revenue from 2010 and 2013, and it accounted for 10% of Endo's total revenue in 2012.

Endo also manufactures and sells generic opioids such as oxycodone, oxymorphone,

hydromorphone, and hydrocodone products in the United States, by itself and through its

subsidiary, Qualitest Pharmaceuticals, Inc.

       Actavis

       20.     ALLERGAN PLC is a public limited company incorporated in Ireland with its

principal place of business in Dublin, Ireland. ACTAVIS PLC acquired ALLERGAN PLC in

March 2015, and the combined company changed its name to ALLERGAN PLC in January 2013.

Before that, WATSON PHARMACEUTICALS, INC. acquired ACTAVIS, INC. in October 2012,

and the combined company changed its name to Actavis, Inc. as of January 2013 and then

ACTAVIS PLC in October 2013. WATSON LABORATORIES, INC. is a Nevada corporation

with its principal place of business in Corona, California, and is a wholly-owned subsidiary of
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ALLERGAN PLC (f/k/a Actavis, Inc., f/k/a Watson Pharmaceuticals, Inc.). ACTAVIS

PHARMA, INC. (f/k/a Actavis, Inc.) is a Delaware corporation with its principal place of business

in New Jersey and was formerly known as WATSON PHARMA, INC. ACTAVIS LLC is a

Delaware limited liability company with its principal place of business in Parsippany, New Jersey.

Each of these defendants is owned by ALLERGAN PLC, which uses them to market and sell its

drugs in the United States. Upon information and belief, ALLERGAN PLC exercises control over

these marketing and sales efforts and profits from the sale of Allergan/Actavis products ultimately

inure to its benefit. ALLERGAN PLC, ACTAVIS PLC, ACTAVIS, Inc., Actavis LLC, Actavis

Pharma, Inc., Watson Pharmaceuticals, Inc., Watson Pharma, Inc., and Watson Laboratories, Inc.

are referred to as "Actavis."

       21.     Actavis manufactures, promotes, sells, and distributes opioids, including the

branded drugs Kadian and Norco, a generic version of Kadian, and generic versions of Duragesic

and Opana, in the United States. Actavis acquired the rights to Kadian from King Pharmaceuticals,

Inc. on December 30, 2008, and began marketing Kadian in 2009.

       Mallinckrodt

       22.     MALLINCKRODT, PLC is an Irish public limited company headquartered in

Staines-upon-Thames, United Kingdom, with its U.S. headquarters in St. Louis, Missouri.

MALLINCKRODT, LLC is a limited liability company organized and existing under the laws of

the State of Delaware. Mallinckrodt, LLC has no members that are citizens of the State of

Mississippi and is a wholly owned subsidiary of Mallinckrodt, plc. Mallinckrodt, plc and

Mallinckrodt, LLC are referred to as "Mallinckrodt."

       23.     Mallinckrodt manufactures, markets, and sells drugs in the United States including

generic oxycodone, of which it is one of the largest manufacturers. In July of 2017 Mallinckrodt

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agreed to pay $35 million to settle allegations brought by the Department of Justice that it failed

to detect and notify the DEA of suspicious orders of controlled substances.

                                   2. Distributor Defendants

        24.      The Distributor Defendants also are defined below. At all relevant times, the

Distributor Defendants have distributed, supplied, sold, and placed into the stream of commerce

the prescription opioids, without fulfilling the fundamental duty of wholesale drug distributors to

detect and warn of diversion of dangerous drugs for non-medical purposes. The Distributor

Defendants universally failed to comply with federal law. Plaintiffs allege the unlawful conduct

by the Distributor Defendants is responsible for the volume of prescription opioids plaguing the

United States.

        25.      McKESSON CORPORATION ("McKesson") is a Delaware corporation, with its

principal place of business located in San Francisco, California. McKesson distributes

pharmaceuticals to retail pharmacies and institutional providers in all 50 states.

        26.      CARDINAL HEALTH, INC. ("Cardinal") is an Ohio corporation with its principal

place of business located in Dublin, Ohio. Cardinal distributes pharmaceuticals to retail

pharmacies and institutional providers in all 50 states.

        27.      AMERISOURCEBERGEN DRUG CORPORATION ("AmerisourceBergen") is a

Delaware corporation with its principal place of business in Chesterbrook, Pennsylvania.

AmerisourceBergen distributes pharmaceuticals to retail pharmacies and institutional providers in

all 50 states.

                 III.   JURISDICTION & VENUE

        28.      This Court has subject matter jurisdiction under 28 U.S.C. § 1331 based upon the

federal claims asserted under the Racketeer Influenced and Corrupt Organizations Act, 18 U.S.C.
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§ 1961, et seq. ("RICO").

        29.    This Court has personal jurisdiction over Defendants because all the Defendants

purposefully conduct substantial business in this State and in this judicial district.

        30.      This Court also has personal jurisdiction over all of the Defendants under 18 U.S.C.

1965(b). This Court may exercise nation-wide jurisdiction over the named Defendants where the

"ends of justice" require national service and Plaintiffs demonstrate national contacts. Here, the

interests of justice require that Plaintiffs be allowed to bring all members of the nationwide RICO

enterprise before the court in a single trial. See, e.g., Iron Workers Local Union No. 17 Ins. Fund

v. Philip Morris Inc., 23 F.Supp.2d 796 (1998) (citing LaSalle Nat’l Bank v. Arroyo Office

Plaza, Ltd., 1988 WL 23824, *3 (N.D. Ill. Mar 10, 1988); see also Butcher’s Union Local No. 498

v. SDC Invest., Inc., 788 F.2d 535, 539 (9th Cir. 1986)).

        31.    Venue is proper in this District under 28 U.S.C. § 1391(b)(2), because Plaintiff

is domiciled in this judicial district, because a substantial part of the events and omissions

giving rise to Plaintiffs' claims occurred in this judicial district, and under 28 U.S.C. § (b)(1)

and § (c)(2), because all the Defendants are subject to personal jurisdiction in this state and in

this judicial district, such that Defendants are deemed to reside in this state and in this judicial

district.

               IV.     FACTUAL BACKGROUND

                               THE NATIONAL OPIOID EPIDEMIC

        32.    The past two decades have been characterized by increasing abuse and diversion of

prescription drugs, including opioid medications, in the United States. 8


8
 See Richard C. Dart et al, Trends in Opioid Analgesic Abuse and Mortality in the United States,
372 N. Eng. J. Med. 241 (2015).

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       33.       Prescription opioids have become widely prescribed. By 2010, enough prescription

opioids were sold to medicate every adult in the United States with a dose of 5 milligrams of

hydrocodone every 4 hours for 1 month. 9

       34.       By 2011, the U.S. Department of Health and Human Resources, Centers for Disease

Control and Prevention, declared prescription painkiller overdoses at epidemic levels. The News

Release noted:


                  a. The death toll from overdoses of prescription painkillers has more than

                     tripled in the past decade.


                  b. More than 40 people die every day from overdoses involving narcotic pain

                     relievers like hydrocodone (Vicodin), methadone, oxycodone (OxyContin),

                     and oxymorphone (Opana).


                  c. Overdoses involving prescription painkillers are at epidemic levels and now

                     kill more Americans than heroin and cocaine combined.


                  d. The increased use of prescription painkillers for nonmedical reasons, along

                     with growing sales, has contributed to a large number of overdoses and

                     deaths. In 2010, 1 in every 20 people in the United States age 12 and older-a

                     total of 12 million people-reported using prescription painkillers non-

                     medically according to the National Survey on Drug Use and Health. Based

                     on the data from the Drug Enforcement Administration, sales of these drugs

                     to pharmacies and health care providers have increased by more than 300


9
 Katherine M. Keyes at al., Understanding the Rural-Urban Differences in Nonmedical
Prescription Opioid Use and Abuse in the United States, 104 Am. J. Pub. Health e52 (2014).

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                        percent since 1999.


                    e. Prescription drug abuse is a silent epidemic that is stealing thousands of lives

                        and tearing apart communities and families across America.


                    f. Almost 5,500 people start to misuse prescription painkillers every day.10


          35.     The number of annual opioid prescriptions written in the United States in now

roughly equal to the number of adults in the population. 11

          36.     Many Americans are now addicted to prescription opioids, and the number

of deaths due to prescription opioid overdose is unacceptable. In 2016, drug overdoses killed

roughly 64,000 people in the United States, an increase of more than 22 percent over the 52,404

drug deaths recorded the previous year. 12

          37.     Moreover, the CDC has identified addiction to prescription pain medication as the

strongest risk factor for heroin addiction. People who are addicted to prescription opioid painkillers

are forty times more likely to be addicted to heroin. 13

          38.     Heroin is pharmacologically similar to prescription opioids. The majority of current

heroin users report having used prescription opioids non-medically before they initiated heroin

use. Available data indicates that the nonmedical use of prescription opioids is a strong risk factor


10
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human
Servs., Prescription Painkiller Overdoses at Epidemic Levels (Nov. 1, 2011),
https://www.cdc.gov/media/releases/2011/p1101 flu pain killer overdose.html.
11
     See Califf et al., supra note 2.
12
  See Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs.,
Provisional Counts of Drug Overdose Deaths, (August 8, 2016),
https://www.cdc.gov/nchs/data/healthpolicy/monthly-drug-overdose-deathestimates.pdf
13
 See Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human Servs., Today’s
Heroin Epidemic, https://www.cdc.gov/vitalsigns/heroin/index.html (last updated July 7, 2015).

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for heroin use. 14

        39.     The CDC reports that drug overdose deaths involving heroin continued to climb

sharply, with heroin overdoses more than tripling in 4 years. This increase mirrors large

increases in heroin use across the country and has been shown to be closely tied to opioid

pain reliever misuse and dependence. Past misuse of prescription opioids is the strongest risk

factor for heroin initiation and use, specifically among persons who report past-year

dependence or abuse. The increased availability of heroin, combined with its relatively low

price (compared with diverted prescription opioids) and high purity appear to be major drivers

of the upward trend in heroin use and overdose. 15

        40.     The societal costs of prescription drug abuse are "huge." 16

        41.     Across the nation, hospitals are struggling with a pernicious, ever-

expanding epidemic of opioid addiction and abuse. Every day, more than 90 Americans

lose their lives after overdosing on opioids. 17

        42.     The National Institute on Drug Abuse identifies misuse and addiction to opioids




14
 See Wilson M. Compton, Relationship Between Nonmedical Prescription-Opioid Use and
Heroin, 374 N. Eng. J. Med. 154 (2016).
15
  See Rose A. Rudd et al., Increases in Drug and Opioid Overdose Deaths—United States, 2000–
2014, 64 Morbidity & Mortality Wkly. Rep. 1378 (2016).
16
  See Amicus Curiae Brief of Healthcare Distribution Management Association in Support of
Appellant Cardinal Health, Inc., Cardinal Health, Inc. v. United States Dept. Justice, No. 12-
5061 (D.C. Cir. May 9, 2012), 2012 WL 1637016, at *10 [hereinafter Brief of HDMA].
17
   Opioid Crisis, NIH, National Institute on Drug Abuse (available at
https://www.drugabuse.gov/drugs- abuse/opioids/opioid-crisis, last visited Sept. 19, 2017)
("Opioid Crisis, NIH") (citing at note 1 Rudd RA, Seth P, David F, Scholl L, Increases in Drug
and Opioid-
Involved Overdose Deaths - United States, 2010-2015, MMWR MORB MORTAL WKLY REP.
2016;65, doi:10.15585/mmwr.mm655051e1).

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as "a serious national crisis that affects public health as well as social and economic welfare." 18

The economic burden of prescription opioid misuse alone is $78.5 billion a year, including

the costs of healthcare, lost productivity, addiction treatment, and criminal justice expenditures. 19

          43.    The U.S. opioid epidemic is continuing, and drug overdose deaths nearly tripled

during 1999-2014. Among 47,055 drug overdose deaths that occurred in 2014 in the United

States, 28,647 (60.9%) involved an opioid. 20

          44.    The rate of death from opioid overdose has quadrupled during the past 15 years in

the United States. Nonfatal opioid overdoses that require medical care in a hospital or emergency

department have increased by a factor of six in the past 15 years. 21

          45.    Every day brings a new revelation regarding the depth of the opioid plague: just to

name one example, the New York Times reported in September 2017 that the epidemic, which

now claims 60,000 lives a year, is now killing babies and toddlers because ubiquitous, deadly

opioids are "everywhere" and mistaken as candy. 22

          46.    In 2016, the President of the United States declared an opioid and heroin

epidemic. 23



18
     Opioid Crisis, NIH.
19
  Id. (citing at note 2 Florence CS, Zhou C, Luo F, Xu L, The Economic Burden of Prescription
Opioid Overdose, Abuse, and Dependence in the United States, 2013, MED CARE
2016;54(10):901-906, doi:10.1097/MLR.0000000000000625).
20
  See Rose A. Rudd et al., Increases in Drug and Opioid-Involved Overdose Deaths—United
States, 2010–2015, 65 Morbidity & Mortality Wkly. Rep. 1445 (2016).
21
     See Volkow & McLellan, supra note 1.
22
  Julie Turkewitz, 'The Pills are Everywhere': How the Opioid Crisis Claims Its Youngest
Victims, N.Y. Times, Sept. 20, 2017 ("'It's a cancer,' said [grandmother of dead one-year old], of
the nation's opioid problem, 'with tendrils that are going everywhere.'").
23
 See Proclamation No. 9499, 81 Fed. Reg. 65,173 (Sept. 16, 2016) (proclaiming "Prescription
Opioid and Heroin Epidemic Awareness Week").

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       47.     The epidemic of prescription pain medication and heroin deaths is devastating

families and communities across the country. 24 Meanwhile, the manufacturers and distributors of

prescription opioids extract billions of dollars of revenue from the addicted American public while

tens of millions of dollars of injury are caused by the reasonably foreseeable consequences of the

prescription opioid addiction epidemic.

       48.     The prescription opioid manufacturers and distributors, including the Defendants,

have continued their wrongful, intentional, and unlawful conduct, despite their knowledge that

such conduct is causing and/or continuing to the national, state, and local opioid epidemic.

     THE MANUFACTURER DEFENDANTS' FALSE, DECEPTIVE, AND UNFAIR

                                  MARKETING OF OPIOIDS.

       49.     The opioid epidemic did not happen by accident.

       50.     Before the 1990s, generally accepted standards of medical practice dictated that

opioids should only be used short-term for acute pain, pain relating to recovery from surgery, or

for cancer or palliative (end-of-life) care. Due to the lack of evidence that opioids improved

patients' ability to overcome pain and function, coupled with evidence of greater pain complaints

as patients developed tolerance to opioids over time and the serious risk of addiction and other

side effects, the use of opioids for chronic pain was discouraged or prohibited. As a result, doctors

generally did not prescribe opioids for chronic pain.

       51.     Each Manufacturer Defendant has conducted, and has continued to conduct, a

marketing scheme designed to persuade doctors and patients that opioids can and should be used

for chronic pain, resulting in opioid treatment for a far broader group of patients who are much


24
  See Presidential Memorandum - Addressing Prescription Drug Abuse and Heroin Use, 2015
Daily Comp. Pres. Doc. 743 (Oct. 21, 2015), https://www.gpo.gov/fdsys/pkg/DCPD-
201500743/pdf/DCPD- 201500743.pdf.

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more likely to become addicted and suffer other adverse effects from the long-term use of opioids.

In connection with this scheme, each Manufacturer Defendant spent, and continues to spend,

millions of dollars on promotional activities and materials that falsely deny or trivialize the risks

of opioids while overstating the benefits of using them for chronic pain.

       52.     The Manufacturer Defendants have made false and misleading claims, contrary to

the language on their drugs' labels, regarding the risks of using their drugs that: (1) downplayed

the serious risk of addiction; (2) created and promoted the concept of "pseudoaddiction" when

signs of actual addiction began appearing and advocated that the signs of addiction should be

treated with more opioids; (3) exaggerated the effectiveness of screening tools to prevent

addiction; (4) claimed that opioid dependence and withdrawal are easily managed; (5) denied the

risks of higher opioid dosages; and (6) exaggerated the effectiveness of "abuse-deterrent" opioid

formulations to prevent abuse and addiction. The Manufacturer Defendants have also falsely

touted the benefits of long-term opioid use, including the supposed ability of opioids to improve

function and quality of life, even though there was no scientifically reliable evidence to support

the Manufacturer Defendants' claims.

       53.     The Manufacturer Defendants have disseminated these common messages to

reverse the popular and medical understanding of opioids and risks of opioid use. They

disseminated these messages directly, through their sales representatives, in speaker groups led

by physicians the Manufacturer Defendants recruited for their support of their marketing

messages, and through unbranded marketing and industry-funded front groups.

       54.     Defendants' efforts have been wildly successful. Opioids are now the most

prescribed class of drugs. Globally, opioid sales generated $11 billion in revenue for drug

companies in 2010 alone; sales in the United States have exceeded $8 billion in revenue annually


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since 2009.25 In an open letter to the nation's physicians in August 2016, the then-U.S. Surgeon

General expressly connected this "urgent health crisis" to "heavy marketing of opioids to doctors

... [m]any of [whom] were even taught - incorrectly - that opioids are not addictive when

prescribed for legitimate pain." 26 This epidemic has resulted in a flood of prescription opioids

available for illicit use or sale (the supply), and a population of patients physically and

psychologically dependent on them (the demand). And when those patients can no longer afford

or obtain opioids from licensed dispensaries, they often turn to the street to by prescription opioids

or even non-prescription opioids, like heroin.

          55.    The Manufacturer Defendants intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid nuisance and causing the harms

and damages alleged herein. Each Manufacturer Defendant Used Multiple Avenues to

Disseminate Their False and Deceptive Statements about Opioids.

          56.    The Manufacturer Defendants spread their false and deceptive statements by

marketing their branded opioids directly to doctors and patients throughout the United States.

Defendants also deployed seemingly unbiased and independent third parties that they controlled

to spread their false and deceptive statements about the risks and benefits of opioids for the

treatment of chronic pain throughout the State and nation.

          57.    Across the pharmaceutical industry, "core message" development is funded and

overseen on a national basis by corporate headquarters. This comprehensive approach ensures

that the Manufacturer Defendants' messages are accurately and consistently delivered across


25
   See Katherine Eban, Oxycontin: Purdue Pharma’s Painful Medicine, Fortune, Nov. 9,
2011,http://fortune.com/2011/11/09/oxycontin-purdue-pharmas-painful-medicine/; David Crow,
Drugmakers Hooked on $10bn Opioid Habit, Fin. Times, Aug. 10, 2016, https://www.
ft.com/content/f6e989a8-5dac-11e6-bb77-a121aa8abd95.
26
     Letter from Vivek H. Murthy, U.S. Surgeon General (Aug. 2016), http://turnthetiderx.org/.

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marketing channels - including detailing visits, speaker events, and advertising - and in each

sales territory. The Manufacturer Defendants consider this high level of coordination and

uniformity crucial to successfully marketing their drugs.

       58.     The Manufacturer Defendants ensure marketing consistency nationwide

through national and regional sales representative training; national training of local medical

liaisons, the company employees who respond to physician inquiries; centralized speaker

training; single sets of visual aids, speaker slide decks, and sales training materials; and

nationally coordinated advertising. The Manufacturer Defendants' sales representatives and

physician speakers were required to stick to prescribed talking points, sales messages, and

slide decks, and supervisors rode along with them periodically to both check on their

performance and compliance.

               1. Direct Marketing.

       59.     The Manufacturer Defendants' direct marketing of opioids generally proceeded

on two tracks. First, each Manufacturer Defendant conducted and continues to conduct

advertising campaigns touting the purported benefits of their branded drugs. For example, upon

information and belief, the Manufacturer Defendants spent more than $14 million on medical

journal advertising of opioids in 2011, nearly triple what they spent in 2001.

       60.     Many of the Manufacturer Defendants' branded ads deceptively portrayed the

benefits of opioids for chronic pain. For example, Endo distributed and made available on its

website opana.com a pamphlet promoting Opana ER with photographs depicting patients

with physically demanding jobs like construction worker, chef, and teacher, misleadingly

implying that the drug would provide long-term pain-relief and functional improvement. Upon

information and belief, Purdue also ran a series of ads, called "Pain vignettes," for OxyContin

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in 2012 in medical journals. These ads featured chronic pain patients and recommended

OxyContin for each. One ad described a "54-year-old writer with osteoarthritis of the hands"

and implied that OxyContin would help the writer work more effectively.

        61.    Second, each Manufacturer Defendant promoted the use of opioids for chronic

pain through "detailers" - sales representatives who visited individual doctors and medical staff

in their offices - and small-group speaker programs. The Manufacturer Defendants have not

corrected this misinformation. Instead, each Defendant devoted massive resources to direct sales

contacts with doctors. Upon information and belief, in 2014 alone, the Manufacturer Defendants

spent in excess of $168 million on detailing branded opioids to doctors, more than twice

what they spent on detailing in 2000.

        62.    The Manufacturer Defendants' detailing to doctors is effective. Numerous studies

indicate that marketing impacts prescribing habits, with face-to-face detailing having the

greatest influence. Even without such studies, the Manufacturer Defendants purchase,

manipulate and analyze some of the most sophisticated data available in any industry, data

available from IMS Health Holdings, Inc., to track, precisely, the rates of initial prescribing and

renewal by individual doctor, which in turn allows them to target, tailor, and monitor the impact

of their core messages. Thus, the Manufacturer Defendants know their detailing to doctors is

effective.

        63.    The Manufacturer Defendants' detailers have been reprimanded for their

deceptive promotions. In March 2010, for example, the FDA found that Actavis had been

distributing promotional materials that "minimize[] the risks associated with Kadian and

misleadingly suggest[] that Kadian is safer than has been demonstrated." Those materials in

particular "fail to reveal warnings regarding potentially fatal abuse of opioids, use by individuals


                                                 19
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other than the patient for whom the drug was prescribed." 27

               2. Indirect Marketing.

       64.     The Manufacturer Defendants' indirectly marketed their opioids using unbranded

advertising, paid speakers and "key opinion leaders" ("KOLs"), and industry-funded

organizations posing as neutral and credible professional societies and patient advocacy

groups (referred to hereinafter as "Front Groups").

       65.     The Manufacturer Defendants deceptively marketed opioids throughout the

United States through unbranded advertising - e.g., advertising that promotes opioid use

generally but does not name a specific opioid. This advertising was ostensibly created

and disseminated by independent third parties. But by funding, directing, reviewing, editing,

and distributing this unbranded advertising, the Manufacturer Defendants controlled the

deceptive messages disseminated by these third parties and acted in concert with them to

falsely and misleadingly promote opioids for the treatment of chronic pain. Much as

Defendants controlled the distribution of their "core messages" via their own detailers and

speaker programs, the Manufacturer Defendants similarly controlled the distribution of

these messages in scientific publications, treatment guidelines, Continuing Medical Education

("CME") programs, and medical conferences and seminars. To this end, the Manufacturer

Defendants used third-party public relations firms to help control those messages when they

originated from third-parties.

       66.     The Manufacturer Defendants marketed through third-party, unbranded



27
   Letter from Thomas Abrams, Dir., Div. of Drug Mktg., Advert., & Commc'ns, U.S. Food &
Drug Admin., to Doug Boothe, CEO, Actavis Elizabeth LLC (Feb. 18, 2010),
http://www.fdanews.com/ext/resources/files/archives/a/ActavisElizabethLLC.pdf.

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advertising to avoid regulatory scrutiny because that advertising is not submitted to and typically

is not reviewed by the FDA. The Manufacturer Defendants also used third-party, unbranded

advertising to give the false appearance that the deceptive messages came from an independent

and objective source. Like the tobacco companies, the Manufacturer Defendants used third

parties that they funded, directed, and controlled to carry out and conceal their scheme to

deceive doctors and patients about the risks and benefits of long term opioid use for chronic pain.

       67.     Defendants also identified doctors to serve, for payment, on their speakers'

bureaus and to attend programs with speakers and meals paid for by Defendants. These speaker

programs provided: (1) an incentive for doctors to prescribe a particular opioid (so they might be

selected to promote the drug); (2) recognition and compensation for the doctors selected as

speakers; and (3) an opportunity to promote the drug through the speaker to his or her peers.

These speakers give the false impression that they are providing unbiased and medically accurate

presentations when they are, in fact, presenting a script prepared by Defendants. On

information and belief, these presentations conveyed misleading information, omitted material

information, and failed to correct Defendants' prior misrepresentations about the risks and

benefits of opioids.

       68.     Borrowing a page from Big Tobacco's playbook, the Manufacturer Defendants

worked through third parties they controlled by: (a) funding, assisting, encouraging, and

directing doctors who served as KOLS, and (b) funding, assisting, directing, and encouraging

seemingly neutral and credible Front Groups. The Manufacturer Defendants then worked

together with those KOLs and Front Groups to taint the sources that doctors and patients

relied on for ostensibly "neutral" guidance, such as treatment guidelines, CME programs,

medical conferences and seminars, and scientific articles. Thus, working individually and


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collectively, and through these Front Groups and KOLs, the Manufacturer Defendants

persuaded doctors and patients that what they have long known - that opioids are addictive

drugs, unsafe in most circumstances for long-term use - was untrue, and that the

compassionate treatment of pain required opioids.

       69.     In 2007, multiple States sued Purdue for engaging in unfair and deceptive

practices in its marketing, promotion, and sale of OxyContin. Certain states settled their

claims in a series Consent Judgments that prohibited Purdue from making misrepresentations

in the promotion and marketing of OxyContin in the future. By using indirect marketing

strategies, however, Purdue intentionally circumvented these restrictions. Such actions include

contributing the creation of misleading publications and prescribing guidelines which lack

reliable scientific basis and promote prescribing practices which have worsened the opioid crisis.

       70.     Pro-opioid doctors are one of the most important avenues that the Manufacturer

Defendants use to spread their false and deceptive statements about the risks and benefits of

long-term opioid use. The Manufacturer Defendants know that doctors rely heavily and

less critically on their peers for guidance, and KOLs provide the false appearance of

unbiased and reliable support for chronic opioid therapy. For example, the State of New

York found in its settlement with Purdue that the Purdue website "In the Face of Pain"

failed to disclose that doctors who provided testimonials on the site were paid by Purdue and

concluded that Purdue's failure to disclose these financial connections potentially misled

consumers regarding the objectivity of the testimonials.

       71.     Defendants utilized many KOLs, including many of the same ones.

       72.     Dr. Russell Portenoy, former Chairman of the Department of Pain Medicine and

Palliative Care at Beth Israel Medical Center in New York, is one example of a KOL whom


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the Manufacturer Defendants identified and promoted to further their marketing campaign. Dr.

Portenoy received research support, consulting fees, and honoraria from Cephalon, Endo,

Janssen, and Purdue (among others), and was a paid consultant to Cephalon and Purdue. Dr.

Portenoy was instrumental in opening the door for the regular use of opioids to treat chronic

pain. He served on the American Pain Society ("APS") / American Academy of Pain Medicine

("AAPM") Guidelines Committees, which endorsed the use of opioids to treat chronic pain, first

in 1996 and again in 2009. He was also a member of the board of the American Pain Foundation

("APF"), an advocacy organization almost entirely funded by the Manufacturer Defendants.

         73.    Dr. Portenoy also made frequent media appearances promoting opioids and

spreading misrepresentations, such as his claim that "the likelihood that the treatment of pain using

an opioid drug which is prescribed by a doctor will lead to addiction is extremely low." He

appeared on Good Morning America in 2010 to discuss the use of opioids long-term to treat

chronic pain. On this widely-watched program, broadcast across the country, Dr. Portenoy

claimed: "Addiction, when treating pain, is distinctly uncommon. If a person does not have a

history, a personal history, of substance abuse, and does not have a history in the family of

substance abuse, and does not have a very major psychiatric disorder, most doctors can feel very

assured that that person is not going to become addicted." 28

         74.    Dr. Portenoy later admitted that he "gave innumerable lectures in the late 1980s

and '90s about addiction that weren't true." These lectures falsely claimed that fewer than 1% of

patients would become addicted to opioids. According to Dr. Portenoy, because the primary goal

was to "destigmatize" opioids, he and other doctors promoting them overstated their benefits and

glossed over their risks. Dr. Portenoy also conceded that "[d]ata about the effectiveness of opioids


28
     Good Morning America (ABC television broadcast Aug. 30, 2010).

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does not exist."29 Portenoy candidly stated: "Did I teach about pain management, specifically

about opioid therapy, in a way that reflects misinformation? Well, . . . I guess I did."30

            75.   Another KOL, Dr. Lynn Webster, was the co-founder and Chief Medical Director

of Lifetree Clinical Research, an otherwise unknown pain clinic in Salt Lake City, Utah. Dr.

Webster was President of American Academy of Pain Medicine ("AAPM") in 2013. He is a Senior

Editor of Pain Medicine, the same journal that published Endo special advertising supplements

touting Opana ER. Dr. Webster was the author of numerous CMEs sponsored by Cephalon, Endo,

and Purdue. At the same time, Dr. Webster was receiving significant funding from the

Manufacturer Defendants (including nearly $2 million from Cephalon).

            76.   During a portion of his time as a KOL, Dr. Webster was under investigation for

overprescribing by the U.S. Department of Justice's Drug Enforcement Agency, which raided his

clinic in 2010. Although the investigation was closed without charges in 2014, more than 20 of

Dr. Webster's former patients at the Lifetree Clinic have died of opioid overdoses.

            77.   Ironically, Dr. Webster created and promoted the Opioid Risk Tool, a five question,

one-minute screening tool relying on patient self-reports that purportedly allows doctors to manage

the risk that their patients will become addicted to or abuse opioids. The claimed ability to pre-sort

patients likely to become addicted is an important tool in giving doctors confidence to prescribe

opioids long-term, and for this reason, references to screening appear in various industry-supported

guidelines. Versions of Dr. Webster's Opioid Risk Tool appear on, or are linked to, websites run

by Endo, Janssen, and Purdue. Unaware of the flawed science and industry bias underlying this

tool, certain states and public entities have incorporated the Opioid Risk Tool into their own


29
  Thomas Catan & Evan Perez, A Pain-Drug Champion Has Second Thoughts, Wall St. J., Dec.
17, 2012, https://www.wsj.com/articles/SB10001424127887324478304578173342657044604.
30
     Id.

                                                  24
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guidelines, indicating, also, their reliance on the Manufacturer Defendants and those under their

influence and control.

         78.    In 2011, Dr. Webster presented, via webinar, a program sponsored by Purdue

entitled "Managing Patient's Opioid Use: Balancing the Need and the Risk." Dr. Webster

recommended use of risk screening tools, urine testing, and patient agreements as a way to prevent

"overuse of prescriptions" and "overdose deaths." This webinar was available to and was intended

to reach doctors throughout the United States. 31

         79.    Dr. Webster also was a leading proponent of the concept of "pseudoaddiction," the

notion that addictive behaviors should be seen not as warnings, but as indications of undertreated

pain. In Dr. Webster's description, the only way to differentiate the two was to increase a patient's

dose of opioids. As he and co-author Beth Dove wrote in their 2007 book Avoiding Opioid Abuse

While Managing Pain-a book that is still available online-when faced with signs of aberrant

behavior, increasing the dose "in most cases . . . should be the clinician's first response." 32 Upon

information and belief, Endo distributed this book to doctors. Years later, Dr. Webster reversed

himself, acknowledging that "[pseudoaddiction] obviously became too much of an excuse to give

patients more medication." 33

         80.    The Manufacturer Defendants also entered into arrangements with seeming

unbiased and independent patient and professional organizations to promote opioids for the


31
  See Emerging Solutions in Pain, Managing Patient’s Opioid Use: Balancing the Need and the
Risk, http://www.emergingsolutionsinpain.com/ce-education/opioid-
m anagement?option=com_continued&view=frontmatter&Itemid=303&course=209 (last visited
Aug. 22, 2017.
32
     Lynn Webster & Beth Dove, Avoiding Opioid Abuse While Managing Pain (2007).
33
  John Fauber, Painkiller Boom Fueled by Networking, Milwaukee Wisc. J. Sentinel, Feb. 18,
2012, http://archive.jsonline.com/watchdog/watchdogreports/painkiller-boom-fueled-by-
networking-dp3p2rn-139609053.html

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treatment of chronic pain. Under the direction and control of the Manufacturer Defendants, these

"Front Groups" generated treatment guidelines, unbranded materials, and programs that favored

chronic opioid therapy. They also assisted the Manufacturer Defendants by responding to negative

articles, by advocating against regulatory changes that would limit opioid prescribing in

accordance with the scientific evidence, and by conducting outreach to vulnerable patient

populations targeted by the Manufacturer Defendants

       81.     These Front Groups depended on the Manufacturer Defendants for funding and,

in some cases, for survival. The Manufacturer Defendants also exercised control over

programs and materials created by these groups by collaborating on, editing, and approving

their content, and by funding their dissemination. In doing so, the Manufacturer Defendants

made sure that the Front Groups would generate only the messages that the Manufacturer

Defendants wanted to distribute. Despite this, the Front Groups held themselves out as

independent and serving the needs of their members - whether patients suffering from pain or

doctors treating those patients.

       82.     Defendants Cephalon, Endo, Janssen, and Purdue, in particular, utilized many

Front Groups, including many of the same ones. Several of the most prominent are described

below, but there are many others, including the American Pain Society ("APS"), American

Geriatrics Society ("AGS"), the Federation of State Medical Boards ("FSMB"), American

Chronic Pain Association ("ACPA"), the Center for Practical Bioethics ("CPB"), the U.S. Pain

Foundation ("USPF") and Pain & Policy Studies Group ("PPSG"). 34



34
   See generally, e.g., Letter from Sen. Ron Wyden, U.S. Senate Comm. on Fin., to Sec. Thomas
E. Price, U.S. Dep't of Health and Human Servs., (May 5, 2015),
https://www.finance.senate.gov/imo/media/doc/050517%20Senator%20Wyden%20to%20Secret
ary%20P rice%20re%20FDA%20Opioid%20Prescriber%20Working%20Group.pdf.

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        83.    The most prominent of the Manufacturer Defendants' Front Groups was the

American Pain Foundation ("APF"), which, upon information and belief, received more than $10

million in funding from opioid manufacturers from 2007 until it closed its doors in May

2012, primarily from Endo and Purdue. APF issued education guides for patients,

reporters, and policymakers that touted the benefits of opioids for chronic pain and trivialized

their risks, particularly the risk of addiction. APF also launched a campaign to promote

opioids for returning veterans, which has contributed to high rates of addiction and other

adverse outcomes – including death - among returning soldiers. APF also engaged in a

significant multimedia campaign - through radio, television and the internet - to educate

patients about their "right" to pain treatment, namely opioids. All of the programs and

materials were available nationally and were intended to reach citizens of all 50 states.

        84.    In 2009 and 2010, more than 80% of APF's operating budget came from

pharmaceutical industry sources. Including industry grants for specific projects, APF received

about $2.3 million from industry sources out of total income of about $2.85 million in 2009; its

budget for 2010 projected receipts of roughly $2.9 million from drug companies, out of total

income of about $3.5 million. By 2011, upon information and belief, APF was entirely dependent

on incoming grants from defendants Purdue, Cephalon, Endo, and others to avoid using its line

of credit.

        85.    APF held itself out as an independent patient advocacy organization. It often

engaged in grassroots lobbying against various legislative initiatives that might limit opioid

prescribing, and thus the profitability of its sponsors. Upon information and belief, it was often

called upon to provide "patient representatives" for the Manufacturer Defendants' promotional

activities, including for Purdue's Partners Against Pain and Janssen's Let's Talk Pain. APF


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functioned largely as an advocate for the interests of the Manufacturer Defendants, not patients.

Indeed, upon information and belief, as early as 2001, Purdue told APF that the basis of a grant

was Purdue's desire to "strategically align its investments in nonprofit organizations that share

[its] business interests."

        86.     Plaintiffs are informed, and believe, that on several occasions, representatives

of the Manufacturer Defendants, often at informal meetings at conferences, suggested activities

and publications for APF to pursue. APF then submitted grant proposals seeking to fund these

activities and publications, knowing that drug companies would support projects conceived as a

result of these communications.

        87.     The U.S. Senate Finance Committee began looking into APF in May 2012

to determine the links, financial and otherwise, between the organization and the manufacturers

of opioid painkillers. The investigation caused considerable damage to APF's credibility as an

objective and neutral third party, and the Manufacturer Defendants stopped funding it. Within

days of being targeted by Senate investigation, APF's board voted to dissolve the

organization "due to irreparable economic circumstances." APF "cease[d] to exist, effective

immediately." 35

        88.     Another front group for the Manufacturer Defendants was the American

Academy of Pain Medicine ("AAPM"). With the assistance, prompting, involvement, and

funding of the Manufacturer Defendants, the AAPM issued purported treatment guidelines

and sponsored and hosted medical education programs essential to the Manufacturer



35
  Charles Ornstein & Tracy Weber, Senate Panel Investigates Drug Companies’ Ties to Pain
Groups, Wash. Post, May 8, 2012, https://www.washingtonpost.com/national/health-
science/senate-panel- investigates-drug-companies-ties-to-pain-
groups/2012/05/08/gIQA2X4qBU_story.html.

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Defendants' deceptive marketing of chronic opioid therapy.

       89.     AAPM received substantial funding from opioid manufacturers. For example,

AAPM maintained a corporate relations council, whose members paid $25,000 per year (on top

of other funding) to participate. The benefits included allowing members to present educational

programs at off-site dinner symposia in connection with AAPM's marquee event - its annual

meeting held in Palm Springs, California, or other resort locations. AAPM describes the

annual event as an "exclusive venue" for offering education programs to doctors.

Membership in the corporate relations council also allows drug company executives and

marketing staff to meet with AAPM executive committee members in small settings.

Defendants Endo, Purdue, and Cephalon were members of the council and presented

deceptive programs to doctors who attended this annual event.

       90.     Upon information and belief, AAPM is viewed internally by Endo as "industry

friendly," with Endo advisors and speakers among its active members. Endo attended AAPM

conferences, funded its CMEs, and distributed its publications. The conferences sponsored by

AAPM heavily emphasized sessions on opioids - 37 out of roughly 40 at one conference alone.

AAPM's presidents have included top industry-supported KOLs Perry Fine and Lynn

Webster. Dr. Webster was even elected president of AAPM while under a DEA investigation.

       91.     The Manufacturer Defendants were able to influence AAPM through both their

significant and regular funding and the leadership of pro-opioid KOLs within the organization.

       92.     In 1996, AAPM and APS jointly issued a consensus statement, "The Use of

Opioids for the Treatment of Chronic Pain," which endorsed opioids to treat chronic pain

and claimed that the risk of a patients' addiction to opioids was low. Dr. Haddox, who co-

authored the AAPM/APS statement, was a paid speaker for Purdue at the time. Dr. Portenoy


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was the sole consultant. The consensus statement remained on AAPM's website until 2011,

and, upon information and belief, was taken down from AAPM's website only after a doctor

complained. 36

            93.   AAPM and APS issued their own guidelines in 2009 ("AAPM/APS Guidelines")

and continued to recommend the use of opioids to treat chronic pain. 37 Treatment guidelines

have been relied upon by doctors, especially the general practitioners and family doctors targeted

by the Manufacturer Defendants. Treatment guidelines not only directly inform doctors'

prescribing practices, but are cited throughout the scientific literature and referenced by

third- party payors in determining whether they should cover treatments for specific

indications. Pharmaceutical sales representatives employed by Endo, Actavis, and Purdue

discussed treatment guidelines with doctors during individual sales visits.

            94.   At least fourteen of the 21 panel members who drafted the AAPM/APS

Guidelines, including KOLs Dr. Portenoy and Dr. Perry Fine of the University of Utah, received

support from Janssen, Cephalon, Endo, and Purdue. The 2009 Guidelines promote opioids

as "safe and effective" for treating chronic pain, despite acknowledging limited evidence,

and conclude that the risk of addiction is manageable for patients regardless of past abuse

histories. 38 One panel member, Dr. Joel Saper, Clinical Professor of Neurology at Michigan

State University and founder of the Michigan Headache & Neurological Institute, resigned from

the panel because of his concerns that the 2009 Guidelines were influenced by contributions


36
  The Use of Opioids for the Treatment of Chronic Pain: A Consensus Statement From the
American Academy of Pain Medicine and the American Pain Society, 13 Clinical J. Pain 6
(1997).
37
  Roger Chou et al., Clinical Guidelines for the Use of Chronic Opioid Therapy in Chronic Non-
Cancer Pain, 10 J. Pain 113 (2009).
38
     Id.

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that drug companies, including Manufacturer Defendants, made to the sponsoring

organizations and committee members. These AAPM/APS Guidelines have been a particularly

effective channel of deception and have influenced not only treating physicians, but also the

body of scientific evidence on opioids; the Guidelines have been cited hundreds of times in

academic literature, were disseminated in the State and/or nation during the relevant time

period, are still available online, and were reprinted in the Journal of Pain. The Manufacturer

Defendants widely referenced and promoted the 2009 Guidelines without disclosing the lack of

evidence to support them or the Manufacturer Defendants financial support to members of the

panel.

         95.      The Manufacturer Defendants worked together, through Front Groups, to spread

their deceptive messages about the risks and benefits of long-term opioid therapy. For example,

Defendants combined their efforts through the Pain Care Forum ("PCF"), which began in 2004

as an APF project. PCF is comprised of representatives from opioid manufacturers (including

Cephalon, Endo, Janssen, and Purdue) and various Front Groups, almost all of which received

substantial funding from the Manufacturer Defendants. Among other projects, PCF worked to

ensure that an FDA-mandated education project on opioids was not unacceptably negative

and did not require mandatory participation by prescribers, which the Manufacturer Defendants

determined would reduce prescribing.

                  3.      The Manufacturer Defendants' Marketing Scheme Misrepresented
                          the Risks and Benefits of Opioids.
   i.          The Manufacturer Defendants embarked upon a campaign of false, deceptive, and
               unfair assurances grossly understating and misstating the dangerous addiction risks
               of the opioid drugs.

         96.      To falsely assure physicians and patients that opioids are safe, the Manufacturer

Defendants deceptively trivialized and failed to disclose the risks of long-term opioid use,

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particularly the risk of addiction, through a series of misrepresentations that have been

conclusively debunked by the FDA and CDC. These misrepresentations - which are described

below - reinforced each other and created the dangerously misleading impression that: (1)

starting patients on opioids was low risk because most patients would not become addicted, and

because those at greatest risk for addiction could be identified and managed; (2) patients who

displayed signs of addiction probably were not addicted and, in any event, could easily be

weaned from the drugs; (3) the use of higher opioid doses, which many patients need to

sustain pain relief as they develop tolerance to the drugs, do not pose special risks; and

(4) abuse- deterrent opioids both prevent abuse and overdose and are inherently less addictive.

The Manufacturer Defendants have not only failed to correct these misrepresentations, they

continue to make them today.

         97.   Opioid manufacturers, including Defendants Endo Pharmaceuticals, Inc. and

Purdue Pharma L.P., have entered into settlement agreements with public entities that prohibit

them from making many of the misrepresentations identified in this Complaint. Yet even

afterward, each Manufacturer Defendant continued to misrepresent the risks and benefits

of long-term opioid use and each continues to fail to correct its past misrepresentations.

   96.     Some illustrative examples of the Manufacturer Defendants' false, deceptive, and

           unfair claims about the purportedly low risk of addiction include:

                a. Actavis's predecessor caused a patient education brochure, Managing

                    Chronic Back Pain, to be distributed beginning in 2003 that admitted that

                    opioid addiction is possible, but falsely claimed that it is "less likely if you

                    have never had an addiction problem." Based on Actavis's acquisition of its

                    predecessor's marketing materials along with the rights to Kadian, it appears


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                  that Actavis continued to use this brochure in 2009 and beyond.


               b. Cephalon and Purdue sponsored APF's Treatment Options: A Guide for

                  People Living with Pain (2007), which suggested that addiction is rare and

                  limited to extreme cases of unauthorized dose escalations, obtaining

                  duplicative opioid prescriptions from multiple sources, or theft. This

                  publication is still available online.39


               c. Endo sponsored a website, "PainKnowledge," which, upon information and

                  belief, claimed in 2009 that "[p]eople who take opioids as prescribed usually

                  do not become addicted." Upon information and belief, another Endo

                  website, PainAction.com, stated "Did you know? Most chronic pain patients

                  do not become addicted to the opioid medications that are prescribed for

                  them." Endo also distributed an "Informed Consent" document on

                  PainAction.com that misleadingly suggested that only people who "have

                  problems with substance abuse and addiction" are likely to become addicted

                  to opioid medications.


               d. Upon information and belief, Endo distributed a pamphlet with the Endo

                  logo entitled Living with Someone with Chronic Pain, which stated that:

                  "Most health care providers who treat people with pain agree that most

                  people do not develop an addiction problem."




39
   Am. Pain Found., Treatment Options: A Guide for People Living in Pain (2007) [hereinafter
APF, Treatment Options], https://assets.documentcloud.org/documents/277605/apf-
treatmentoptions.pdf.

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              e. Janssen reviewed, edited, approved, and distributed a patient education guide

                 entitled Finding Relief: Pain Management for Older Adults (2009), which

                 described as "myth" the claim that opioids are addictive, and asserted as fact

                 that "[m]any studies show that opioids are rarely addictive when used

                 properly for the management of chronic pain."


              f. Janssen currently runs a website, Prescriberesponsibly.com (last updated July

                 2, 2015), which claims that concerns about opioid addiction are

                 "overestimated."


              g. Purdue sponsored APF's A Policymaker’s Guide to Understanding Pain & Its

                 Management, which claims that less than 1% of children prescribed opioids

                 will become addicted and that pain is undertreated due to "[m]isconceptions

                 about opioid addiction."4041


              h. Consistent with the Manufacturer Defendants' published marketing

                 materials, upon information and belief, detailers for Purdue, Endo, Janssen,

                 and Cephalon minimized or omitted any discussion with doctors of the risk

                 of addiction; misrepresented the potential for abuse of opioids with

                 purportedly abuse-deterrent formulations; and routinely did not correct the

                 misrepresentations noted above.


              i. Seeking to overturn the criminal conviction of a doctor for illegally



40
   Am. Pain Found., A Policymaker’s Guide to Understanding Pain and Its Management 6
(2011) [hereinafter APF, Policymaker’s Guide],
http://s3.documentcloud.org/documents/277603/apf-policymakers-guide.pdf.

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                         prescribing opioids, the Manufacturer Defendants' Front Groups APF and

                         NFP argued in an amicus brief to the United States Fourth Circuit Court of

                         Appeals that "patients rarely become addicted to prescribed opioids," citing

                         research by their KOL, Dr. Portenoy. 41


           98.       These claims are contrary to longstanding scientific evidence. A 2016 opioid-

prescription guideline issued by the CDC (the "2016 CDC Guideline") explains that there is

"[e]xtensive evidence" of the "possible harms of opioids (including opioid use disorder [an

alternative term for opioid addiction], [and] overdose . . .)." 42 The 2016 CDC Guideline

further explains that "[o]pioid pain medication use presents serious risks, including overdose

and opioid use disorder" and that "continuing opioid therapy for 3 months substantially

increases risk for opioid use disorder." 43

           99.       The FDA further exposed the falsity of Defendants' claims about the low risk

of addiction when it announced changes to the labels for extended-release and long-acting

("ER/LA") opioids in 2013 and for immediate release ("IR") opioids in 2016. In its

announcements, the FDA found that "most opioid drugs have 'high potential for abuse'" and that

opioids "are associated with a substantial risk of misuse, abuse, NOWS [neonatal opioid

withdrawal syndrome], addiction, overdose, and death." According to the FDA, because of the

"known serious risks" associated with long-term opioid use, including "risks of addiction, abuse,


41
  Brief of the American Pain Foundation, the National Pain Foundation, and the National
Foundation for the Treatment of Pain in Support of Appellant and Reversal of the Conviction,
United States v. Hurowitz, No. 05-4474 (4th Cir. Sept. 8, 2005) [hereinafter Brief of APF] at 9.
42
  Deborah Dowell et al., CDC Guideline for Prescribing Opioids for Chronic Pain—United
States, 2016, Morbidity & Mortality Wkly. Rep., Mar. 18, 2016, at 15 [hereinafter 2016
CDC Guideline], https://www.cdc.gov/mmwr/volumes/65/rr/rr6501e1.htm.
43
     Id. at 2, 25.

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and misuse, even at recommended doses, and because of the greater risks of overdose and

death," opioids should be used only "in patients for whom alternative treatment options" like

non-opioid drugs have failed. 44

       100.    The State of New York, in a 2016 settlement agreement with Endo, found

that opioid "use disorders appear to be highly prevalent in chronic pain patients treated with

opioids, with up to 40% of chronic pain patients treated in specialty and primary care outpatient

centers meeting the clinical criteria for an opioid use disorder." 45 Endo had claimed on its

www.opana.com website that "[m]ost healthcare providers who treat patients with pain

agree that patients treated with prolonged opioid medicines usually do not become addicted,"

but the State of New York found that Endo had no evidence for that statement. Consistent

with this, Endo agreed not to "make statements that . . . opioids generally are non-addictive" or

"that most patients who take opioids do not become addicted" in New York. Endo remains free,

however, to make those statements in this State.

       101.    In addition to mischaracterizing the highly addictive nature of the drugs they were

pushing, the Manufacturer Defendants also fostered a fundamental misunderstanding of the signs

of addiction. Specifically, the Manufacturer Defendants misrepresented, to doctors and patients,

that warning signs and/or symptoms of addiction were, instead, signs of undertreated pain


44
   Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food
and Drug Admin., U.S. Dep't of Health and Human Servs., to Andrew Koldny, M.D.,
President, Physicians for Responsible Opioid Prescribing (Sept. 10, 2013),
https://www.regulations.gov/contentStreamer?documentId=FDA-2012-P-0818-
0793&attachmentNumber=1&contentType=pdf.; Letter from Janet Woodcock, M.D., Dir., Ctr.
For Drug Evaluation and Research, U.S. Food and Drug Admin., U.S. Dep't of Health and
Human Servs., to Peter R. Mathers & Jennifer A. Davidson, Kleinfeld, Kaplan and Becker, LLP
(Mar. 22, 2016), https://www.regulations.gov/contentStreamer?documentId=FDA-2014-P-0205-
0006&attachmentNumber=1&contentType=pdf.
45
  Assurance of Discontinuance, In re Endo Health Solutions Inc. and Endo Pharm. Inc.
(Assurance No. 15-228), at 16, https://ag.ny.gov/pdfs/Endo AOD 030116-Fully Executed.pdf.

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(i.e. pseudoaddiction) - and instructed doctors to increase the opioid prescription dose for

patients who were already in danger.

         102.    To this end, one of Purdue's employees, Dr. David Haddox, invented a

phenomenon called "pseudoaddiction." KOL Dr. Portenoy popularized the term. Examples of the

false, misleading, deceptive, and unfair statements regarding pseudoaddiction include:

                  a. Cephalon and Purdue sponsored Responsible Opioid Prescribing (2007),

                     which taught that behaviors such as "requesting drugs by name,"

                     "demanding or manipulative behavior," seeing more than one doctor to

                     obtain opioids, and hoarding, are all signs of pseudoaddiction, rather than

                     true addiction. 46 The 2012 edition, which remains available for sale

                     online, continues to teach that pseudoaddiction is real. 47


                  b. Janssen sponsored, funded, and edited the Let's Talk Pain website, which

                     in 2009 stated: "pseudoaddiction . . . refers to patient behaviors that may

                     occur when pain is under-treated. Pseudoaddiction is different from true

                     addiction because such behaviors can be resolved with effective pain

                     management."


                  c. Endo sponsored a National Initiative on Pain Control ("NIPC") CME

                     program in 2009 entitled "Chronic Opioid Therapy: Understanding Risk

                     While Maximizing Analgesia," which, upon information and belief,

                     promoted pseudoaddiction by teaching that a patient's aberrant behavior


46
     Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2007) at 62.
47 See Scott M. Fishman, M.D., Responsible Opioid Prescribing: A Physician’s Guide (2d ed.
2012).

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                     was the result of untreated pain. Endo appears to have substantially

                     controlled NIPC by funding NIPC projects; developing, specifying, and

                     reviewing content; and distributing NIPC materials.


                d. Purdue published a pamphlet in 2011 entitled Providing Relief,

                     Preventing Abuse, which, upon information and belief, described

                     pseudoaddiction as a concept that "emerged in the literature" to describe

                     the inaccurate interpretation of [drug- seeking behaviors] in patients who

                     have pain that has not been effectively treated."


                e. Upon information and belief, Purdue sponsored a CME program titled

                     "Path of the Patient, Managing Chronic Pain in Younger Adults at Risk for

                     Abuse". In a role play, a chronic pain patient with a history of drug

                     abuse tells his doctor that he is taking twice as many hydrocodone pills

                     as directed. The narrator notes that because of pseudoaddiction, the doctor

                     should not assume the patient is addicted even if he persistently asks for a

                     specific drug, seems desperate, hoards medicine, or "overindulges in

                     unapproved escalating doses." The doctor treats this patient by prescribing

                     a high-dose, long-acting opioid.


       103.    In the 2016 CDC Guideline, the CDC rejects the validity of the pseudoaddiction

fallacy invented by a Purdue employee as a reason to push more opioid drugs onto already

addicted patients.

       104.    In addition to misstating the addiction risk and inventing the pseudoaddiction

falsehood, a third category of false, deceptive, and unfair practice is the Manufacturer


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Defendants' false instructions that addiction risk screening tools, patient contracts, urine drug

screens, and similar strategies allow them to reliably identify and safely prescribe opioids

to patients predisposed to addiction. These misrepresentations were especially insidious because

the Manufacturer Defendants aimed them at general practitioners and family doctors who

lack the time and expertise to closely manage higher-risk patients on opioids. The

Manufacturer Defendants' misrepresentations made these doctors feel more comfortable

prescribing opioids to their patients, and patients more comfortable starting on opioid therapy

for chronic pain. Illustrative examples include:

                a. Endo paid for a 2007 supplement in the Journal of Family Practice

                    written by a doctor who became a member of Endo's speakers bureau in

                    2010. The supplement, entitled Pain Management Dilemmas in Primary

                    Care: Use of Opioids, emphasized the effectiveness of screening tools,

                    claiming that patients at high risk of addiction could safely receive chronic

                    opioid therapy using a "maximally structured approach" involving

                    toxicology screens and pill counts.


                b. Purdue, upon information and belief, sponsored a 2011 webinar, Managing

                    Patient’s Opioid Use: Balancing the Need and Risk, which claimed that

                    screening tools, urine tests, and patient agreements prevent "overuse of

                    prescriptions" and "overdose deaths."


                c. As recently as 2015, upon information and belief, Purdue has

                    represented in scientific conferences that "bad apple" patients - and not

                    opioids - are the source of the addiction crisis and that once those "bad

                    apples" are identified, doctors can safely prescribe opioids without causing
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                      addiction.


          105.   The 2016 CDC Guideline confirms the falsity of these claims. The Guideline

explains that there are no studies assessing the effectiveness of risk mitigation strategies "for

improving outcomes related to overdose, addiction, abuse or misuse." 48

          106.   A fourth category of deceptive messaging regarding dangerous opioids is the

Manufacturer Defendants' false assurances regarding the alleged ease of eliminating opioid

dependence. The Manufacturer Defendants falsely claimed that opioid dependence can easily

be addressed by tapering and that opioid withdrawal is not a problem, but they failed to

disclose the increased difficulty of stopping opioids after long-term use. In truth, the 2016

CDC Guideline explains that the symptoms of opioid withdrawal include abdominal pain,

vomiting, diarrhea, sweating, tremor, tachycardia, drug cravings, anxiety, insomnia,

spontaneous abortion and premature labor in pregnant women. 49

          107.   The Manufacturer Defendants nonetheless downplayed the severity of opioid

detoxification. For example, upon information and belief, a CME sponsored by Endo, entitled

Persistent Pain in the Older Adult, claimed that withdrawal symptoms can be avoided by

tapering a patient's opioid dose by 10%-20% for 10 days. And Purdue sponsored APF's A

Policymaker’s Guide to Understanding Pain & Its Management, which claimed that

"[s]ymptoms of physical dependence can often be ameliorated by gradually decreasing the dose

of medication during discontinuation" without mentioning any hardships that might occur. 50

          108.   A fifth category of false, deceptive, and unfair statements the Manufacturer



48 Id. at 11.
49 Id. at 26.
50
     APF, Policymaker’s Guide, supra note 39, at 32.

                                                 40
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Defendants made to sell more drugs is that opioid dosages could be increased indefinitely

without added risk. The ability to escalate dosages was critical to Defendants' efforts to market

opioids for long-term use to treat chronic pain because, absent this misrepresentation, doctors

would have abandoned treatment when patients built up tolerance and lower dosages did not

provide pain relief. The Manufacturer Defendants' deceptive claims include:

                  a. Upon information and belief, Actavis's predecessor created a patient

                      brochure for Kadian in 2007 that stated, "Over time, your body may

                      become tolerant of your current dose. You may require a dose

                      adjustment to get the right amount of pain relief. This is not addiction."

                      Based on Actavis's acquisition of its predecessor's marketing materials

                      along with the rights to Kadian, Actavis appears to have continued to use

                      these materials in 2009 and beyond.


                  b. Cephalon and Purdue sponsored APF's Treatment Options: A Guide for

                      People Living with Pain (2007), which claims that some patients "need" a

                      larger dose of an opioid, regardless of the dose currently prescribed. The

                      guide stated that opioids have "no ceiling dose" and insinuated that they

                      are therefore the most appropriate treatment for severe pain.51 This

                      publication is still available online.


                  c. Endo sponsored a website, "PainKnowledge," which, upon information and

                      belief, claimed in 2009 that opioid dosages may be increased until "you are




51
     APF, Treatment Options, supra note 38, at 12.

                                                    41
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                  on the right dose of medication for your pain."


              d. Endo distributed a pamphlet edited by a KOL entitled Understanding Your

                  Pain: Taking Oral Opioid Analgesics (2004 Endo Pharmaceuticals PM-

                  0120). In Q&A format, it asked "If I take the opioid now, will it work later

                  when I really need it?" The response is, "The dose can be increased. You

                  won't 'run out' of pain relief." 52


              e. Janssen sponsored a patient education guide entitled Finding Relief: Pain

                  Management for Older Adults (2009), which was distributed by its sales

                  force. This guide listed dosage limitations as "disadvantages" of other

                  pain medicines but omitted any discussion of risks of increased opioid

                  dosages.


              f. Upon information and belief, Purdue's In the Face of Pain website

                  promoted the notion that if a patient's doctor does not prescribe what, in

                  the patient's view, is a sufficient dosage of opioids, he or she should find

                  another doctor who will.


              g. Purdue sponsored APF's A Policymaker’s Guide to Understanding Pain

                  & Its Management, which taught that dosage escalations are "sometimes

                  necessary," and that "the need for higher doses of medication is not

                  necessarily indicative of addiction," but inaccurately downplayed the risks




52 Margo McCaffery & Chris Pasero, Endo Pharm., Understanding Your Pain: Taking Oral
Opioid Analgesics (Russell K Portenoy, M.D., ed., 2004).

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                    from high opioid dosages.53


                h. In 2007, Purdue sponsored a CME entitled "Overview of Management

                    Options" that was available for CME credit and available until at least

                    2012. The CME was edited by a KOL and taught that NSAIDs and other

                    drugs, but not opioids, are unsafe at high dosages.


                i. Purdue presented a 2015 paper at the College on the Problems of Drug

                    Dependence, "the oldest and largest organization in the US dedicated to

                    advancing a scientific approach to substance use and addictive

                    disorders," challenging the correlation between opioid dosage and

                    overdose. 54


                j. Seeking to overturn the criminal conviction of a doctor for illegally

                    prescribing opioids, the Manufacturer Defendants' Front Groups APF and

                    NFP argued in an amicus brief to the United States Fourth Circuit Court

                    of Appeals that "there is no 'ceiling dose'" for opioids. 55


       109.    Once again, the 2016 CDC Guideline reveals that the Manufacturer Defendants'

representations regarding opioids were lacking in scientific evidence. The 2016 CDC Guideline

clarifies that the "[b]enefits of high-dose opioids for chronic pain are not established" while the




53 APF, Policymaker’s Guide, supra note 39, at 32.
54 The College on Problems of Drug Dependence, About the College, http://cpdd.org (last
visited Aug. 21, 2017).
55 Brief of APF, supra note 38, at 9.

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"risks for serious harms related to opioid therapy increase at higher opioid dosage." 56 More

specifically, the CDC explains that "there is now an established body of scientific

evidence showing that overdose risk is increased at higher opioid dosages." 57 The CDC also

states that there is an increased risk "for opioid use disorder, respiratory depression, and

death at higher dosages." 5859 That is why the CDC advises doctors to "avoid increasing

dosage" to above 90 morphine milligram equivalents per day. 59

          110.       Defendants' deceptive marketing of the so-called abuse-deterrent properties of

some of their opioids has created false impressions that these opioids can cure addiction

and abuse.

          111.       The Manufacturer Defendants made misleading claims about the ability of their

so-called abuse-deterrent opioid formulations to deter abuse. For example, Endo's

advertisements for the 2012 reformulation of Opana ER claimed that it was designed to be crush

resistant, in a way that suggested it was more difficult to abuse. This claim was false. The FDA

warned in a 2013 letter that Opana ER Extended-Release Tablets' "extended-release features can

be compromised, causing the medication to 'dose dump,' when subject to . . . forms of

manipulation such as cutting, grinding, or chewing, followed by swallowing." 60 Also troubling,

Opana ER can be prepared for snorting using commonly available methods and "readily prepared




56
     2016 CDC Guideline, supra note 50, at 22-23.
57
     Id. at 23-24.
58
     Id. at 21.
59
     Id. at 16.
60
  Letter from Janet Woodcock, M.D., Dir., Ctr. For Drug Evaluation and Research, U.S. Food
and Drug Admin.,U.S. Dep't of Health and Human Servs., to Robert Barto, Vice President, Reg.
Affairs, Endo Pharm. Inc. (May 10, 2013), at 5.

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for injection." 61 The letter discussed "the troubling possibility that a higher (and rising) percentage

of [Opana ER Extended-Release Tablet] abuse is occurring via injection." 62 Endo's own studies,

which it failed to disclose, showed that Opana ER could still be ground and chewed. In June 2017,

the FDA requested that Opana ER be removed from the market.

      ii.         The Manufacturer Defendants embarked upon a campaign of false, deceptive, and
                  unfair assurances grossly overstating the benefits of the opioid drugs.

            112.     To convince doctors and patients that opioids should be used to treat chronic pain,

the Manufacturer Defendants also had to persuade them that there was a significant upside

to long-term opioid use. But as the CDC Guideline makes clear, "[n]o evidence shows a long-

term benefit of opioids in pain and function versus no opioids for chronic pain with outcomes

examined at least 1 year later (with most placebo-controlled randomized trials :S 6 weeks in

duration)" and that other treatments were more or equally beneficial and less harmful than long-

term opioid use. 63 The FDA, too, has recognized the lack of evidence to support long-term opioid

use. Despite this, Defendants falsely and misleadingly touted the benefits of long-term opioid use

and falsely and misleadingly suggested that these benefits were supported by scientific evidence.

            113.     Some illustrative examples of the Manufacturer Defendants' false claims are:

                       a. Upon information and belief, Actavis distributed an advertisement claiming

                          that the use of Kadian to treat chronic pain would allow patients to return

                          to work, relieve "stress on your body and your mental health," and help

                          patients enjoy their lives.




61
     Id. at 6.
62
     Id. at 6, n.21.
63
     Id. at 15.

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        b. Endo distributed advertisements that claimed that the use of Opana ER

           for chronic pain would allow patients to perform demanding tasks like

           construction work or work as a chef and portrayed seemingly healthy,

           unimpaired subjects.


        c. Janssen sponsored and edited a patient education guide entitled Finding

           Relief: Pain Management for Older Adults (2009) - which states as "a

           fact" that "opioids may make it easier for people to live normally." The

           guide lists expected functional improvements from opioid use, including

           sleeping through the night, returning to work, recreation, sex, walking,

           and climbing stairs.


        d. Janssen promoted Ultracet for everyday chronic pain and distributed

           posters,for display in doctors' offices, of presumed patients in active

           professions; the caption read, "Pain doesn't fit into their schedules."


        e. Upon information and belief, Purdue ran a series of advertisements for

           OxyContin in 2012 in medical journals entitled "Pain vignettes," which

           were case studies featuring patients with pain conditions persisting over

           several months and recommending OxyContin for them. The ads

           implied that OxyContin improves patients' function.


        f. Responsible Opioid Prescribing (2007), sponsored and distributed by

           Cephalon, Endo and Purdue, taught that relief of pain by opioids, by

           itself, improved patients' function.



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                  g. Cephalon and Purdue sponsored APF's Treatment Options: A Guide for

                     People Living with Pain (2007), which counseled patients that opioids "give

                     [pain patients] a quality of life we deserve."64 This publication is still

                     available online.


                  h. Endo's NIPC website "PainKnowledge" claimed in 2009, upon information

                     and belief, that with opioids, "your level of function should improve;

                     you may find you are now able to participate in activities of daily living,

                     such as work and hobbies, that you were not able to enjoy when your pain

                     was worse." Elsewhere, the website touted improved quality of life (as

                     well as "improved function") as benefits of opioid therapy. The grant

                     request that Endo approved for this project specifically indicated NIPC's

                     intent to make misleading claims about function, and Endo closely tracked

                     visits to the site.


                  i. Endo was the sole sponsor, through NIPC, of a series of CMEs

                     entitled "Persistent Pain in the Older Patient." 65 Upon information and

                     belief, a CME disseminated via webcast claimed that chronic opioid therapy

                     has been "shown to reduce pain and improve depressive symptoms and

                     cognitive functioning."


                  j. Janssen sponsored and funded a multimedia patient education campaign



64
     APF, Treatment Options, supra note 39.
65
  E.g., NIPC, Persistent Pain     and   the     Older Patient (2007),
https://www.painedu.org/Downloads/NIPC/Activities/B173_Providence_RI_%20Invite.pdf.

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                      called "Let's Talk Pain." One feature of the campaign was to complain that

                      patients were under-treated. In 2009, upon information and belief, a

                      Janssen-sponsored website, part of the "Let's Talk Pain" campaign,

                      featured an interview edited by Janssen claiming that opioids allowed a

                      patient to "continue to function."


                 k. Purdue       sponsored     the     development and        distribution   of

                        APF's A Policymaker’s Guide to Understanding Pain & Its

                      Management, which claimed that "[m]ultiple clinical studies" have shown

                      that opioids are effective in improving "[d]aily function,"

                      "[p]sychological health," and "[o]verall health-related quality of life for

                      chronic pain." 66 The Policymaker's Guide was originally published in 2011.


                 l. Purdue's, Cephalon's, Endo's, and Janssen's sales representatives have

                      conveyed and continue to convey the message that opioids will improve

                      patient function.


        114.    As the FDA and other agencies have made clear for years, these claims have no

support in the scientific literature.

        115.    In 2010, the FDA warned Actavis, in response to its advertising of Kadian

described above, that "we are not aware of substantial evidence or substantial clinical

experience demonstrating that the magnitude of the effect of the drug [Kadian] has in alleviating

pain, taken together with any drug-related side effects patients may experience . . . results in




66 APF, Policymaker’s Guide, supra note 40, at 29.

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any overall positive impact on a patient's work, physical and mental functioning, daily

activities, or enjoyment of life." 6768 And in 2008, upon information and belief, the FDA sent a

warning letter to an opioid manufacturer, making it clear "that [the claim that] patients who

are treated with the drug experience an improvement in their overall function, social function,

and ability to perform daily activities . . . has not been demonstrated by substantial evidence

or substantial clinical experience."

          116.   The Manufacturer Defendants also falsely and misleadingly emphasized or

exaggerated the risks of competing medications like NSAIDs, so that doctors and patients would

look to opioids first for the treatment of chronic pain. Once again, these misrepresentations by

the Manufacturer Defendants contravene pronouncements by and guidance from the FDA and

CDC based on the scientific evidence. Indeed, the FDA changed the labels for ER/LA opioids

in 2013 and IR opioids in 2016 to state that opioids should only be used as a last resort "in

patients for which alternative treatment options" like non-opioid drugs "are inadequate." And

the 2016 CDC Guideline states that NSAIDs, not opioids, should be the first-line treatment

for chronic pain, particularly arthritis and lower back pain. 6869 Purdue misleadingly promoted

OxyContin as being unique among opioids in providing 12 continuous hours of pain relief

with one dose. In fact, OxyContin does not last for 12 hours - a fact that Purdue has known at

all times relevant to this action. Upon information and belief, Purdue's own research shows that

OxyContin wears off in under six hours in one quarter of patients and in under 10 hours in

more than half. This is because OxyContin tablets release approximately 40% of their

active medicine immediately, after which release tapers. This triggers a powerful initial



67
     Letter from Thomas Abrams to Doug Boothe, supra note 27.
68
     2016 CDC Guideline, supra note 42, at 12.

                                                 49
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response, but provides little or no pain relief at the end of the dosing period, when less medicine

is released. This phenomenon is known as "end of dose" failure, and the FDA found in 2008

that a "substantial proportion" of chronic pain patients taking OxyContin experience it. This

not only renders Purdue's promise of 12 hours of relief false and deceptive, it also makes

OxyContin more dangerous because the declining pain relief patients experience toward the end

of each dosing period drives them to take more OxyContin before the next dosing period

begins, quickly increasing the amount of drug they are taking and spurring growing

dependence.

       117.    Purdue's competitors were aware of this problem. For example. Endo ran

advertisements for Opana ER referring to "real" 12-hour dosing. Nevertheless, Purdue falsely

promoted OxyContin as if it were effective for a full 12 hours. Upon information and belief,

Purdue's sales representatives continue to tell doctors that OxyContin lasts a full 12 hours.

       118.    Front Groups supported by Purdue likewise echoed these representations. For

example, in an amicus brief submitted to the Supreme Court of Ohio by the American

Pain Foundation, the National Foundation for the Treatment of Pain and the Ohio Pain

Initiative in support of Purdue, those amici represented:

       119.    OxyContin is particularly useful for sustained long-term pain because it comes

in higher, compact pills with a slow release coating. OxyContin pills can work for 12 hours.

This makes it easier for patients to comply with dosing requirements without experiencing

a roller-coaster of pain relief followed quickly by pain renewal that can occur with shorter

acting medications. It also helps the patient sleep through the night, which is often impossible

with short-acting medications. For many of those serviced by Pain Care Amici, OxyContin has




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been a miracle medication. 69

         120.   Cephalon deceptively marketed its opioids Actiq and Fentora for chronic pain

even though the FDA has expressly limited their use to the treatment of cancer pain in

opioid tolerant individuals. Both Actiq and Fentora are extremely powerful fentanyl-based IR

opioids. Neither is approved for or has been shown to be safe or effective for chronic pain.

Indeed, the FDA expressly prohibited Cephalon from marketing Actiq for anything but

cancer pain, and refused to approve Fentora for the treatment of chronic pain because of

the potential harm, including the high risk of "serious and life-threatening adverse events"

and abuse - which are greatest in non-cancer patients. The FDA also issued a Public Health

Advisory in 2007 emphasizing that Fentora should only be used for cancer patients who are

opioid-tolerant and should not be used for any other conditions, such as migraines, post-

operative pain, or pain due to injury. 70 Specifically, the FDA advised that Fentora "is only

approved for breakthrough cancer pain in patients who are opioid-tolerant, meaning those

patients who take a regular, daily, around-the-clock narcotic pain medication." 71

         121.   Despite this, Cephalon conducted and continues to conduct a well-funded

campaign to promote Actiq and Fentora for chronic pain and other non-cancer conditions for

which it was not approved, appropriate, and for which it is not safe. As part of this campaign,

Cephalon used CMEs, speaker programs, KOLs, journal supplements, and detailing by its sales



69 Reply Brief of Amicus Curiae of the American Pain Foundation, The National Foundation for
the Treatment of Pain and the Ohio Pain Initiative Supporting Appellants, Howland v. Purdue
Pharma L.P., No. 2003-1538 (Ohio Apr. 13, 2004), 2004 WL 1637768, at *4 (footnote omitted).
70 See U.S. Food & Drug Admin., Public Health Advisory: Important Information for the Safe
Use of Fentora (fentanyl buccal tablets) (Sept. 26, 2007),
https://www.fda.gov/Drugs/DrugSafety/PostmarketDrugSafetyInformationforPatientsandProvide
rs/ucm05 1273.htm.
71 Id.

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representatives to give doctors the false impression that Actiq and Fentora are safe and effective

for treating non-cancer pain. For example:

                a. Cephalon paid to have a CME it sponsored, Opioid-Based Management of

                    Persistent and Breakthrough Pain, published in a supplement of Pain

                    Medicine News in 2009. The CME instructed doctors that "[c]linically,

                    broad classification of pain syndromes as either cancer- or non-cancer-

                    related has limited utility" and recommended Actiq and Fentora for patients

                    with chronic pain.


                b. Upon information and belief, Cephalon's sales representatives set up

                    hundreds of speaker programs for doctors, including many non-oncologists,

                    which promoted Actiq and Fentora for the treatment of non-cancer pain.


       122.    In December 2011, Cephalon widely disseminated a journal supplement entitled

"Special Report: An Integrated Risk Evaluation and Mitigation Strategy for Fentanyl Buccal

Tablet (FENTORA) and Oral Transmucosal Fentanyl Citrate (ACTIQ)" to Anesthesiology

News, Clinical Oncology News, and Pain Medicine News - three publications that are sent to

thousands of anesthesiologists and other medical professionals. The Special Report openly

promotes Fentora for "multiple causes of pain" - and not just cancer pain.

       123.    Cephalon's deceptive marketing gave doctors and patients the false impression

that Actiq and Fentora were not only safe and effective for treating chronic pain, but were also

approved by the FDA for such uses.

       124.    Purdue also unlawfully and unfairly failed to report or address illicit and unlawful

prescribing of its drugs, despite knowing about it for years. Purdue's sales representatives have

maintained a database since 2002 of doctors suspected of inappropriately prescribing its drugs.
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Rather than report these doctors to state medical boards or law enforcement authorities (as

Purdue is legally obligated to do) or cease marketing to them, Purdue used the list to demonstrate

the high rate of diversion of OxyContin - the same OxyContin that Purdue had promoted as less

addictive - in order to persuade the FDA to bar the manufacture and sale of generic copies of

the drug because the drug was too likely to be abused. In an interview with the Los Angeles

Times, Purdue's senior compliance officer acknowledged that in five years of investigating

suspicious pharmacies, Purdue failed to take action - even where Purdue employees

personally witnessed the diversion of its drugs. The same was true of prescribers; despite its

knowledge of illegal prescribing, Purdue did not report that a Los Angeles clinic prescribed

more than 1.1 million OxyContin tablets and that Purdue's district manager described it

internally as "an organized drug ring" until years after law enforcement shut it down. In doing

so, Purdue protected its own profits at the expense of public health and safety. 72

       125.    Like Purdue, Endo has been cited for its failure to set up an effective system

for identifying and reporting suspicious prescribing. In its settlement agreement with Endo, the

State of New York found that Endo failed to require sales representatives to report signs of

abuse, diversion, and inappropriate prescribing; paid bonuses to sales representatives for

detailing prescribers who were subsequently arrested or convicted for illegal prescribing;

and failed to prevent sales representatives from visiting prescribers whose suspicious

conduct had caused them to be placed on a no-call list.

               4. The Manufacturer Defendants Targeted Susceptible Prescribers and
               Vulnerable Patient Populations.



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   Harriet Ryan et al., More Than 1 Million Oxycontin Pills Ended Up in the Hands of Criminals
and Addicts. What the Drugmaker Knew, L.A. Times, July 10, 2016,
http://www.latimes.com/projects/la-me- oxycontin-part2/.

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         126.    As a part of their deceptive marketing scheme, the Manufacturer Defendants

identified and targeted susceptible prescribers and vulnerable patient populations in the

United States. For example, the Manufacturer Defendants focused their deceptive marketing on

primary care doctors, who were more likely to treat chronic pain patients and prescribe them

drugs, but were less likely to be educated about treating pain and the risks and benefits of

opioids and therefore more likely to accept the Manufacturer Defendants' misrepresentations.

         127.    The Manufacturer Defendants also targeted vulnerable patient populations like

the elderly and veterans, who tend to suffer from chronic pain. The Manufacturer Defendants

targeted these vulnerable patients even though the risks of long-term opioid use were

significantly greater for them. For example, the 2016 CDC Guideline observes that existing

evidence confirms that elderly patients taking opioids suffer from elevated fall and fracture risks,

reduced renal function and medication clearance, and a smaller window between safe and unsafe

dosages. 73 The 2016 CDC Guideline concludes that there must be "additional caution and

increased monitoring" to minimize the risks of opioid use in elderly patients. Id. at 27. The same

is true for veterans, who are more likely to use anti-anxiety drugs (benzodiazepines) for

post- traumatic stress disorder, which interact dangerously with opioids.

                 5. The Manufacturer Defendants Made Materially Deceptive Statements
                 and Concealed Material Facts.

         128.    As alleged herein, the Manufacturer Defendants made and/or disseminated

deceptive statements regarding material facts and further concealed material facts, in the course

of manufacturing, marketing, and selling prescription opioids. The Manufacturer Defendants'

actions were intentional and/or unlawful. Such statements include, but are not limited to, those



73
     2016 CDC Guideline, supra note 41, at 13.

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set out below and alleged throughout this Complaint.

       129.    Defendant Purdue made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

                a. Creating, sponsoring, and assisting in the distribution of patient education

                    materials distributed to consumers that contained deceptive statements;


                b. Creating and disseminating advertisements that contained deceptive

                    statements concerning the ability of opioids to improve function long-term

                    and concerning the evidence supporting the efficacy of opioids long-

                    term for the treatment of chronic non-cancer pain;


                c. Disseminating misleading statements concealing the true risk of addiction

                    and promoting the deceptive concept of pseudoaddiction through Purdue's

                    own unbranded publications and on internet sites Purdue operated that were

                    marketed to and accessible by consumers;


                d. Distributing brochures to doctors, patients, and law enforcement

                    officials that included deceptive statements concerning the indicators of

                    possible opioid abuse;


                e. Sponsoring, directly distributing, and assisting in the distribution of

                    publications that promoted the deceptive concept of pseudoaddiction,

                    even for high-risk patients;


                f. Endorsing, directly distributing, and assisting in the distribution of


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           publications that presented an unbalanced treatment of the long-term and

           dose- dependent risks of opioids versus NSAIDs;


        g. Providing significant financial support to pro-opioid KOL doctors who

           made deceptive statements concerning the use of opioids to treat chronic

           non-cancer pain;


        h. Providing needed financial support to pro-opioid pain organizations that

           made deceptive statements, including in patient education materials,

           concerning the use of opioids to treat chronic non-cancer pain;


        i. Assisting in the distribution of guidelines that contained deceptive

           statements concerning the use of opioids to treat chronic non-cancer pain

           and misrepresented the risks of opioid addiction;


        j. Endorsing and assisting in the distribution of CMEs containing

           deceptive statements concerning the use of opioids to treat chronic non-

           cancer pain;


        k. Developing and disseminating scientific studies that misleadingly concluded

           opioids are safe and effective for the long-term treatment of chronic non-

           cancer pain and that opioids improve quality of life, while concealing contrary

           data;


        l. Assisting in the dissemination of literature written by pro-opioid KOLs that

           contained deceptive statements concerning the use of opioids to treat

           chronic noncancer pain;

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        m. Creating, endorsing, and supporting the distribution of patient and

           prescriber education materials that misrepresented the data regarding the

           safety and efficacy of opioids for the long-term treatment of chronic non-

           cancer pain, including known rates of abuse and addiction and the lack of

           validation for long- term efficacy;


        n. Targeting veterans by sponsoring and disseminating patient education

           marketing materials that contained deceptive statements concerning the

           use of opioids to treat chronic non-cancer pain;


        o. Targeting the elderly by assisting in the distribution of guidelines that

           contained deceptive statements concerning the use of opioids to treat

           chronic non-cancer pain and misrepresented the risks of opioid addiction

           in this population;


        p. Exclusively disseminating misleading statements in education materials to

           hospital doctors and staff while purportedly educating them on new pain

           standards;


        q. Making deceptive statements concerning the use of opioids to treat

           chronic noncancer pain to prescribers through in-person detailing; and


        r. Withholding from law enforcement the names of prescribers Purdue

           believed to be facilitating the diversion of its opioid, while

           simultaneously marketing opioids to these doctors by disseminating patient

           and prescriber education materials and advertisements and CMEs they


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                    knew would reach these same prescribers.


       130.    Defendant Endo made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

                a. Creating, sponsoring, and assisting in the distribution of patient

                    education materials that contained deceptive statements;


                b. Creating and disseminating advertisements that contained deceptive

                    statements concerning the ability of opioids to improve function long-term

                    and concerning the evidence supporting the efficacy of opioids long-

                    term for the treatment of chronic non-cancer pain;


                c. Creating and disseminating paid advertisement supplements in academic

                    journals promoting chronic opioid therapy as safe and effective for long term

                    use for high risk patients;


                d. Creating and disseminating advertisements that falsely and inaccurately

                    conveyed the impression that Endo's opioids would provide a reduction in

                    oral, intranasal, or intravenous abuse;


                e. Disseminating misleading statements concealing the true risk of addiction

                    and promoting the misleading concept of pseudoaddiction through Endo's

                    own unbranded publications and on internet sites Endo sponsored or operated;


                f. Endorsing, directly distributing, and assisting in the distribution of

                    publications that presented an unbalanced treatment of the long-term and

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           dose-dependent risks of opioids versus NSAIDs;


        g. Providing significant financial support to pro-opioid KOLs, who made

           deceptive statements concerning the use of opioids to treat chronic non-cancer

           pain;


        h. Providing needed financial support to pro-opioid pain organizations -

           including over $5 million to the organization responsible for many of the

           most egregious misrepresentations - that made deceptive statements,

           including in patient education materials, concerning the use of opioids to treat

           chronic non-cancer pain;


        i. Targeting the elderly by assisting in the distribution of guidelines that

           contained deceptive statements concerning the use of opioids to treat chronic

           non-cancer pain and misrepresented the risks of opioid addiction in this

           population;


        j. Endorsing and assisting in the distribution of CMEs containing

           deceptive statements concerning the use of opioids to treat chronic non-

           cancer pain;


        k. Developing and disseminating scientific studies that deceptively concluded

           opioids are safe and effective for the long-term treatment of chronic non-

           cancer pain and that opioids improve quality of life, while concealing contrary

           data;


        l. Directly distributing and assisting in the dissemination of literature

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                    written by pro- opioid KOLs that contained deceptive statements

                    concerning the use of opioids to treat chronic non-cancer pain, including

                    the concept of pseudoaddiction;


                m. Creating, endorsing, and supporting the distribution of patient and

                    prescriber education materials that misrepresented the data regarding the

                    safety and efficacy of opioids for the long-term treatment of chronic non-

                    cancer pain, including known rates of abuse and addiction and the lack of

                    validation for long-term efficacy; and


                n. Making deceptive statements concerning the use of opioids to treat chronic

                    non- cancer pain to prescribers through in-person detailing.


       131.    Defendant Janssen made and/or disseminated deceptive statements, and

concealed material facts in such a way to make their statements deceptive, including, but not

limited to, the following:

                a. Creating, sponsoring, and assisting in the distribution of patient

                    education materials that contained deceptive statements;


                b. Directly disseminating deceptive statements through internet sites over

                    which Janssen exercised final editorial control and approval stating that

                    opioids are safe and effective for the long-term treatment of chronic non-

                    cancer pain and that opioids improve quality of life, while concealing contrary

                    data;


                c. Disseminating deceptive statements concealing the true risk of addiction and


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           promoting the deceptive concept of pseudoaddiction through internet

           sites over which Janssen exercised final editorial control and approval;


        d. Promoting opioids for the treatment of conditions for which Janssen knew, due

           to the scientific studies it conducted, that opioids were not efficacious and

           concealing this information;


        e. Sponsoring, directly distributing, and assisting in the dissemination of

           patient education publications over which Janssen exercised final editorial

           control and approval, which presented an unbalanced treatment of the

           long- term and dose dependent risks of opioids versus NSAIDs;


        f. Providing significant financial support to pro-opioid KOLs, who made

           deceptive statements concerning the use of opioids to treat chronic non-cancer

           pain;


        g. Providing necessary financial support to pro-opioid pain organizations

           that made deceptive statements, including in patient education materials,

           concerning the use of opioids to treat chronic non-cancer pain;


        h. Targeting the elderly by assisting in the distribution of guidelines that

           contained deceptive statements concerning the use of opioids to treat

           chronic non-cancer pain and misrepresented the risks of opioid addiction in

           this population;


        i. Targeting the elderly by sponsoring, directly distributing, and assisting

           in the dissemination of patient education publications targeting this

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           population that contained deceptive statements about the risks of addiction

           and the adverse effects of opioids, and made false statements that opioids

           are safe and effective for the long-term treatment of chronic non-cancer

           pain and improve quality of life, while concealing contrary data;


        j. Endorsing and assisting in the distribution of CMEs containing

           deceptive statements concerning the use of opioids to treat chronic non-

           cancer pain;


        k. Directly distributing and assisting in the dissemination of literature written

           by pro-opioid KOLs that contained deceptive statements concerning the

           use of opioids to treat chronic non-cancer pain, including the concept of

           pseudoaddiction;


        l. Creating, endorsing, and supporting the distribution of patient and

           prescriber education materials that misrepresented the data regarding the

           safety and efficacy of opioids for the long-term treatment of chronic non-

           cancer pain, including known rates of abuse and addiction and the lack of

           validation for long-term efficacy;


        m. Targeting veterans by sponsoring and disseminating patient education

           marketing materials that contained deceptive statements concerning the

           use of opioids to treat chronic non-cancer pain; and


        n. Making deceptive statements concerning the use of opioids to treat chronic

           non- cancer pain to prescribers through in-person detailing.


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       132.    Defendant Cephalon made and/or disseminated untrue, false and deceptive

statements, and concealed material facts in such a way to make their statements deceptive,

including, but not limited to, the following:

                a. Creating, sponsoring, and assisting in the distribution of patient education

                    materials that contained deceptive statements;


                b. Sponsoring and assisting in the distribution of publications that promoted

                    the deceptive concept of pseudoaddiction, even for high-risk patients;


                c. Providing significant financial support to pro-opioid KOL doctors who

                    made deceptive statements concerning the use of opioids to treat chronic

                    non-cancer pain and breakthrough chronic non-cancer pain;


                d. Developing and disseminating scientific studies that deceptively concluded

                    opioids are safe and effective for the long-term treatment of chronic non-

                    cancer pain in conjunction with Cephalon's potent rapid-onset opioids;


                e. Providing needed financial support to pro-opioid pain organizations that

                    made deceptive statements, including in patient education materials,

                    concerning the use of opioids to treat chronic non-cancer pain;


                f. Endorsing and assisting in the distribution of CMEs containing

                    deceptive statements concerning the use of opioids to treat chronic non-

                    cancer pain;


                g. Endorsing and assisting in the distribution of CMEs containing

                    deceptive statements concerning the use of Cephalon's rapid-onset opioids;

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                h. Directing its marketing of Cephalon's rapid-onset opioids to a wide range of

                    doctors, including general practitioners, neurologists, sports medicine

                    specialists, and workers' compensation programs, serving chronic pain

                    patients;


                i. Making deceptive statements concerning the use of Cephalon's opioids to treat

                    chronic non-cancer pain to prescribers through in-person detailing and

                    speakers' bureau events, when such uses are unapproved and unsafe; and;


                j. Making deceptive statements concerning the use of opioids to treat chronic

                    non- cancer pain to prescribers through in-person detailing and speakers'

                    bureau events.


       133.    Defendant Actavis made and/or disseminated deceptive statements, and concealed

material facts in such a way to make their statements deceptive, including, but not limited to, the

following:

                a. Making deceptive statements concerning the use of opioids to treat chronic

                    non- cancer pain to prescribers through in-person detailing;


                b. Creating and disseminating advertisements that contained deceptive

                    statements that opioids are safe and effective for the long-term treatment of

                    chronic non-cancer pain and that opioids improve quality of life;


                c. Creating and disseminating advertisements that concealed the risk of

                    addiction in the long-term treatment of chronic, non-cancer pain; and


                d. Developing and disseminating scientific studies that deceptively concluded

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                    opioids are safe and effective for the long-term treatment of chronic non-

                    cancer pain and that opioids improve quality of life while concealing

                    contrary data.


                6. The Manufacturer Defendants Fraudulently Concealed Their
                Misconduct.

       134.    The Manufacturer Defendants, both individually and collectively, made,

promoted, and profited from their misrepresentations about the risks and benefits of opioids for

chronic pain even though they knew that their misrepresentations were false and deceptive.

The history of opioids, as well as research and clinical experience establish that opioids are

highly addictive and are responsible for a long list of very serious adverse outcomes. The FDA

warned Defendants of this, and Defendants had access to scientific studies, detailed

prescription data, and reports of adverse events, including reports of addiction, hospitalization,

and death - all of which clearly described the harm from long-term opioid use and that

patients were suffering from addiction, overdose, and death in alarming numbers. More

recently, the FDA and CDC have issued pronouncements, based on medical evidence, that

conclusively expose the falsity of Defendants' misrepresentations, and Endo and Purdue have

recently entered agreements in New York prohibiting them from making some of the same

misrepresentations described in this Complaint.

       135.    At all times relevant to this Complaint, the Manufacturer Defendants took steps to

avoid detection of and to fraudulently conceal their deceptive marketing and unlawful, unfair,

and fraudulent conduct. For example, the Manufacturer Defendants disguised their role in the

deceptive marketing of chronic opioid therapy by funding and working through third parties like

Front Groups and KOLs. The Manufacturer Defendants purposefully hid behind the assumed

credibility of these individuals and organizations and relied on them to vouch for the accuracy
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and integrity of the Manufacturer Defendants' false and deceptive statements about the risks and

benefits of long-term opioid use for chronic pain. Defendants also never disclosed their role in

shaping, editing, and approving the content of information and materials disseminated by these

third parties. The Manufacturer Defendants exerted considerable influence on these promotional

and "educational" materials in emails, correspondence, and meetings with KOLs, Front Groups,

and public relations companies that were not, and have not yet become, public. For example,

PainKnowledge.org, which is run by the NIPC, did not disclose Endo's involvement. Other

Manufacturer Defendants, such as Purdue and Janssen, ran similar websites that masked their

own role.

       136.    Finally, the Manufacturer Defendants manipulated their promotional materials

and the scientific literature to make it appear that these documents were accurate, truthful, and

supported by objective evidence when they were not. The Manufacturer Defendants distorted the

meaning or import of studies they cited and offered them as evidence for propositions the studies

did not support. The Manufacturer Defendants invented "pseudoaddiction" and promoted it to an

unsuspecting medical community. The Manufacturer Defendants provided the medical community

with false and misleading information about ineffectual strategies to avoid or control opioid

addiction. The Manufacturer Defendants recommended to the medical community that dosages

be increased, without disclosing the risks. The Manufacturer Defendants spent millions of dollars

over a period of years on a misinformation campaign aimed at highlighting opioids' alleged

benefits, disguising the risks, and promoting sales.

THE DISTRIBUTOR DEFENDANTS' UNLAWFUL DISTRIBUTION OF OPIOIDS.

       137.    The Distributor Defendants owe a duty under federal law (21 U.S.C. § 823, 21

CFR 1301.74) to monitor, detect, investigate, refuse to fill, and report suspicious orders of


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prescription opioids as well as those orders which the Distributor Defendants knew or should

have known were likely to be diverted.

       138.    The foreseeable harm from a breach of these duties is the diversion of prescription

opioids for nonmedical purposes.

       139.    Each Distributor Defendant repeatedly and purposefully breached its duties under

state and federal law. Such breaches are a direct and proximate causes of the widespread

diversion of prescription opioids for nonmedical purposes.

       140.    The unlawful diversion of prescription opioids is a direct and proximate cause

of the opioid epidemic, prescription opioid abuse, addiction, morbidity and mortality.

       141.    The Distributor Defendants' intentionally continued their conduct, as alleged

herein, with knowledge that such conduct was creating the opioid epidemic and causing the

damages alleged herein.

               1. The Distributor Defendants Have a Duty under Federal Law to Guard
               Against, and Report, Unlawful Diversion and to Report and Prevent
               Suspicious Orders.

       142.    Opioids are a controlled substance. These "Schedule II" drugs are controlled

substances with a "high potential for abuse." 21 U.S.C. §§ 812(b), 812(2)(A)-(C).

       143.    Each Distributor Defendant was required to register with the DEA, pursuant to

the federal Controlled Substance Act. See 21 U.S.C. § 823(b), (e); 28 C.F.R. § 0.100. Each

Distributor Defendant is a "registrant" as a wholesale distributor in the chain of distribution of

Schedule II controlled substances with a duty to comply with all security requirements imposed

under that statutory scheme.

       144.    Each Distributor Defendant has an affirmative duty under federal law to act as a

gatekeeper guarding against the diversion of the highly addictive, dangerous opioid drugs.

Federal law requires that Distributors of Schedule II drugs, including opioids, must
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maintain "effective control against diversion of particular controlled substances into other than

legitimate medical, scientific, and industrial channels." 21 U.S.C. §§ 823(b)(1).

       145.    Federal regulations impose a non-delegable duty upon wholesale drug

distributors to "design and operate a system to disclose to the registrant suspicious orders of

controlled substances. The registrant [distributor] shall inform the Field Division Office of

the Administration in his area of suspicious orders when discovered by the registrant.

Suspicious orders include orders of unusual size, orders deviating substantially from a normal

pattern, and orders of unusual frequency." 21 C.F.R. § 1301.74(b).

       146.    "Suspicious orders" include orders of an unusual size, orders of unusual frequency

or orders deviating substantially from a normal pattern. See 21 CFR 1301.74(b). These criteria

are disjunctive and are not all inclusive. For example, if an order deviates substantially from a

normal pattern, the size of the order does not matter and the order should be reported as

suspicious. Likewise, a wholesale distributor need not wait for a normal pattern to develop over

time before determining whether a particular order is suspicious. The size of an order alone,

regardless of whether it deviates from a normal pattern, is enough to trigger the wholesale

distributor's responsibility to report the order as suspicious. The determination of whether an

order is suspicious depends not only on the ordering patterns of the particular customer but

also on the patterns of the entirety of the wholesale distributor's customer base and the

patterns throughout the relevant segment of the wholesale distributor industry.

       147.    In addition to reporting all suspicious orders, distributors must also stop shipment

on any order which is flagged as suspicious and only ship orders which were flagged as

potentially suspicious if, after conducting due diligence, the distributor can determine that the

order is not likely to be diverted into illegal channels. See Southwood Pharm., Inc., 72 Fed. Reg.


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36,487, 36,501 (Drug Enf't Admin. July 3, 2007); Masters Pharmaceutical, Inc. v. Drug

Enforcement Administration, No. 15-11355 (D.C. Cir. June 30, 2017). Regardless, all flagged

orders must be reported. Id.

         148.    These prescription drugs are regulated for the purpose of providing a "closed"

system intended to reduce the widespread diversion of these drugs out of legitimate channels into

the illicit market, while at the same time providing the legitimate drug industry with a

unified approach to narcotic and dangerous drug control. 74

         149.    Different entities supervise the discrete links in the chain that separate a consumer

from a controlled substance. Statutes and regulations define each participant's role and

responsibilities. 75

         150.    As the DEA advised the Distributor Defendants in a letter to them dated

September 27, 2006, wholesale distributors are "one of the key components of the

distribution chain. If the closed system is to function properly, distributors must be vigilant

in deciding whether a prospective customer can be trusted to deliver controlled substances

only for lawful purposes. This responsibility is critical, as the illegal distribution of controlled


74
     See 1970 U.S.C.C.A.N. 4566, 4571-72.
75
   Brief for Healthcare Distribution Management Association and National Association of
Chain Drug Stores as Amici Curiae in Support of Neither Party, Masters Pharm., Inc. v. U.S.
Drug Enf’t Admin. (No. 15-1335) (D.C. Cir. Apr. 4, 2016), 2016 WL 1321983, at *22
[hereinafter Brief for HDMA and NACDS]. The Healthcare Distribution Management
Association (HDMA or HMA)-now known as the Healthcare Distribution Alliance (HDA)-is
a national, not-for-profit trade association that represents the nation's primary, full-service
healthcare distributors whose membership includes, among others: AmerisourceBergen Drug
Corporation, Cardinal Health, Inc., and McKesson Corporation. See generally HDA, About,
https://www.healthcaredistribution.org/about (last visited Aug. 21, 2017). The National
Association of Chain Drug Stores (NACDS) is a national, not-for-profit trade association that
represents traditional drug stores and supermarkets and mass merchants with pharmacies whose
membership includes, among others: Walgreen Company, CVS Health, Rite Aid Corporation
and Walmart. See generally NACDS, Mission, https://www.nacds.org/ about/mission/ (last
visited Aug. 21, 2017).

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substances has a substantial and detrimental effect on the health and general welfare of the

American people."76

           151.   The Distributor Defendants have admitted that they are responsible for reporting

suspicious orders. 77

           152.   The DEA sent a letter to each of the Distributor Defendants on September

27, 2006, warning that it would use its authority to revoke and suspend registrations

when appropriate. The letter expressly states that a distributor, in addition to reporting

suspicious orders, has a "statutory responsibility to exercise due diligence to avoid filling

suspicious orders that might be diverted into other than legitimate medical, scientific, and

industrial channels." 78 The letter also instructs that "distributors must be vigilant in deciding

whether a prospective customer can be trusted to deliver controlled substances only for lawful

purposes." 79 The DEA warns that "even just one distributor that uses its DEA registration to

facilitate diversion can cause enormous harm."

           153.   The DEA sent a second letter to each of the Distributor Defendants on December




76 See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of Diversion Control,
Drug. Enf't Admin., U.S. Dep't of Justice, to Cardinal Health (Sept. 27, 2006) [hereinafter
Rannazzisi Letter] ("This letter is being sent to every commercial entity in the United States
registered with the Drug Enforcement Agency (DEA) to distribute controlled substances. The
purpose of this letter is to reiterate the responsibilities of controlled substance distributors in
view of the prescription drug abuse problem our nation currently faces."), filed in Cardinal
Health, Inc. v. Holder, No. 1:12-cv-00185-RBW (D.D.C. Feb. 10, 2012), ECF No. 14-51.
77 See Brief for HDMA and NACDS, supra note 74, 2016 WL 1321983, at *4 ("[R]egulations . .
. in place for more than 40 years require distributors to report suspicious orders of controlled
substances to DEA based on information readily available to them (e.g., a pharmacy's placement
of unusually frequent or large orders).").
78
     Rannazzisi Letter, supra note 76, at 2.
79
     Id. at 1.

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27, 2007. 80 This letter reminds the Defendants of their statutory and regulatory duties to

"maintain effective controls against diversion" and "design and operate a system to disclose to

the registrant suspicious orders of controlled substances." 81 The letter further explains:

           The regulation also requires that the registrant inform the local DEA Division Office of

suspicious orders when discovered by the registrant. Filing a monthly report of completed

transactions (e.g., "excessive purchase report" or "high unity purchases") does not meet the

regulatory requirement to report suspicious orders. Registrants are reminded that their

responsibility does not end merely with the filing of a suspicious order report. Registrants must

conduct an independent analysis of suspicious orders prior to completing a sale to determine

whether the controlled substances are likely to be diverted from legitimate channels. Reporting

an order as suspicious will not absolve the registrant of responsibility if the registrant knew, or

should have known, that the controlled substances were being diverted.

           The regulation specifically states that suspicious orders include orders of unusual

size, orders deviating substantially from a normal pattern, and orders of an unusual frequency.

These criteria are disjunctive and are not all inclusive. For example, if an order deviates

substantially from a normal pattern, the size of the order does not matter and the order should

be reported as suspicious. Likewise, a registrant need not wait for a "normal pattern" to develop

over time before determining whether a particular order is suspicious. The size of an order

alone, whether or not it deviates from a normal pattern, is enough to trigger the registrant's

responsibility to report the order as suspicious. The determination of whether an order is


80
     Id. at 2.
81
  See Letter from Joseph T. Rannazzisi, Deputy Assistant Adm'r, Office of Diversion Control,
Drug. Enf't Admin., U.S. Dep't of Justice, to Cardinal Health (Dec. 27, 2007), filed in
Cardinal Health, Inc. v. Holder, No. 1:12-cv- 00185-RBW (D.D.C. Feb. 10, 2012), ECF No.
14-8.

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suspicious depends not only on the ordering patterns of the particular customer, but also on the

patterns of the registrant's customer base and the patterns throughout the segment of the

regulated industry.

       Registrants that rely on rigid formulas to define whether an order is suspicious may

be failing to detect suspicious orders. For example, a system that identifies orders as

suspicious only if the total amount of a controlled substance ordered during one month

exceeds the amount ordered the previous month by a certain percentage or more is

insufficient. This system fails to identify orders placed by a pharmacy if the pharmacy placed

unusually large orders from the beginning of its relationship with the distributor. Also, this

system would not identify orders as suspicious if the order were solely for one highly abused

controlled substance if the orders never grew substantially. Nevertheless, ordering one highly

abused controlled substance and little or nothing else deviates from the normal pattern of what

pharmacies generally order.

       When reporting an order as suspicious, registrants must be clear in their

communication with DEA that the registrant is actually characterizing an order as suspicious.

Daily, weekly, or monthly reports submitted by registrant indicating "excessive purchases" do

not comply with the requirement to report suspicious orders, even if the registrant calls such

reports "suspicious order reports."

       Lastly, registrants that routinely report suspicious orders, yet fill these orders without

first determining that order is not being diverted into other than legitimate medical, scientific,

and industrial channels, may be failing to maintain effective controls against diversion. Failure

to maintain effective controls against diversion is inconsistent with the public interest as that

term is used in 21 USC 823 and 824, and may result in the revocation of the registrant's DEA


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                               82
Certificate of Registration.

         Finally, the DEA letter references the Revocation of Registration issued in

Southwood Pharmaceuticals, Inc., 72 Fed. Reg. 36,487-01 (July 3, 2007), which discusses the

obligation to report suspicious orders and "some criteria to use when determining whether an

order is suspicious." 8384

         154.   The Distributor Defendants admit that they "have not only statutory and

regulatory responsibilities to detect and prevent diversion of controlled prescription drugs, but

undertake such efforts as responsible members of society." 8485

         155.   The Distributor Defendants knew they were required to monitor, detect, and halt

suspicious orders. Industry compliance guidelines established by the Healthcare Distribution

Management Association, the trade association of pharmaceutical distributors, explain that

distributors are "[a]t the center of a sophisticated supply chain" and therefore "are uniquely

situated to perform due diligence in order to help support the security of the controlled

substances they deliver to their customers." The guidelines set forth recommended steps in the

"due diligence" process, and note in particular: If an order meets or exceeds a distributor's

threshold, as defined in the distributor's monitoring system, or is otherwise characterized by the

distributor as an order of interest, the distributor should not ship to the customer, in fulfillment of

that order, any units of the specific drug code product as to which the order met or exceeded

a threshold or as to which the order was otherwise characterized as an order of interest. 85


82 Id.
83 Id.
84 See Brief of HDMA, supra note 16, 2012 WL 1637016, at *2.
85
  Healthcare Distribution Management Association (HDMA) Industry Compliance Guidelines:
Reporting Suspicious Orders and Preventing Diversion of Controlled Substances, filed in
Cardinal Health, Inc. v. Holder, No. 12-5061 (D.C. Cir. Mar. 7, 2012), Doc. No. 1362415
                                                  73
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       156.    Each of the Distributor Defendants sold prescription opioids, including

hydrocodone and/or oxycodone, to retailers from which Defendants knew prescription opioids

were likely to be diverted.

       157.    Each Distributor Defendant owes a duty to monitor and detect suspicious orders

of prescription opioids.

       158.    Each Distributor Defendant owes a duty under federal law to investigate and

refuse suspicious orders of prescription opioids.

       159.    Each Distributor Defendant owes a duty under federal law to report suspicious

orders of prescription opioids.

       160.    Each Distributor Defendant owes a duty under federal law to prevent the

diversion of prescription opioids into illicit markets throughout the United States.

       161.    The foreseeable harm resulting from a breach of these duties is the diversion

of prescription opioids for nonmedical purposes and subsequent plague of opioid addiction.

       162.    The foreseeable harm resulting from the diversion of prescription opioids for

nonmedical purposes is abuse, addiction, morbidity and mortality and the damages caused

thereby.

                       2.         The Distributor Defendants Breached their Duties.

       163.    Because distributors handle such large volumes of controlled substances, and

are the first major line of defense in the movement of legal pharmaceutical controlled substances

from legitimate channels into the illicit market, it is incumbent on distributors to maintain

effective controls to prevent diversion of controlled substances. Should a distributor deviate




(App'x B).

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from these checks and balances, the closed system collapses. 86

       164.    The sheer volume of prescription opioids distributed to pharmacies in various

areas, and/or to pharmacies from which the Distributor Defendants knew the opioids were likely

to be diverted, was excessive for the medical need of the community and facially suspicious.

Some red flags are so obvious that no one who engages in the legitimate distribution of

controlled substances can reasonably claim ignorance of them. 87

       165.    The Distributor Defendants failed to report "suspicious orders," or which the

Distributor Defendants knew were likely to be diverted, to the federal authorities, including

the DEA.

       166.    The Distributor Defendants unlawfully filled suspicious orders of unusual size,

orders deviating substantially from a normal pattern, and/or orders of unusual frequency, and/or

in areas from which the Distributor Defendants knew opioids were likely to be diverted.

       167.    The Distributor Defendants breached their duty to monitor, detect, investigate,

refuse and report suspicious orders of prescription opiates, and/or in areas from which the

Distributor Defendants knew opioids were likely to be diverted.

       168.    The Distributor Defendants breached their duty to maintain effective controls

against diversion of prescription opiates into other than legitimate medical, scientific, and

industrial channels.

       169.    The Distributor Defendants breached their duty to "design and operate a system

to disclose to the registrant suspicious orders of controlled substances" and failed to inform


86
  See Rannazzisi Decl. if 10, filed in Cardinal Health, Inc. v. Holder, No. 1:12-cv-00185-RBW
(D.D.C. Feb. 10, 2012), ECF No. 14-2.
87
  Masters Pharmaceuticals, Inc., 80 Fed. Reg. 55,418-01, 55,482 (Sept. 15, 2015) (citing
Holiday CVS, L.L.C., d/b/a CVS/Pharmacy Nos. 219 and 5195, 77 Fed. Reg. 62,316, 62,322
(2012)).

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the authorities including the DEA of suspicious orders when discovered, in violation of

their duties under federal law.

          170.   The Distributor Defendants breached their duty to exercise due diligence to avoid

filling suspicious orders that might be diverted into channels other than legitimate medical,

scientific and industrial channels. 88

          171.   The federal laws at issue here are public safety laws.

          172.   The Distributor Defendants' violations of public safety statutes constitute prima

facie evidence of negligence under State law.

          173.   The unlawful conduct by the Distributor Defendants is purposeful and

intentional. The Distributor Defendants refuse to abide by the duties imposed by federal law

which are required to legally acquire and maintain a license to distribute prescription opiates.

          174.   The Distributor Defendants acted with actual malice in breaching their duties, i.e.,

they have acted with a conscious disregard for the rights and safety of other persons, and said

actions have a great probability of causing substantial harm.

          175.   The Distributor Defendants' repeated shipments of suspicious orders, over an

extended period of time, in violation of public safety statutes, and without reporting the

suspicious orders to the relevant authorities demonstrates wanton, willful, or reckless conduct or

criminal indifference to civil obligations affecting the rights of others and justifies an award

of punitive damages.

                 3.     The Distributor Defendants Have Sought to Avoid and Have
                        Misrepresented their Compliance with their Legal Duties.

          176.   The Distributor Defendants have repeatedly misrepresented their compliance



88
     See Cardinal Health, Inc. v. Holder, 846 F. Supp. 2d 203, 206 (D.D.C. 2012).

                                                   76
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with their legal duties under federal law and have wrongfully and repeatedly disavowed those

duties in an effort to mislead regulators and the public regarding the Distributor Defendants'

compliance with their legal duties.

         177.   Distributor Defendants have refused to recognize any duty beyond reporting

suspicious orders. In Masters Pharmaceuticals, the HDMA, a trade association run the

Distributor Defendants, and the NACDS submitted amicus briefs regarding the legal duty

of wholesale distributors. Inaccurately denying the legal duties that the wholesale drug industry

has been tragically recalcitrant in performing, they argued as follows:

                 a. The Associations complained that the "DEA has required distributors not

                    only to report suspicious orders, but to investigate orders (e.g., by

                    interrogating pharmacies and physicians) and take action to halt

                    suspicious orders before they are filled." 89


                 b. The Associations argued that, "DEA now appears to have changed its

                    position to require that distributors not only report suspicious orders, but

                    investigate and halt suspicious orders. Such a change in agency position

                    must be accompanied by an acknowledgment of the change and a reasoned

                    explanation for it. In other words, an agency must display awareness that

                    it is changing position and show that there are good reasons for the

                    new policy. This is especially important here, because imposing intrusive

                    obligation on distributors threatens to disrupt patient access to needed




89
     Brief for HDMA and NACDS, supra note 75, 2016 WL 1321983, at *4-5.

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                         prescription medications." 90


                      c. The Associations alleged (inaccurately) that nothing "requires distributors

                         to investigate the legitimacy of orders, or to halt shipment of any orders

                         deemed to be suspicious." 91


                      d. The Association complained that the purported "practical infeasibility of

                         requiring distributors to investigate and halt suspicious orders (as well

                         as report them) underscores the importance of ensuring that DEA has

                         complied with the APA before attempting to impose such duties." 92


                      e. The Associations alleged (inaccurately) that "DEA's regulations [] sensibly

                         impose[] a duty on distributors simply to report suspicious orders, but

                         left it to DEA and its agents to investigate and halt suspicious orders." 93


                      f. Also inaccurately, the Associations argued that, "[i]mposing a duty on

                         distributors - which lack the patient information and the necessary medical

                         expertise - to investigate and halt orders may force distributors to take a

                         shot-in-the-dark approach to complying with DEA's demands." 94


          178.     The positions taken by the trade groups is emblematic of the position taken by

the Distributor Defendants in a futile attempt to deny their legal obligations to prevent


90
     Id. at *8 (citations and quotation marks omitted).
91
     Id. at *14.
92
     Id. at *22.
93
     Id. at *24-25.
94
     Id. at *26.

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diversion of the dangerous drugs. 95

        179.   The Court of Appeals for the District of Columbia recently issued its opinion

affirming that a wholesale drug distributor does, in fact, have duties beyond reporting.

Masters Pharm., Inc. v. Drug Enf’t Admin., 861 F.3d 206 (D.C. Cir. 2017). The D.C.

Circuit Court upheld the revocation of Master Pharmaceutical's license and determined that

DEA regulations require that in addition to reporting suspicious orders, distributors must

"decline to ship the order, or conduct some 'due diligence' and-if it is able to determine that

the order is not likely to be diverted into illegal channels-ship the order." Id. at 212. Master

Pharmaceutical was in violation of legal requirements because it failed to conduct necessary

investigations and filled suspicious orders. Id. at 218-19, 226. A distributor's investigation

must dispel all the red flags giving rise to suspicious circumstance prior to shipping a

suspicious order. Id. at 226. The Circuit Court also rejected the argument made by the HDMA

and NACDS (quoted above), that, allegedly, the DEA had created or imposed new duties. Id. at

220.

        180.   Wholesale Distributor McKesson has recently been forced to specifically admit

to breach of its duties to monitor, report, and prevent suspicious orders. Pursuant to an

Administrative Memorandum of Agreement ("2017 Agreement") entered into between

McKesson and the DEA in January 2017, McKesson admitted that, at various times during

the period from January 1, 2009 through the effective date of the Agreement (January 17,

2017) it "did not identify or report to [the] DEA certain orders placed by certain

pharmacies which should have been detected by McKesson as suspicious based on the


95
  See Brief of HDMA, supra note 16, 2012 WL 1637016, at *3 (arguing the wholesale
distributor industry "does not know the rules of the road because" they claim (inaccurately)
that the "DEA has not adequately explained them").

                                                79
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guidance contained in the DEA Letters." 9697 Further, the 2017 Agreement specifically finds that

McKesson "distributed controlled substances to pharmacies even though those McKesson

Distribution Centers should have known that the pharmacists practicing within those

pharmacies had failed to fulfill their corresponding responsibility to ensure that controlled

substances were dispensed pursuant to prescriptions issued for legitimate medical purposes by

practitioners acting in the usual course of their professional practice, as required by 21 C.F.R

§ 1306.04(a)." 97 McKesson admitted that, during this time period, it "failed to maintain

effective controls against diversion of particular controlled substances into other than

legitimate medical, scientific and industrial channels by sales to certain of its customers in

violation of the CSA and the CSA's implementing regulations, 21 C.F.R. Part 1300 et seq., at

the McKesson Distribution Centers."

            181.   The 2017 Memorandum of Agreement followed a 2008 Settlement Agreement

in which McKesson also admitted failure to report suspicious orders of controlled substances to

the DEA. 98 In the 2008 Settlement Agreement, McKesson "recognized that it had a duty to

monitor its sales of all controlled substances and report suspicious orders to DEA," but had failed

to do so.100 The 2017 Memorandum of Agreement documents that McKesson continued to breach

its admitted duties by "fail[ing] to properly monitor its sales of controlled substances and/or report

suspicious orders to DEA, in accordance with McKesson's obligations." 99 As a result of these




96
   See Administrative Memorandum of Agreement between the U.S. Dep't of Justice, the Drug
Enf't Admin., and the McKesson Corp. (Jan. 17, 2017), https://www.justice.gov/opa/press-
release/file/928476/download.
97
     Id. at 4.
98
     Id. at 4.
99
     Id.

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violations, McKesson was fined and required to pay to the United States $150,000,000. 100

          182.   Even though McKesson had been sanctioned in 2008 for failure to comply with

its legal obligations regarding controlling diversion and reporting suspicious orders, and

even though McKesson had specifically agreed in 2008 that it would no longer violate those

obligations, McKesson continued to violate the laws in contrast to its written agreement not to

do so.

          183.   Because of the Distributor Defendants' refusal to abide by their legal obligations,

the DEA has repeatedly taken administrative action to attempt to force compliance. For example,

in May 2014, the United States Department of Justice, Office of the Inspector General, Evaluation

and Inspections Divisions, reported that the DEA issued final decisions in 178 registrant actions

between 2008 and 2012. 101 The Office of Administrative Law Judges issued a recommended

decision in a total of 117 registrant actions before the DEA issued its final decision, including

76 actions involving orders to show cause and 41 actions involving immediate suspension

orders. 102 These actions include the following:

                  a. On April 24, 2007, the DEA issued an Order to Show Cause and

                      Immediate Suspension Order against the AmerisourceBergen Orlando,

                      Florida distribution center ("Orlando Facility") alleging failure to maintain


100
   Id.; see also Settlement Agreement and Release between the U.S. and McKesson Corp., at 5
(Jan. 17, 2017) [hereinafter 2017 Settlement Agreement and Release] ("McKesson acknowledges
that, at various times during the Covered Time Period [2009-2017], it did not identify or report to
DEA certain orders placed by certain pharmacies, which should have been detected by
McKesson as suspicious, in a manner fully consistent with the requirements set forth in the 2008
MOA."), https://www.justice.gov/opa/press-release/file/928471/download.
101
      See 2017 Settlement Agreement and Release, supra note 113, at 6.
102
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep't of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.

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           effective controls against diversion of controlled substances. On June 22,

           2007, AmerisourceBergen entered into a settlement that resulted in the

           suspension of its DEA registration;


        b. On November 28, 2007, the DEA issued an Order to Show Cause and

           Immediate Suspension Order against the Cardinal Health Auburn,

           Washington Distribution Center ("Auburn Facility") for failure to maintain

           effective controls against diversion of hydrocodone;


        c. On December 5, 2007, the DEA issued an Order to Show Cause and

           Immediate Suspension Order against the Cardinal Health Lakeland, Florida

           Distribution Center ("Lakeland Facility") for failure to maintain effective

           controls against diversion of hydrocodone;


        d. On December 7, 2007, the DEA issued an Order to Show Cause and

           Immediate Suspension Order against the Cardinal Health Swedesboro, New

           Jersey Distribution Center ("Swedesboro Facility") for failure to maintain

           effective controls against diversion of hydrocodone;


        e. On January 30, 2008, the DEA issued an Order to Show Cause and

           Immediate Suspension Order against the Cardinal Health Stafford, Texas

           Distribution Center ("Stafford Facility") for failure to maintain effective

           controls against diversion of hydrocodone;


        f. On May 2, 2008, McKesson Corporation entered into an Administrative

           Memorandum of Agreement ("2008 MOA") with the DEA which provided


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           that McKesson would "maintain a compliance program designed to detect

           and prevent the diversion of controlled substances, inform DEA of

           suspicious orders required by 21 C.F.R. § 1301.74(b), and follow the

           procedures established by its Controlled Substance Monitoring Program";


        g. On September 30, 2008, Cardinal Health entered into a Settlement and

           Release Agreement and Administrative Memorandum of Agreement with

           the DEA related to its Auburn Facility, Lakeland Facility, Swedesboro

           Facility and Stafford Facility. The document also referenced allegations by

           the DEA that Cardinal failed to maintain effective controls against the

           diversion of controlled substances at its distribution facilities located in

           McDonough, Georgia


        h. ("McDonough Facility"), Valencia, California ("Valencia Facility") and

           Denver, Colorado ("Denver Facility");


        i. On February 2, 2012, the DEA issued an Order to Show Cause and

           Immediate Suspension Order against the Cardinal Health Lakeland, Florida

           Distribution Center ("Lakeland Facility") for failure to maintain effective

           controls against diversion of oxycodone;


        j. On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to

           the DEA to resolve the civil penalty portion of the administrative action

           taken against its Lakeland, Florida Distribution Center; and


        k. On January 5, 2017, McKesson Corporation entered into an Administrative


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                  Memorandum Agreement with the DEA wherein it agreed to pay a $150

                  million civil penalty for violation of the 2008 MOA as well as failure to

                  identify and report suspicious orders at its facilities in Aurora CO, Aurora IL,

                  Delran NJ, LaCrosse WI, Lakeland FL, Landover MD, La Vista NE, Livonia

                  MI, Methuen MA, Sante Fe Springs CA, Washington Courthouse OH and

                  West Sacramento CA.


               l. Rather than abide by their non-delegable duties under public safety laws, the

                  Distributor Defendants, individually and collectively through trade groups in

                  the industry, pressured the U.S. Department of Justice to "halt" prosecutions

                  and lobbied Congress to strip the DEA of its ability to immediately suspend

                  distributor registrations. The result was a "sharp drop in enforcement

                  actions" and the passage of the "Ensuring Patient Access and Effective Drug

                  Enforcement Act" which, ironically, raised the burden for the DEA to

                  revoke a distributor's license from "imminent harm" to "immediate harm"

                  and provided the industry the right to "cure" any violations of law before a

                  suspension order can be issued. 103



103
    See Lenny Bernstein & Scott Higham, Investigation: The DEA Slowed Enforcement While
the Opioid Epidemic Grew Out of Control, Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/the-dea-slowed-enforcement-while-the-opioid-
epidemic- grew-out-of-control/2016/10/22/aea2bf8e-7f71-11e6-8d13- d7c704ef9fd9_story.html;
Lenny Bernstein & Scott Higham, Investigation: U.S. Senator Calls for Investigation of DEA
Enforcement Slowdown Amid Opioid Crisis, Wash. Post, Mar. 6, 2017,
https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-of-dea-
enforcement-slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-a05d3c21f7cf_story.html; Eric
Eyre, DEA Agent: “We Had No Leadership” in W Amid Flood of Pain Pills, Charleston Gazette-
Mail, Feb. 18, 2017, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-
leadership-in-wv-amid-flood-of-pain-pills-.

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        184.    In addition to taking actions to limit regulatory prosecutions and suspensions,

the Distributor Defendants undertook to fraudulently convince the public that they were

complying with their legal obligations, including those imposed by licensing regulations.

Through such statements, the Distributor Defendants attempted to assure the public they were

working to curb the opioid epidemic.

        185.    For example, a Cardinal Health executive claimed that it uses "advanced

analytics" to monitor its supply chain, and represented that it was being "as effective and

efficient as possible in constantly monitoring, identifying, and eliminating any outside criminal

activity." 104 Given the sales volumes and the company's history of violations, this executive was

either not telling the truth, or, if Cardinal Health had such a system, it ignored the results.

        186.    Similarly, Defendant McKesson publicly stated that it has a "best-in-class

controlled substance monitoring program to help identify suspicious orders," and claimed it is

"deeply passionate about curbing the opioid epidemic in our country." 105 Again, given

McKesson's historical conduct, this statement is either false, or the company ignored outputs of

the monitoring program.

        187.    By misleading the public about the effectiveness of their controlled substance

monitoring programs, the Distributor Defendants successfully concealed the facts sufficient

to arouse suspicion of the claims that the Plaintiffs now assert.


104
    Lenny Bernstein et al., How Drugs Intended for Patients Ended Up in the Hands of Illegal
Users: “No One Was Doing Their Job,” Wash. Post, Oct. 22, 2016,
https://www.washingtonpost.com/investigations/how-drugs-intended-for-patients-ended-up-in-the-
hands-of-illegal-users-no-one-was-doing-their-job/2016/10/22/10e79396-30a7-11e6- 8ff7-
7b6c1998b7a0_story.html.
105
   Scott Higham et al., Drug Industry Hired Dozens of Officials from the DEA as the Agency
Tried to Curb Opioid Abuse, Wash. Post, Dec. 22, 2016,
https://www.washingtonpost.com/investigations/key-officials- switch-sides-from-dea-to-
pharmaceutical-industry/2016/12/22/55d2e938-c07b-11e6-b527- 949c5893595e_story.html.

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       188.    Meanwhile, the opioid epidemic rages unabated in the United States. The

epidemic still rages because the fines and suspensions imposed by the DEA do not change the

conduct of the industry. The distributors, including the Distributor Defendants, pay fines as a

cost of doing business in an industry that generates billions of dollars in annual revenue.

They hold multiple DEA registration numbers and when one facility is suspended, they simply

ship from another facility.

       189.    The wrongful actions and omissions of the Distributor Defendants which have

caused the diversion of opioids and which have been a substantial contributing factor to

and/or proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs' racketeering

allegations below.

       190.    The Distributor Defendants have abandoned their duties imposed under federal

law, taken advantage of a lack of DEA law enforcement, and abused the privilege of distributing

controlled substances.

THE MANUFACTURER DEFENDANTS' UNLAWFUL FAILURE TO PREVENT
DIVERSION AND MONITOR, REPORT, AND PREVENT SUSPICIOUS ORDERS.

       191.    The same legal duties to prevent diversion, and to monitor, report, and prevent

suspicious orders of prescription opioids that were incumbent upon the Distributor

Defendants were also legally required of the Manufacturer Defendants under federal law.

       192.    Like the Distributor Defendants, the Manufacturer Defendants were required to

register with the DEA to manufacture schedule II controlled substances, like prescription

opioids. See 21 U.S.C. § 823(a). A requirement of such registration is the: maintenance of

effective controls against diversion of particular controlled substances and any controlled

substance in schedule I or II compounded therefrom into other than legitimate medical,

scientific, research, or industrial channels, by limiting the importation and bulk manufacture of

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such controlled substances to a number of establishments which can produce an adequate

and uninterrupted supply of these substances under adequately competitive conditions for

legitimate medical, scientific, research, and industrial purposes 21 USCA § 823(a)(1) (emphasis

added).

          193.   Additionally, as "registrants" under Section 823, the Manufacturer Defendants

were also required to monitor, report, and prevent suspicious orders of controlled substances:

          194.   The registrant shall design and operate a system to disclose to the registrant

suspicious orders of controlled substances. The registrant shall inform the Field Division

Office of the Administration in his area of suspicious orders when discovered by the

registrant. Suspicious orders include orders of unusual size, orders deviating substantially

from a normal pattern, and orders of unusual frequency. 21 C.F.R. § 1301.74. See also 21

C.F.R. § 1301.02 ("Any term used in this part shall have the definition set forth in section 102

of the Act (21 U.S.C. 802) or part 1300 of this chapter."); 21 C.F.R. § 1300.01 ("Registrant

means any person who is registered pursuant to either section 303 or section 1008 of the Act

(21 U.S.C. 823 or 958)." Like the Distributor Defendants, the Manufacture Defendants breached

these duties.

          195.   The Manufacturer Defendants had access to and possession of the information

necessary to monitor, report, and prevent suspicious orders and to prevent diversion. The

Manufacturer Defendants engaged in the practice of paying "chargebacks" to opioid distributors.

A chargeback is a payment made by a manufacturer to a distributor after the distributor sells the

manufacturer's product at a price below a specified rate. After a distributor sells a manufacturer's

product to a pharmacy, for example, the distributor requests a chargeback from the

manufacturer and, in exchange for the payment, the distributor identifies to the manufacturer


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the product, volume and the pharmacy to which it sold the product. Thus, the Manufacturer

Defendants knew - just as the Distributor Defendants knew - the volume, frequency, and pattern

of opioid orders being placed and filled. The Manufacturer Defendants built receipt of this

information into the payment structure for the opioids provided to the opioid distributors.

            196.   Federal statutes and regulations are clear: just like opioid distributors, opioid

manufacturers are required to "design and operate a system to disclose suspicious orders of

controlled substances" and to maintain "effective controls against diversion." 21 C.F.R. § 1301.74;

21 USCA § 823(a)(1).

            197.   The Department of Justice has recently confirmed the suspicious order obligations

clearly imposed by federal law upon opioid manufacturers, fining Mallinckrodt $35 million for

failure to report suspicious orders of controlled substances, including opioids, and for

violating recordkeeping requirements. 106

            198.   In the press release accompanying the settlement, the Department of Justice

stated: Mallinckrodt did not meet its obligations to detect and notify DEA of suspicious orders

of controlled substances such as oxycodone, the abuse of which is part of the current opioid

epidemic. These suspicious order monitoring requirements exist to prevent excessive sales of

controlled substances, like oxycodone Mallinckrodt's actions and omissions formed a link in

the chain of supply that resulted in millions of oxycodone pills being sold on the street.

"Manufacturers and distributors have a crucial responsibility to ensure that controlled

substances do not get into the wrong hands. . . ." 107


106
   See Press Release, U.S. Dep't of Justice, Mallinckrodt Agrees to Pay Record $35 Million
Settlement for Failure to Report Suspicious Orders of Pharmaceutical Drugs and for
Recordkeeping Violations (July 11, 2017), https://www.justice.gov/opa/pr/mallinckrodt-
agrees-pay-record-35-million-settlement- failure-report-suspicious- orders.
107
      Id.

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            199.   Among the allegations resolved by the settlement, the government alleged

"Mallinckrodt failed to design and implement an effective system to detect and report

'suspicious orders' for controlled substances - orders that are unusual in their frequency, size, or

other patterns . . . [and] Mallinckrodt supplied distributors, and the distributors then

supplied various U.S. pharmacies and pain clinics, an increasingly excessive quantity of

oxycodone pills without notifying DEA of these suspicious orders." 108

            200.   The Memorandum of Agreement entered into by Mallinckrodt ("2017

Mallinckrodt MOA") avers "[a]s a registrant under the CSA, Mallinckrodt had a responsibility to

maintain effective controls against diversion, including a requirement that it review and monitor

these sales and report suspicious orders to DEA." 109

            201.   The 2017 Mallinckrodt MOA further details the DEA's allegations regarding

Mallinckrodt's failures to fulfill its legal duties as an opioid manufacturer:

                    a. With respect to its distribution of oxycodone and hydrocodone products,

                       Mallinckrodt's alleged failure to distribute these controlled substances in a

                       manner authorized by its registration and Mallinckrodt's alleged failure

                       to operate an effective suspicious order monitoring system and to report

                       suspicious orders to the DEA when discovered as required by and in

                       violation of 21 C,F.R. § 1301.74(b). The above includes, but is not

                       limited to Mallinckrodt's alleged failure to:




108
      Id.
109
    Administrative Memorandum of Agreement between the United States Department of
Justice, the Drug Enforcement Agency, and Mallinckrodt, plc. and its subsidiary
Mallinckrodt, LLC (July 10, 2017), https://www.justice.gov/usao-edmi/press-
release/file/986026/download. ("2017 Mallinckrodt MOA").

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        a. conduct adequate due diligence of its customers;


        b. detect and report to the DEA orders of unusual size and frequency;


        c. detect and report to the DEA orders deviating substantially from normal

           patterns including, but not limited to, those identified in letters from the

           DEA Deputy Assistant Administrator, Office of Diversion Control, to

           registrants dated September 27, 2006 and December 27, 2007:


        d. orders that resulted in a disproportionate amount of a substance which is

           most often abused going to a particular geographic region where there was

           known diversion,


        e. orders that purchased a disproportionate amount of substance which is

           most often abused compared to other products, and


        f. orders from downstream customers to distributors who were purchasing

           from multiple different distributors, of which Mallickrodt was aware;


        g. use "chargeback" information from its distributors to evaluate suspicious

           orders. Chargebacks include downstream purchasing information tied to

           certain discounts, providing Mallinckrodt with data on buying patterns for

           Mallinckrodt products; and


        h. take sufficient action to prevent recurrence of diversion by downstream

           customers after receiving concrete information of diversion of Mallinckrodt




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                        product by those downstream customers. 110


           202.     Mallinckrodt agreed that its "system to monitor and detect suspicious orders did

not meet the standards outlined in letters from the DEA Deputy Administrator, Office of Diversion

Control, to registrants dated September 27, 2006 and December 27, 2007." Mallinckrodt

further agreed that it "recognizes the importance of the prevention of diversion of the controlled

substances they manufacture" and would "design and operate a system that meets the requirements

of 21 CFR 1301.74(b) . . . [such that it would] utilize all available transaction information to

identify suspicious orders of any Mallinckrodt product. Further, Mallinckrodt agrees to notify

DEA of any diversion and/or suspicious circumstances involving any Mallinckrodt

controlled substances that Mallinckrodt discovers." 111

           203.     Mallinckrodt acknowledged that "[a]s part of their business model Mallinckrodt

collects transaction information, referred to as chargeback data, from their direct customers

(distributors). The transaction information contains data relating to the direct customer sales of

controlled substances to "downstream" registrants." Mallinckrodt agreed that, from this data,

it would "report to the DEA when Mallinckrodt concludes that the chargeback data or other

information indicates that a downstream registrant poses a risk of diversion." 112114

           204.     The same duties imposed by federal law on Mallinckrodt were imposed upon

all Distributor Defendants.

           205.     The same business practices utilized by Mallinckrodt regarding "charge backs"

and receipt and review of data from opioid distributors regarding orders of opioids were utilized


110
      2017 Mallinckrodt MOA at p. 2-3.
111
      Id. at 3-4.
112
      Id. at p.5.

                                                    91
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industry-wide among opioid manufacturers and distributors, including, upon information and

belief, the other Distributor Defendants.

       206.    Through, inter alia, the charge back data, the Manufacturer Defendants could

monitor suspicious orders of opioids.

       207.    The Manufacturer Defendants failed to monitor, report, and halt suspicious orders

of opioids as required by federal law.

       208.    The Manufacturer Defendants' failures to monitor, report, and halt suspicious

orders of opioids were intentional and unlawful.

       209.    The Manufacturer Defendants have misrepresented their compliance with

federal law.

       210.    The wrongful actions and omissions of the Manufacturer Defendants which

have caused the diversion of opioids and which have been a substantial contributing factor

to and/or proximate cause of the opioid crisis are alleged in greater detail in Plaintiffs'

racketeering allegations below.

       211.    The Manufacturer Defendants' actions and omissions in failing to effective

prevent diversion and failing to monitor, report, and prevent suspicious orders have enabled

the unlawful diversion of opioids throughout the United States.

DEFENDANTS' UNLAWFUL CONDUCT AND BREACHES OF LEGAL DUTIES
CAUSED THE HARM ALLEGED HEREIN AND SUBSTANTIAL DAMAGES.

       212.    As the Manufacturer Defendants' efforts to expand the market for opioids

increased so have the rates of prescription and sale of their products - and the rates of

opioid- related substance abuse, hospitalization, and death among the people of the

United States. The Distributor Defendants have continued to unlawfully ship these

massive quantities of opioids.

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          213.    There is a "parallel relationship between the availability of prescription opioid

analgesics through legitimate pharmacy channels and the diversion and abuse of these drugs and

          214.    associated adverse outcomes." 113

          215.    Opioid analgesics are widely diverted and improperly used, and the widespread

use of the drugs has resulted in a national epidemic of opioid overdose deaths and addictions. 114

          216.    The epidemic is "directly related to the increasingly widespread misuse of

powerful opioid pain medications." 115

          217.    The increased abuse of prescription painkillers along with growing sales has

contributed to a large number of overdoses and deaths. 116

          218.    As shown above, the opioid epidemic has escalated with devastating effects:

substantial opiate-related substance abuse, hospitalization and death that mirrors Defendants'

increased distribution of opioids.

          219.    Because of the well-established relationship between the use of prescription

opioids and the use of non-prescription opioids, like heroin, the massive distribution of opioids

by Defendants has caused the Defendant-caused opioid epidemic to include heroin addiction,

abuse, and death.

          220.    Defendants repeatedly and purposefully breached their duties under federal

law, and such breaches are direct and proximate causes of, and/or substantial factors leading

to, the widespread diversion of prescription opioids for nonmedical purposes.



113
      See Dart et al., supra note 8.
114
      See Volkow & McLellan, supra note 1.
115
      See Califf et al., supra note 2.
116
   See Press Release, Ctrs. for Disease Control and Prevention, U.S. Dep't of Health and Human
Servs., supra note 1 1 .

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       221.    The unlawful diversion of prescription opioids is a direct and proximate cause

of, and/or substantial factor leading to, the opioid epidemic, prescription opioid abuse, addiction,

morbidity and mortality in the United States. This diversion and the epidemic are direct causes of

foreseeable harms to the Plaintiffs and the members of the proposed Class.

       222.    Defendants' unlawful conduct resulted in direct and foreseeable, past and

continuing, economic damages for which Plaintiffs seek relief, as alleged herein, on behalf of

themselves and the members of the proposed Class.

V. FACTS PERTAINING TO THE NAMED PLAINTIFFS AND CLASS MEMBERS

       223.    Plaintiff and the Class members have treated, and continue to treat, patients for

opioid-related conditions. These conditions include, without limitation: (1) opioid overdose; (2)

opioid addiction; (3) psychiatric and related conditions suffered by opioid users who are

committed to mental health treatment programs; and (4) family-related trauma suffered by

victims of opioid addiction and overdose.

       224.    Collectively, the patients described above will be referred to herein as "patients

with opioid conditions." These patients' opioid conditions are the direct and proximate result of

the opioid epidemic created and engineered by Defendants.

       225.    Plaintiff and the Class members each have a “Statement of Charges” that reflects

their universal price list for services. The Statement of Charges is a universal and comprehensive

listing of items billable to the patient and/or the patient’s insurance provider.

       226.    The prices listed on the Statement of Charges represent the full charges assessed

by Plaintiff and the Class members for the services provided. These charges are only partially

reimbursed by health insurers and benefit providers. Plaintiff and the Class members have

managed care contracts with health insurers whereby they accept payment from the health


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insurers at a lower rate on behalf of insured or covered patients, and with respect to government

benefit providers Plaintiff and the Class members are subject to scheduled rates that require that

they accept a lesser amount than the price on the Statement of Charges. The difference between

the full charges and the lower, contractual adjustment or scheduled rate is lost to Plaintiff and the

Class members.

          227.   Plaintiff and the Class members bill their full charges to uninsured patients.

Typically, where there is no health insurance coverage or available government benefits, these

charges are not reimbursed and are lost to treatment centers.

          228.   Plaintiff and the Class members incur partial monetary losses for patients with

health insurance, and total monetary losses for uninsured patients, in the treatment of patients

with opioid conditions. These patients would not have presented to Plaintiffs and the Class

members, and would not have had opioid conditions, but for the opioid epidemic created and

engineered by Defendants. Accordingly, Plaintiff's and the Class members' aforesaid monetary

losses are the direct and proximate result of Defendants' acts and omissions previously specified

herein.

          229.   Because opioids are very dangerous and highly addictive drugs, it was foreseeable

to Defendants that the opioid epidemic would result in a corresponding epidemic of patients with

opioid conditions at hospitals. It was also foreseeable to Defendants that Plaintiff and the Class

members would suffer the aforesaid monetary losses because of the opioid epidemic, since

hospitals typically are not reimbursed for their treatment of uninsured patients and receive only

partial reimbursement for their treatment of patients with health insurance.

VI.   CLASS ACTION ALLEGATIONS

          230.   This action is brought as a plaintiff’s class action pursuant to Federal Rule of


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Civil Procedure 23(b)(3). Plaintiff brings this action on its own behalf, and on behalf of all

others similarly situated, as representatives of the following Class:

       All treatment facilities in the United States which treated patients with opioid conditions.

       "Patients with opioid conditions" are defined as patients with opioid overdose; patients

with opioid addiction; and opioid users committed to mental health treatment programs.

       231.    The members of the Class are readily identifiable from public records.

       232.    Upon information and belief, the Class consists of thousands of members, and is

therefore so numerous that individual joinder of all members is impracticable. The members of

the Class are geographically dispersed throughout the United States.

       233.    There are questions of law and fact common to the Class, which predominate

over any questions affecting only individual members of the Class. The wrongs suffered, and

remedies sought by Plaintiffs and the other members of the Class are premised upon a uniform

unlawful scheme perpetuated by Defendants. The sole question affecting only individual members

of the Class is the exact monetary recovery to which each Class member is entitled. Plaintiff’s

and the Class members' use of uniform billing codes for patients with opioid conditions will render

this determination a simple mechanical one. Questions common to the Class include, but are not

limited to, the following:

                a. Did the Manufacturer Defendants use false and deceptive statements and

                    omissions to market opioids?


                b. Did the Manufacturer Defendants market opioids by misrepresenting the

                    risks and benefits of opioids?


                c. Did the Manufacturer Defendants and the Distributor Defendants fail to

                    monitor, detect, investigate, refuse to fill, and report suspicious orders of
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           prescription opioids?


        d. Did the Manufacturer Defendants and the Distributor Defendants fail to

           monitor, detect, investigate, refuse to fill, and report orders of prescription

           opioids which they knew or should have known were likely to be diverted

           for nonmedical purposes?


        e. Did the Defendants conduct the affairs of an enterprise through a pattern

           of racketeering activity?


        f. Did the Defendants conspire to conduct the affairs of an enterprise through

           a pattern of racketeering activity?


        g. Did the Manufacturer Defendants negligently manufacture, market, and sell

           opioids?


        h. Did the Distributor Defendants negligently sell and distribute opioids?


        i. Did the Manufacturer Defendants wantonly, recklessly, or with gross

           negligence manufacture, market, and sell opioids?


        j. Did the Distributor Defendants wantonly, recklessly, or with gross

           negligence sell and distribute opioids?


        k. Did the Defendants committee common-law fraud by making false

           representations of material fact and by concealing material facts about

           opioids?


        l. Were Plaintiff and the Class members monetarily damaged as a direct and
                                        97
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                    proximate result of the Defendants' acts and omissions?


       234.    Plaintiff’s claims are typical of those of the Class, and are based on the same

legal theories as those of the Class members. Plaintiff’s claims and those of the Class members

all arise from the same pattern or practice by the Defendants, set out above.

       235.    Plaintiff will fairly and adequately protect the interests of the members of the

Class. Plaintiff has retained counsel who are highly experienced and competent in complex

consumer class-action litigation, and Plaintiff and its counsel intend to prosecute this action

vigorously. Neither Plaintiff nor its counsel have any interests that might cause them not to

vigorously pursue this action. Plaintiff’s interests are coextensive with those of the Class, and

Plaintiff has no interests adverse to those of the Class members.

       236.    Plaintiff has made arrangements with its counsel for the discharge of its

financial responsibilities to the Class. Plaintiff’s counsel has the necessary financial resources to

adequately and vigorously litigate this class action.

       237.    A class action is superior to all other available means for the fair and efficient

adjudication of this controversy. It is desirable to concentrate the litigation of the claims in this

forum, because the damages suffered by the individual Class members are relatively small

compared to the burden and expense that would be entailed by individual litigation of their claims

against Defendants. Moreover, the individual Class members are unlikely to be aware of their

rights. Thus, it is unlikely that the Class members, on an individual basis, can obtain effective

redress for the wrongs done to them. Additionally, the court system would be adversely affected

by such individualized litigation. Individualized litigation would create the danger of inconsistent

or contradictory judgments arising from the same set of facts. Individualized litigation would also

increase delay and expense to all parties and the court system from the issues raised by this action.

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In contrast, the class-action device provides the benefit of adjudication of these issues in a single

proceeding, with economies of scale and comprehensive supervision by a single court.

        238.   Plaintiff and its counsel are aware of no litigation concerning the controversy

already begun by or against Class members. This also indicates that the Class members' interest

in individually controlling the prosecution of separate actions is minimal.

VII.    CAUSES OF ACTION

                             COUNT I
RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18 U.S.C. 1961,
                               et seq.
                      (Against All Defendants)

        239.   Plaintiff realleges and incorporates by reference all preceding paragraphs, and

alleges as follows on behalf of itself and the proposed Class:

        240.   Plaintiff brings this Count against the following Defendants, as defined above:

Purdue, Cephalon, Janssen, Endo, Mallinckrodt, Actavis, McKesson, Cardinal, and

AmerisourceBergen (collectively, for purposes of this Count, the "RICO Defendants").

        241.   The RICO Defendants conducted and continue to conduct their business through

legitimate and illegitimate means in the form of an association-in-fact enterprise and/or a legal

entity enterprise. At all relevant times, the RICO Defendants were "persons" under 18

        242.   U.S.C. § 1961(3) because they are entities capable of holding, and do hold, "a

legal or beneficial interest in property."

        243.   Section 1962(c) of RICO makes it unlawful "for any person employed by

or associated with any enterprise engaged in, or the activities of which affect, interstate or foreign

commerce, to conduct or participate, directly or indirectly, in the conduct of such enterprise's

affairs through a pattern of racketeering activity or collection of unlawful debt." 18 U.S.C. §

1962(c); United State v. Turkette, 452 U.S. 576, 580 (1981).

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       244.    The term "enterprise" is defined as including "any individual, partnership,

corporation, association, or other legal entity, and any union or group of individuals associated in

fact although not a legal entity." 18 U.S.C. § 1961(4); Turkette, 452 U.S. at 580; Boyle v.

U.S., 556 U.S. 938, 944 (2009). The definition of "enterprise" in Section 1961(4) includes

legitimate and illegitimate enterprises within its scope. Specifically, the section "describes

two separate categories of associations that come within the purview of an 'enterprise' --

the first encompassing organizations such as corporations, partnerships, and other 'legal

entities,' and the second covering 'any union or group of individuals associated in fact

although not a legal entity.'" Turkette, 452 U.S. at 577. The second category is not a more

generalized description of the first. Id.

       245.    For over a decade, the RICO Defendants aggressively sought to bolster their

revenue, increase profit, and grow their share of the prescription painkiller market by unlawfully

and surreptitiously increasing the volume of opioids they sold. However, the RICO Defendants

are not permitted to engage in a limitless expansion of their market through the unlawful sales of

regulated painkillers. As "registrants," the RICO Defendants operated and continue to operate

within the "closed-system" created under the Controlled Substances Act, 21 U.S.C. § 821, et seq.

(the "CSA"). The CSA restricts the RICO Defendants' ability to manufacture or distribute

Schedule II substances like opioids by requiring them to: (1) register to manufacture or

distribute opioids; (2) maintain effective controls against diversion of the controlled

substances that they manufacturer or distribute; (3) design and operate a system to identify

suspicious orders of controlled substances, halt such unlawful sales, and report them to the

DEA; and (4) make sales within a limited quota set by the DEA for the overall production of

Schedule II substances like opioids.


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          246.   The closed-system created by the CSA, including the establishment of quotas,

was specifically intended to reduce or eliminate the diversion of Schedule II substances like

opioids from "legitimate channels of trade" to the illicit market by controlling the quantities of

the basic ingredients needed for the manufacture of [controlled substances]." 117

          247.   Finding it impossible to legally achieve their ever increasing sales ambitions,

members of the Opioid Diversion Enterprise (as defined below) systematically and

fraudulently violated their statutory duty to maintain effective controls against diversion of

their drugs, to design and operate a system to identify suspicious orders of their drugs, to halt

unlawful sales of suspicious orders, and to notify the DEA of suspicious orders. 118 As

discussed in detail below, through the RICO Defendants' scheme, members of the Opioid

Diversion Enterprise repeatedly engaged in unlawful sales of painkillers which, in turn,

artificially and illegally increased the annual production quotas for opioids allowed by the

DEA. 119 In doing so, the RICO Defendants allowed hundreds of millions of pills to enter the

illicit market which allowed them to generate obscene profits.

          248.   Defendants' illegal scheme was hatched by an association-in-fact enterprise

between the Manufacturer Defendants and the Distributor Defendants, and executed in

perfect harmony by each of them. In particular, each of the RICO Defendants were associated

with, and conducted or participated in, the affairs of the RICO enterprise (defined below and

referred to collectively as the "Opioid Diversion Enterprise"), whose purpose was to engage in



117
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
118
      21 U.S.C. § 823(a)(1), (b)(1); 21 C.F.R. § 1301.74(b)-(c).
119
      21 C.F.R. § 1303.11(b); 21 C.F.R. § 1303.23.

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the unlawful sales of opioids, and deceive the public and federal and state regulators into

believing that the RICO Defendants were faithfully fulfilling their statutory obligations. The

RICO Defendants' scheme allowed them to make billions in unlawful sales of opioids and, in

turn, increase and/or maintain high production quotas with the purpose of ensuring unlawfully

increasing revenues, profits, and market share. As a direct result of the RICO Defendants'

fraudulent scheme, course of conduct, and pattern of racketeering activity, they were able to

extract billions of dollars of revenue from the addicted American public, while entities like

the Plaintiffs experienced tens of millions of dollars of injury caused by the reasonably

foreseeable consequences of the prescription opioid addiction epidemic. As explained in

detail below, the RICO Defendants' misconduct violated Section 1962(c) and Plaintiffs are

entitled to treble damages for their injuries under 18 U.S.C. § 1964(c).

        249.   Alternatively, the RICO Defendants were members of a legal entity enterprise

within the meaning of 18 U.S.C. § 1961(4), through which the RICO Defendants conducted their

pattern of racketeering activity in this jurisdiction and throughout the United States. Specifically,

the Healthcare Distribution Alliance (the "HDA") 120122 is a distinct legal entity that satisfies

the definition of a RICO enterprise. The HDA is a non-profit corporation formed under the

laws of the District of Columbia and doing business in Virginia. As a non-profit

corporation, HDA qualifies as an "enterprise" within the definition set out in 18 U.S.C. §

1961(4) because it is a corporation and a legal entity.

        250.   Each of the RICO Defendants is a member, participant, and/or sponsor of the

HDA and utilized the HDA to conduct the Opioid Diversion Enterprise and to engage in the



120
   Health Distribution Alliance, History, Health Distribution Alliance, (last accessed on
September 15, 2017), https://www.healthcaredistribution.org/about/hda-history.

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pattern of racketeering activity that gives rise to the Count.

          251.   Each of the RICO Defendants is a legal entity separate and distinct from

the HDA. And, the HDA serves the interests of distributors and manufacturers beyond the

RICO Defendants. Therefore, the HDA exists separately from the Opioid Diversion

Enterprise, and each of the RICO Defendants exists separately from the HDA. Therefore, the

HDA may serve as a RICO enterprise.

          252.   The legal and association-in-fact enterprises alleged in the previous and

subsequent paragraphs were each used by the RICO Defendants to conduct the Opioid Diversion

Enterprise by engaging in a pattern of racketeering activity. Therefore, the legal and association-

in-fact enterprises alleged in the previous and subsequent paragraphs are pleaded in the

alternative and are collectively referred to as the "Opioid Diversion Enterprise."

                           THE OPIOID DIVERSION ENTERPRISE

          253.   Recognizing that there is a need for greater scrutiny over controlled

substances due to their potential for abuse and danger to public health and safety, the United

States Congress enacted the Controlled Substances Act in 1970. 121 The CSA and its

implementing regulations created a closed-system of distribution for all controlled substances

and listed chemicals. 122 Congress specifically designed the closed chain of distribution to

prevent the diversion of legally produced controlled substances into the illicit market. 123 As

reflected in comments from United States Senators during deliberation on the CSA, the



121
  Joseph T. Rannazzisi Decl. if 4, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General,
D.D.C. Case No. 12- cv-185 (Document 14-2 February 10, 2012).
122
      See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566.
          123
          Gonzalez v. Raich, 545 U.S. 1, 12-14 (2005); 21 U.S.C. § 801(20; 21 U.S.C. §§
821-824, 827, 880; H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. 4566, 4572 (Sept. 10, 1970).

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"[CSA] is designed to crack down hard on the narcotics pusher and the illegal diverters of

pep pills and goofballs." 124 Congress was concerned with the diversion of drugs out of

legitimate channels of distribution when it enacted the CSA and acted to halt the "widespread

diversion of [controlled substances] out of legitimate channels into the illegal market." 125

Moreover, the closed-system was specifically designed to ensure that there are multiple ways

of identifying and preventing diversion through active participation by registrants within the

drug delivery chain. 126 All registrants -- manufacturers and distributors alike -- must adhere to

the specific security, recordkeeping, monitoring and reporting requirements that are designed

to identify or prevent diversion. 127 When registrants at any level fail to fulfill their

obligations, the necessary checks and balances collapse. 128 The result is the scourge of addiction

that has occurred.

          254.   In 2006 and 2007, the DEA issued multiple letters to the Distributor Defendants

reminding them of their obligation to maintain effective controls against diversion of particular

controlled substances, design and operate a system to disclose suspicious orders, and to

inform the DEA of any suspicious orders. 129 The DEA also published suggested questions that


124
   See H.R. Rep. No. 91-1444, 1970 U.S.C.C.A.N. at 4566; 116 Cong. Rec. 977-78 (Comments
of Sen. Dodd, Jan 23, 1970).
125 See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics
Control, United State Senate, May 5,       2015 (available       at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
126 See Statement of Joseph T. Rannazzisi before the Caucus on International Narcotics Control
United States Senate, July 18,        2012 (available        at
https://www.justice.gov/sites/default/files/testimonies/witnesses/attachments/07/18/12/07-18-12-
dea- rannazzisi.pdf).
127 Id.
128 Joseph T. Rannazzisi Decl. if 10, Cardinal Health, Inc. v. Eric Holder, Jr., Attorney General,
D.D.C. Case No. 12-cv-185 (Document 14-2 February 10, 2012).
129 Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (September 27, 2006);
                                                104
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a distributor should ask prior to shipping controlled substances, in order to "know their

customers." 130

        255.      Central to the closed-system created by the CSA was the directive that the

DEA determine quotas of each basic class of Schedule I and II controlled substances each

year. The quota system was intended to reduce or eliminate diversion from "legitimate

channels of trade" by controlling the "quantities of the basic ingredients needed for the

manufacture of [controlled substances], and the requirement of order forms for all transfers

of these drugs." 131 When evaluating production quotas, the DEA was instructed to consider the

following information:

                   a. Information provided by the Department of Health and Human Services;


                   b. Total net disposal of the basic class by all manufacturers;


                   c. Trends in the national rate of disposal of the basic class;


                   d. An applicant's production cycle and current inventory position;


                   e. Total actual or estimated inventories of the class and of all substances

                      manufactured from the class and trends in inventory accumulation; and


        256.      Other factors such as: changes in the currently accepted medical use of



Joseph T. Rannazzisi, In Reference to Registration # RC0183080 (December 27, 2007).
130 Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug
Enforcement Administration (available at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf).
131
   1970 U.S.C.C.A.N. 4566 at 5490; see also Testimony of Joseph T. Rannazzisi before the
Caucus on International Narcotics Control, United States Senate, May 5, 2015 (available at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).

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substances manufactured for a basic class; the economic and physical availability of raw

materials; yield and sustainability issues; potential disruptions to production; and unforeseen

emergencies. 132

          257.    It is unlawful for a registrant to manufacture a controlled substance in Schedule II,

like prescription opioids, that is (1) not expressly authorized by its registration and by a quota

assigned to it by DEA, or (2) in excess of a quota assigned to it by the DEA. 133

          258.    At all relevant times, the RICO Defendants operated as an association-in-

fact enterprise formed for the purpose of unlawfully increasing sales, revenues and profits by

disregarding their statutory duty to identify, investigate, halt and report suspicious orders

of opioids and diversion of their drugs into the illicit market, in order to unlawfully increase

the quotas set by the DEA and allow them to collectively benefit from the unlawful formation

of a greater pool of prescription opioids from which to profit. The RICO Defendants conducted

their pattern of racketeering activity in this jurisdiction and throughout the United States

through this enterprise.

          259.    The opioid epidemic has its origins in the mid-1990s when, between 1997

and 2007, per capita purchase of methadone, hydrocodone, and oxycodone increased 13-fold, 4-

fold, and 9-fold, respectively. By 2010, enough prescription opioids were sold in the United

States to medicate every adult in the county with a dose of 5 milligrams of hydrocodone every

4 hours for 1 month. 134 On information and belief, the Opioid Diversion Enterprise has been



132
   See Testimony of Joseph T. Rannazzisi before the Caucus on International Narcotics
Control, United State Senate,      May 5,           2015 (available     at
https://www.drugcaucus.senate.gov/sites/default/files/Rannazzisi%20Testimony_0.pdf).
133
      Id. (citing 21 U.S.C. 842(b)).
134
   Keyes KM, Cerda M, Brady JE, Havens JR, Galea S. Understanding the rural-urban
differences in nonmedical prescription opioid use and abuse in the United States. Am J Public
                                                   106
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ongoing for at least the last decade. 135

        260.    The Opioid Diversion Enterprise was and is a shockingly successful endeavor. It

Opioid Diversion Enterprise has been conducting business uninterrupted since its genesis. But,

it was not until recently that United States and State regulators finally began to unravel the

extent of the enterprise and the toll that it exacted on the American public.

        261.    At all relevant times, the Opioid Diversion Enterprise: (a) had an existence

separate and distinct from each RICO Defendant; (b) was separate and distinct from the

pattern of racketeering in which the RICO Defendants engaged; (c) was an ongoing and

continuing organization consisting of legal entities, including each of the RICO

Defendants; (d) characterized by interpersonal relationships among the RICO Defendants;

(e) had sufficient longevity for the enterprise to pursue its purpose; and (f) functioned as a

continuing unit. Turkette, 452 U.S. at 580; Boyle, 556 U.S. at 944 (2009). Each member of the

Opioid Diversion Enterprise participated in the conduct of the enterprise, including patterns of

racketeering activity, and shared in the astounding growth of profits supplied by fraudulently

inflating opioid sales generated as a result of the Opioid Diversion Enterprise's disregard for

their duty to prevent diversion of their drugs into the illicit market and then requesting the

DEA increase production quotas, all so that the RICO Defendants would have a larger pool

of prescription opioids from which to profit.

        262.    The Opioid Diversion Enterprise also engaged in efforts to lobby against the

DEA's authority to hold the RICO Defendants liable for disregarding their duty to prevent


Health. 2014;104(2):e52- 9.
135
   Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for    Public Integrity      (September    19,    2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo- chamber-shaped-policy-
amid- drug-epidemic.

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diversion. Members of the Pain Care Forum (described in greater detail below) and the Healthcare

Distribution Alliance lobbied for the passage of legislation to weaken the DEA's enforcement

authority. The Ensuring Patient Access and Effective Drug Enforcement Act significantly

reduced the DEA's ability to issue orders to show cause and to suspend and/or revoke

registrations. 136 The HDA and other members of the Pain Care Forum contributed

substantial amounts of money to political campaigns for federal candidates, state candidates,

political action committees and political parties. Plaintiffs are informed and believe that the

Pain Care Forum and their members poured at least $3.5 million into lobbying efforts in this

jurisdiction while the HDA devoted over a million dollars a year to its lobbying efforts

between 2011 and 2016.

        263.   The Opioid Diversion Enterprise functioned by selling prescription opioids.

While there are some legitimate uses and/or needs for prescription opioids, the RICO

Defendants, through their illegal enterprise, engaged in a pattern of racketeering activity, that

involves a fraudulent scheme to increase revenue by violating State and Federal laws

requiring the maintenance of effective controls against diversion of prescription opioids, and

the identification, investigation, and reporting of suspicious orders of prescription opioids


136
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
13, 2016, updated July        6,     2016), http://pharmaceuticalcommerce.com/business-and-
finance/hdma-now- healthcare-distribution- alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of
Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic- grew-out-of-control/2016/10/22/aea2bf8e-7f71-
11e6-8d13- d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S.
Senator Calls for Investigation of DEA       Enforcement Slowdown         Amid Opioid Crisis,
Wash. Post, Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-
for-investigation-of-dea-enforcement- slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No Leadership”Charleston Gazette-
Mail, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-
flood-of- pain-pills-.

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destined for the illicit drug market. The goal of Defendants' scheme was to increase profits

from opioid sales. But, Defendants' profits were limited by the production quotas set by the

DEA, so the Defendants refused to identify, investigate and/or report suspicious orders of their

prescription opioids being diverted into the illicit drug market. The end result of this strategy

was to increase and maintain artificially high production quotas of opioids so that there was

a larger pool of opioids for Defendants to manufacture and distribute for public consumption.

       264.    The Opioid Diversion Enterprise engaged in, and its activities affected,

interstate and foreign commerce because the enterprise involved commercial activities across

states lines, such as manufacture, sale, distribution, and shipment of prescription opioids

throughout the County and this jurisdiction, and the corresponding payment and/or receipt of

money from the sale of the same.

       265.    Within the Opioid Diversion Enterprise, there were interpersonal relationships

and common communication by which the RICO Defendants shared information on a regular

basis. These interpersonal relationships also formed the organization of the Opioid Diversion

Enterprise. The Opioid Diversion Enterprise used their interpersonal relationships and

communication network for the purpose of conducting the enterprise through a pattern of

racketeering activity.

       266.    Each of the RICO Defendants had a systematic link to each other through

joint participation in lobbying groups, trade industry organizations, contractual relationships

and continuing coordination of activities. The RICO Defendants participated in the operation

and management of the Opioid Diversion Enterprise by directing its affairs, as described

herein. While the RICO Defendants participated in, and are members of, the enterprise, they

each have a separate existence from the enterprise, including distinct legal statuses, different


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offices and roles, bank accounts, officers, directors, employees, individual personhood, reporting

requirements, and financial statements.

          267.   The RICO Defendants exerted substantial control over the Opioid Diversion

Enterprise by their membership in the Pain Care Forum, the HDA, and through their contractual

relationships.

          268.   The Pain Care Forum ("PCF") has been described as a coalition of drug makers,

trade groups and dozens of non-profit organizations supported by industry funding. The

PCF recently became a national news story when it was discovered that lobbyists for members of

the PCF quietly shaped federal and state policies regarding the use of prescription opioids for

more than a decade.

          269.   The Center for Public Integrity and The Associated Press obtained "internal

documents shed[ding] new light on how drug makers and their allies shaped the national

response to the ongoing wave of prescription opioid abuse." 137 Specifically, PCF members

spent over $740 million lobbying in the nation's capital and in all 50 statehouses on an

array of issues, including opioid-related measures. 138

          270.   Not surprisingly, each of the RICO Defendants who stood to profit from

lobbying in favor of prescription opioid use is a member of and/or participant in the PCF. 139

In 2012, membership and participating organizations included the HDA (of which all RICO



137 Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro- painkiller-echo- chamber-shaped-policy-
amid-drug-epidemic (emphasis added).
138 Id.
139 PAIN CARE FORUM 2012 Meetings Schedule,                (last updated
      December 2011), https://assets.documentcloud.org/documents/3108982/PAIN-
CARE-FORUM-Meetings-Schedule- amp.pdf

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Defendants are members), Endo, Purdue, Johnson & Johnson (the parent company for Janssen

Pharmaceuticals), Actavis (i.e., Allergan), and Teva (the parent company of Cephalon). 140 Each

of the Manufacturer Defendants worked together through the PCF to advance the interests of the

enterprise. But, the Manufacturer Defendants were not alone. The Distributor Defendants actively

participated, and continue to participate in the PCF, at a minimum, through their trade

organization, the HDA. 141 Plaintiffs are informed and believe that the Distributor Defendants

participated directly in the PCF as well.

        271.   The 2012 Meeting Schedule for the Pain Care Forum is particularly revealing

on the subject of the Defendants' interpersonal relationships. The meeting schedule

indicates that meetings were held in the D.C. office of Powers Pyles Sutter & Verville on a

monthly basis, unless otherwise noted. Local members were "encouraged to attend in

person" at the monthly meetings. And, the meeting schedule indicates that the quarterly and

year-end meetings included a "Guest Speaker."

        272.   The 2012 Pain Care Forum Meeting Schedule demonstrates that each of the

Defendants participated in meetings on a monthly basis, either directly or through their

trade organization, in a coalition of drug makers and their allies whose sole purpose was to shape

the national response to the ongoing prescription opioid epidemic, including the concerted

lobbying efforts that the PCF undertook on behalf of its members.



140 Id. Plaintiff is informed and believes that Mallinckrodt became an active member of
the PCF sometime after 2012.
141
   Id. The Executive Committee of the HDA (formerly the HDMA) currently includes the
Chief Executive Officer, Pharmaceutical Segment for Cardinal Health, Inc., the Group
President, Pharmaceutical Distribution and Strategic Global Source for AmerisourceBergen
Corporation, and the President, U.S. Pharmaceutical for McKesson Corporation. Executive
Committee, Healthcare Distribution Alliance         (accessed    on      September   14,
2017), https://www.healthcaredistribution.org/about/executive-committee.

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        273.   Second, the HDA -- or Healthcare Distribution Alliance -- led to the formation of

interpersonal relationships and an organization between the RICO Defendants. Although the

entire HDA membership directory is private, the HDA website confirms that each of the

Distributor Defendants and the Manufacturer Defendants named in the Complaint,

including Actavis (i.e., Allergan), Endo, Purdue, Mallinckrodt and Cephalon were members of

the HDA. 142144 And, the HDA and each of the Distributor Defendants, eagerly sought the active

membership and participation of the Manufacturer Defendants by advocating that one of the

benefits of membership included the ability to develop direct relationships between

Manufacturers and Distributors at high executive levels.

        274.   In fact, the HDA touted the benefits of membership to the Manufacturer

Defendants, advocating that membership included the ability to, among other things, "network

one on one with manufacturer executives at HDA's members-only Business and Leadership

Conference," "networking with HDA wholesale distributor members," "opportunities to host and

sponsor HDA Board of Directors events," "participate on HDA committees, task forces

and working groups with peers and trading partners," and "make connections." 143145 Clearly,

the HAD and the Distributor Defendants believed that membership in the HDA was an

opportunity to create interpersonal and ongoing organizational relationships between the

Manufacturers and Defendants.




142
   Manufacturer Membership, Healthcare Distribution Alliance,         (accessed          on
        September 14, 2017),
https://www.healthcaredistribution.org/about/membership/manufacturer.
143 Manufacturer Membership Benefits, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
https://www.healthcaredistribution.org/�/media/pdfs/membership/manufacturer-membership-
benefits.ashx?la=en.

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          275.   The application for manufacturer membership in the HDA further indicates

the level of connection that existed between the RICO Defendants. 144 The manufacturer

membership application must be signed by a "senior company executive," and it requests that

the manufacturer applicant identify a key contact and any additional contacts from within its

company. The HDA application also requests that the manufacturer identify its current

distribution information and its most recent year end net sales through any HDA distributors,

including but not limited to, Defendants AmerisourceBergen, Cardinal Health, and McKesson. 145

          276.   After becoming members, the Distributors and Manufacturers were eligible to

participate on councils, committees, task forces and working groups, including:

          277.   Industry Relations Council: "This council, composed of distributor and

manufacturer members, provides leadership on pharmaceutical distribution and supply chain

issues." 146

                  a. Business Technology Committee: "This committee provides guidance to

                     HDA and its members through the development of collaborative e-

                     commerce business solutions. The committee's major areas of focus within

                     pharmaceutical distribution include information systems, operational

                     integration and the impact of e- commerce." Participation in this committee




144 Manufacturer Membership Application, Healthcare Distribution Alliance, (accessed on
September 14, 2017),
https://www.healthcaredistribution.org/�/media/pdfs/membership/manufacturer-membership-
application.ashx?la=en
145 Id.
146 Councils and Committees, Healthcare Distribution Alliance, (accessed on
September 14, 2017), https://www.healthcaredistribution.org/about/councils-and-committees.

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                includes distributors and manufacturer members. 147


             b. Health, Beauty and Wellness Committee: "This committee conducts

                research, as well as creates and exchanges industry knowledge to help

                shape the future of the distribution for health, beauty and wellness/consumer

                products in the healthcare supply chain." Participation in this committee

                includes distributors and manufacturer members. 148


             c. Logistics Operation Committee: "This committee initiates projects designed

                to help members enhance the productivity, efficiency and customer

                satisfaction within the healthcare supply chain. Its major areas of focus

                include process automation, information systems, operational integration,

                resource management and quality improvement." Participation in this

                committee includes distributors and manufacturer members. 149


             d. Manufacturer Government Affairs Advisory Committee: "This committee

                provides a forum for briefing HDA's manufacturer members on federal and

                state legislative and regulatory activity affecting the pharmaceutical

                distribution channel. Topics discussed include such issues as prescription

                drug traceability, distributor licensing, FDA and DEA regulation of

                distribution, importation and Medicaid/Medicare reimbursement."




147 Id.
148 Id.
149 Id.

                                           114
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                                                                                        150
                       Participation in this committee includes manufacturer members.


                    e. Bar Code Task Force: Participation includes Distributor, Manufacturer

                       and Service Provider Members. 151


                    f. eCommerce Task Force: Participation includes Distributor,


                    g. Manufacturer and Service Provider Members. 152


                    h. ASN Working Group: Participation includes Distributor, Manufacturer

                       and Service Provider Members. 153


            278.   Contracts and Chargebacks Working Group: "This working group explores

how the contract administration process can be streamlined through process improvements or

technical efficiencies. It also creates and exchanges industry knowledge of interest to

contract and chargeback professionals." Participation includes Distributor and Manufacturer

Members. 154

            279.   The councils, committees, task forces and working groups provided the

Manufacturer and Distributor Defendants with the opportunity to work closely together in

shaping their common goals and forming the enterprise's organization.

            280.   The HDA also offers a multitude of conferences, including annual business

and leadership conferences. The HDA, and the Distributor Defendants advertise these


150 Id.
151 Id.
152
      Id.
153 Id.
154 Id.

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conferences to the Manufacturer Defendants as an opportunity to "bring together high-level

executives, thought leaders and influential managers . . . to hold strategic business discussions

on the most pressing industry issues." 155 The conferences also gave the Manufacturer and

Distributor Defendants "unmatched opportunities to network with [their] peers and trading

partners at all levels of the healthcare distribution industry." 156 The HDA and its conferences

were significant opportunities for the Manufacturer and Distributor Defendants to interact at a

high-level of leadership. And, it is clear that the Manufacturer Defendants embraced this

opportunity by attending and sponsoring these events. 157

            281.   Third, the RICO Defendants maintained their interpersonal relationships by

working together and exchanging information and driving the unlawful sales of their

opioids through their contractual relationships, including chargebacks and vault security

programs.

            282.   The Manufacturer Defendants engaged in an industry-wide practice of

paying rebates and/or chargebacks to the Distributor Defendants for sales of prescription

opioids. 158 As reported in the Washington Post, identified by Senator McCaskill, and



155 Business and Leadership Conference - Information for Manufacturers, Healthcare
Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/events/2015- business-and-leadership- conference/blc-
for-manufacturers.
156
      Id.
157 2015 Distribution Management Conference and Expo, Healthcare Distribution Alliance,
(accessed on September 14, 2017), https://www.healthcaredistribution.org/events/2015-
distribution-management- conference.
158 Lenny Bernstein & Scott Higham, The government's struggle to hold opioid manufacturers
accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356; see also, Letter from Sen. Claire McCaskill, (July 27,
2017), https://www.mccaskill.senate.gov/imo/media/image/july-opioid-investigation-letter-
manufacturers.png; Letter from Sen. Claire McCaskill, (July 27, 2017),
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acknowledged by the HDA, there is an industry-wide practice whereby the Manufacturers paid

the Distributors rebates and/or chargebacks on their prescription opioid sales. 159 On information

and belief, these contracts were negotiated at the highest levels, demonstrating ongoing

relationships between the Manufacturer and Distributor Defendants. In return for the rebates

and chargebacks, the Distributor Defendants provided the Manufacturer Defendants with

detailed information regarding their prescription opioid sales, including purchase orders,

acknowledgements, ship notices, and invoices. 160 The Manufacturer Defendants used this

information to gather high-level data regarding overall distribution and direct the Distributor

Defendants on how to most effectively sell the prescription opioids.

          283.   The contractual relationships among the RICO Defendants also include vault

security programs. The RICO Defendants are required to maintain certain security protocols and

storage facilities for the manufacture and distribution of their opiates. Plaintiffs are informed

and believe that manufacturers negotiated agreements whereby the Manufacturers installed

security vaults for Distributors in exchange for agreements to maintain minimum sales

performance thresholds. Plaintiffs are informed and believe that these agreements were used

by the RICO Defendants as a tool to violate their reporting and diversion duties in order to

reach the required sales requirements.

          284.   Taken together, the interaction and length of the relationships between and among



https://www.mccaskill.senate.gov/imo/media/image/july-opioid- investigation-letter-
manufacturers.png; Letters From Sen. Claire McCaskill, (March 28, 2017),
https://www.mccaskill.senate.gov/opioid- investigation; Purdue Managed Markets, Purdue
Pharma, (accessed on September 14, 2017), http://www.purduepharma.com/payers/managed-
markets/.
159 Id.
160
      Webinars, Healthcare    Distribution Alliance,          (accessed      on     September 14,
         2017),   https://www.healthcaredistribution.org/resources/webinar-leveraging-edi.

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the Manufacturer and Distributor Defendants reflects a deep level of interaction and

cooperation between two groups in a tightly knit industry. The Manufacturer and

Distributor Defendants were not two separate groups operating in isolation or two groups

forced to work together in a closed system. The RICO Defendants operated together as a

united entity, working together on multiple fronts, to engage in the unlawful sale of

prescription opioids. The HDA and the Pain Care Forum are but two examples of the

overlapping relationships, and concerted joint efforts to accomplish common goals and

demonstrates that the leaders of each of the RICO Defendants was in communication and

cooperation.

          285.   According to articles published by the Center for Public Integrity and The

Associated Press, the Pain Care Forum -- whose members include the Manufacturers and the

Distributors' trade association has been lobbying on behalf of the Manufacturers and Distributors

for "more than a decade." 161 And, from 2006 to 2016 the Distributors and Manufacturers worked

together through the Pain Care Forum to spend over $740 million lobbying in the nation's capital

and in all 50 statehouses on issues including opioid-related measures. 162 Similarly, the HDA has

continued its work on behalf of Distributors and Manufacturers, without interruption, since

at least 2000, if not longer. 163165

          286.   As described above, the RICO Defendants began working together as early as




161 Matthew Perrone, Pro-Painkiller echo chamber shaped policy amid drug epidemic, The
Center for Public Integrity (September 19, 2017, 12:01 a.m.),
https://www.publicintegrity.org/2016/09/19/20201/pro-painkiller-echo-    chamber-shaped-
policy-amid- drug-epidemic.
162 Id.
163 HDA History, Healthcare Distribution Alliance, (accessed on September 14, 2017),
https://www.healthcaredistribution.org/about/hda-history.

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2006 through the Pain Care Forum and/or the HDA to promote the common purpose of their

enterprise. Plaintiffs are informed and believe that the RICO Defendants worked together as

an ongoing and continuous organization throughout the existence of their enterprise.

                 CONDUCT OF THE OPIOID DIVERSION ENTERPRISE

       287.    During the time period alleged in this Complaint, the RICO Defendants exerted

control over, conducted and/or participated in the Opioid Diversion Enterprise by fraudulently

failing to comply with their Federal and State obligations to identify, investigate and

report suspicious orders of opioids in order to prevent diversion of those highly addictive

substances into the illicit market, to halt such unlawful sales and, in doing so, to increase

production quotas and generate unlawful profits, as follows:

                a. Defendants disseminated false and misleading statements to the public

                    claiming that they were complying with their obligations to maintain

                    effective controls against diversion of their prescription opioids.


                b. Defendants disseminated false and misleading statements to the public

                    claiming that they were complying with their obligations to design and operate

                    a system to disclose to the registrant suspicious orders of their prescription

                    opioids.


                c. 290. Defendants disseminated false and misleading statements to the public

                    claiming that they were complying with their obligation to notify the DEA

                    of any suspicious orders or diversion of their prescription opioids.


                d. Defendants paid nearly $800 million dollars to influence local, state and

                    federal governments through joint lobbying efforts as part of the Pain Care


                                                119
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                   Forum. The RICO Defendants were all members of their Pain Care Forum

                   either directly or indirectly through the HDA. The lobbying efforts of the

                   Pain Care Forum and its members, included efforts to pass legislation

                   making it more difficult for the DEA to suspend and/or revoke the

                   Manufacturers' and Distributors' registrations for failure to report suspicious

                   orders of opioids.


               e. The RICO Defendants exercised control and influence over the

                   distribution industry by participating and maintaining membership in the

                   HDA.


               f. The RICO Defendants applied political and other pressure on the DOJ and

                   DEA to halt prosecutions for failure to report suspicious orders of

                   prescription opioids and lobbied Congress to strip the DEA of its ability

                   to immediately suspend registrations pending investigation by passing the

                   "Ensuring Patient Access and Effective Drug Enforcement Act." 164 The

                   RICO Defendants engaged in an industry-wide practice of paying rebates


164
   See HDMA is now the Healthcare Distribution Alliance, Pharmaceutical Commerce, (June
13, 2016, updated July 6, 2016), http://pharmaceuticalcommerce.com/business-and-
finance/hdma-now- healthcare-distribution- alliance/; Lenny Bernstein & Scott Higham,
Investigation: The DEA Slowed Enforcement While the Opioid Epidemic Grew Out of
Control, Wash. Post, Oct. 22, 2016, https://www.washingtonpost.com/investigations/the-dea-
slowed-enforcement-while-the-opioid-epidemic- grew-out-of-control/2016/10/22/aea2bf8e-7f71-
11e6-8d13- d7c704ef9fd9_story.html; Lenny Bernstein & Scott Higham, Investigation: U.S.
Senator Calls for Investigation of DEA Enforcement Slowdown Amid Opioid Crisis, Wash. Post,
Mar. 6, 2017, https://www.washingtonpost.com/investigations/us-senator-calls-for-investigation-
of-dea-enforcement- slowdown/2017/03/06/5846ee60-028b-11e7-b1e9-
a05d3c21f7cf_story.html; Eric Eyre, DEA Agent: “We Had No Leadership”Charleston Gazette-
Mail, http://www.wvgazettemail.com/news/20170218/dea-agent-we-had-no-leadership-in-wv-amid-
flood-of- pain-pills-.

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                    and chargebacks to incentivize unlawful opioid prescription sales.


       288.    Plaintiff is informed a n d believes that the Manufacturer Defendants used the

chargeback program to acquire detailed high-level data regarding sales of the opioids they

manufactured. And, Plaintiffs are informed and believe that the Manufacturer Defendants

used this high-level information to direct the Distributor Defendants' sales efforts to regions

where prescription opioids were selling in larger volumes.The Manufacturer Defendants

lobbied the DEA to increase Aggregate Production Quotas, year after year by submitting net

disposal information that the Manufacturer Defendants knew included sales that were

suspicious and involved the diversion of opioids that had not been properly investigated or

reported by the RICO Defendants.

       289.    The Distributor Defendants developed "know your customer" questionnaires and

files. This information, compiled pursuant to comments from the DEA in 2006 and 2007

was intended to help the RICO Defendants identify suspicious orders or customers who were

likely to divert prescription opioids. 165 On information and belief, the "know your customer"

questionnaires informed the RICO Defendants of the number of pills that the pharmacies

sold, how many non-controlled substances are sold compared to controlled substances,

whether the pharmacy buys from other distributors, the types of medical providers in the area,

including pain clinics, general practitioners, hospice facilities, cancer treatment facilities,

among others, and these questionnaires put the recipients on notice of suspicious orders.



165 Suggested Questions a Distributor should ask prior to shipping controlled substances, Drug
Enforcement Administration (available        at
https://www.deadiversion.usdoj.gov/mtgs/pharm_industry/14th_pharm/levinl_ques.pdf); Richard
Widup, Jr., Kathleen H. Dooley, Esq. Pharmaceutical Production Diversion: Beyond the PDMA,
Purdue Pharma and McQuite Woods LLC, (available at https://www.mcguirewoods.com/news-
resources/publications/lifesciences/product_diversion_beyond_pdma.pdf).

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            290.   The RICO Defendants refused to identify, investigate and report suspicious

orders to the DEA when they became aware of the same despite their actual knowledge of

drug diversion rings. The RICO Defendants refused to identify suspicious orders and diverted

drugs despite the DEA issuing final decisions against the Distributor Defendants in 178

registrant actions between 2008 and 2012 166 and 117 recommended decision in registrant actions

from The Office of Administrative Law Judges. These numbers include 76 actions

involving orders to show cause and 41 actions involving immediate suspension orders -- all

for failure to report suspicious orders. 167

            291.   Defendants' scheme had decision-making structure that was driven by the

Manufacturer Defendants and corroborated by the Distributor Defendants. The Manufacturer

Defendants worked together to control the State and Federal Government's response to the

manufacture and distribution of prescription opioids by increasing production quotas through a

systematic refusal to maintain effective controls against diversion, and identify suspicious orders

and report them to the DEA.

            292.   The RICO Defendants worked together to control the flow of information

and influence state and federal governments and political candidates to pass legislation that was

pro- opioid. The Manufacturer and Distributor Defendants did this through their participation

in the Pain Care Forum and Healthcare Distributors Alliance.

            293.   The RICO Defendants also worked together to ensure that the Aggregate

Production Quotas, Individual Quotas and Procurement Quotas allowed by the DEA stayed



166
   Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep't of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.
167
      Id.

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high and ensured that suspicious orders were not reported to the DEA. By not reporting

suspicious orders or diversion of prescription opioids, the RICO Defendants ensured that the

DEA had no basis for refusing to increase or decrease the production quotas for prescription

opioids due to diversion of suspicious orders. The RICO Defendants influenced the DEA

production quotas in the following ways:

                a. The Distributor Defendants assisted the enterprise and the Manufacturer

                   Defendants in their lobbying efforts through the Pain Care Forum;


                b. The Distributor Defendants invited the participation, oversight and control

                   of the Manufacturer Defendants by including them in the HDA, including

                   on the councils, committees, task forces, and working groups;


                c. The Distributor Defendants provided sales information to the

                   Manufacturer Defendants regarding their prescription opioids, including

                   reports of all opioids prescriptions filled by the Distributor Defendants;


                d. The Manufacturer Defendants used a chargeback program to ensure

                   delivery of the Distributor Defendants' sales information;


                e. The Manufacturer Defendants obtained sales information from

                   QuintilesIMS (formerly IMS Health) that gave them a "stream of data

                   showing how individual doctors across the nation were prescribing

                   opioids." 168170



168
   Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals
and addicts. What the drugmaker knew, Los Angeles Times, (July 10, 2016),
http://www.latimes.com/projects/la-me-oxycontin-part2/

                                              123
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                f. The Distributor Defendants accepted rebates and chargebacks for orders

                   of prescription opioids;


                g. The Manufacturer Defendants used the Distributor Defendants' sales

                   information and the data from QuintilesIMS to instruct the Distributor

                   Defendants to focus their distribution efforts to specific areas where the

                   purchase of prescription opioids was most frequent;


                h. The RICO Defendants identified suspicious orders of prescription opioids

                   and then continued filling those unlawful orders, without reporting them,

                   knowing that they were suspicious and/or being diverted into the illicit drug

                   market;


                i. The RICO Defendants refused to report suspicious orders of prescription

                   opioids despite repeated investigation and punishment of the Distributor

                   Defendants by the DEA for failure to report suspicious orders; and


                j. The RICO Defendants withheld information regarding suspicious orders and

                   illicit diversion from the DEA because it would have revealed that the

                   "medical need" for and the net disposal of their drugs did not justify the

                   production quotas set by the DEA.


       294.   The scheme devised and implemented by the RICO Defendants amounted to a

common course of conduct characterized by a refusal to maintain effective controls

against diversion, and all designed and operated to ensure the continued unlawful sale of

controlled substances.


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                       PATTERN OF RACKETEERING ACTIVITY.

       295.    The Rico Defendants conducted and participated in the conduct of the Opioid

Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C. § 1961(B),

including mail fraud (18 U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343); and 18 §

1961(D) by the felonious manufacture, importation, receiving, concealment buying selling, or

otherwise dealing in a controlled substance or listed chemical (as defined in section 102 of the

Controlled Substance Act), punishable under any law of the United States.

                  The RICO Defendants Engaged in Mail and Wire Fraud.

       296.    The RICO Defendants carried out, or attempted to carry out, a scheme to defraud

federal and state regulators, and the American public by knowingly conducting or participating

in the conduct of the Opioid Diversion Enterprise through a pattern of racketeering activity

within the meaning of 18 U.S.C. § 1961(1) that employed the use of mail and wire facilities, in

violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).

       297.    The RICO Defendants committed, conspired to commit, and/or aided and

       abetted in the commission of at least two predicate acts of racketeering activity (i.e.

violations of 18 U.S.C. §§ 1341 and 1343) within the past ten years. The multiple acts of

racketeering activity that the RICO Defendants committed, or aided and abetted in the

commission of, were related to each other, posed a threat of continued racketeering activity, and

therefore constitute a "pattern of racketeering activity." The racketeering activity was made

possible by the RICO Defendants' regular use of the facilities, services, distribution channels,

and employees of the Opioid Diversion Enterprise. The RICO Defendants participated in the

scheme to defraud by using mail, telephone and the Internet to transmit mailings and wires in

interstate or foreign commerce.


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        298.    The RICO Defendants used, directed the use of, and/or caused to be used,

thousands of interstate mail and wire communications in service of their scheme through virtually

uniform misrepresentations, concealments and material omissions regarding their compliance

with their mandatory reporting requirements and the actions necessary to carry out their unlawful

goal of selling prescription opioids without reporting suspicious orders or the diversion of

opioids into the illicit market.

        299.    In devising and executing the illegal scheme, the RICO Defendants devised

and knowingly carried out a material scheme and/or artifice to defraud by means of materially

false or fraudulent pretenses, representations, promises, or omissions of material facts. For the

purpose of executing the illegal scheme, the RICO Defendants committed these racketeering acts,

which number in the thousands, intentionally and knowingly with the specific intent to advance

the illegal scheme.

        300.    The RICO Defendants' predicate acts of racketeering (18 U.S.C. § 1961(1))

include, but are not limited to:

                 a. Mail Fraud: The RICO Defendants violated 18 U.S.C. § 1341 by sending

                      or receiving, or by causing to be sent and/or received, materials via U.S.

                      mail or commercial interstate carriers for the purpose of executing the

                      unlawful scheme to design, manufacture, market, and sell the

                      prescription opioids by means of false pretenses, misrepresentations,

                      promises, and omissions.


                 b. Wire Fraud: The RICO Defendants violated 18 U.S.C. § 1343 by

                      transmitting and/or receiving, or by causing to be transmitted and/or

                      received, materials by wire for the purpose of executing the unlawful

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                    scheme to design, manufacture, market, and sell the prescription opioids

                    by means of false pretenses, and misrepresentations, promises, and

                    omissions.


       301.    The RICO Defendants' use of the mail and wires includes, but is not limited to,

the transmission, delivery, or shipment of the following by the Manufacturers, Distributors, or

third parties that were foreseeably caused to be sent as a result of the RICO Defendants' illegal

scheme, including but not limited to:

                a. The prescription opioids themselves;


                b. Documents and communications that facilitated the manufacture, purchase

                    and unlawful sale of prescription opioids;


                c. Defendants' DEA registrations;


                d. Documents and communications that supported and/or facilitated

                    Defendants' DEA registrations;


                e. Documents and communications that supported and/or facilitated the

                    Defendants' request for higher aggregate production quotas, individual

                    production quotas, and procurement quotas;


                f. Defendants' records and reports that were required to be submitted to the

                    DEA pursuant to 21 U.S.C. § 827;


                g. Documents and communications related to the Defendants' mandatory DEA

                    reports pursuant to 21 U.S.C. § 823 and 21 C.F.R. § 1301.74;


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                h. Documents intended to facilitate the manufacture and distribution of

                    Defendants' prescription opioids, including bills of lading, invoices,

                    shipping records, reports and correspondence;


                i. Documents for processing and receiving payment for prescription opioids;


                j. Payments from the Distributors to the Manufacturers;


                k. Rebates and chargebacks from the Manufacturers to the Distributors;


                l. Payments to Defendants' lobbyists through the Pain Care Forum;


                m. Payments to Defendants' trade organizations, like the HDA, for

                    memberships and/or sponsorships;


                n. Deposits of proceeds from Defendants' manufacture and distribution of

                    prescription opioids; and


                o. Other documents and things, including electronic communications.


       302.    On information and belief, the RICO Defendants (and/or their agents), for

the purpose of executing the illegal scheme, sent and/or received (or caused to be sent

and/or received) by mail or by private or interstate carrier, shipments of prescription opioids and

related documents by mail or by private carrier affecting interstate commerce, including the

following:

       303.    Purdue manufactures multiple forms of prescription opioids, including but not

limited to: OxyContin, MS Contin, Dilaudid/Dilaudid HP, Butrans, Hysingla ER, and Targiniq

ER. Purdue manufactured and shipped these prescription opioids to the Distributor

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Defendants.

       304.    The Distributor Defendants shipped Purdue's prescription opioids throughout

the United States.

       305.    Cephalon manufactures multiple forms of prescription opioids, including but

not limited to: Actiq and Fentora. Cephalon manufactured and shipped these prescription opioids

to the Distributor Defendants.

       306.    The Distributor Defendants shipped Teva's prescription opioids throughout

the United States.

       307.    Janssen manufactures prescription opioids known as Duragesic. Janssen

manufactured and shipped its prescription opioids to the Distributor Defendants.

       308.    The Distributor Defendants shipped Janssen's prescription opioids throughout

the United States.

       309.    Endo manufactures multiple forms of prescription opioids, including but not

limited to: Opana/Opana ER, Percodan, Percocet, and Zydone. Endo manufactured and

shipped its prescription opioids to the Distributor Defendants.

       310.    The Distributor Defendants shipped Janssen's prescription opioids throughout

the United States.

       311.    Actavis manufactures multiple forms of prescription opioids, including but

not limited to: Kadin and Norco, as well as generic versions of the drugs known as Kadian,

Duragesic and Opana. Actavis manufactured and shipped its prescription opioids to the

Distributor Defendants.

       312.    The Distributor Defendants shipped Actavis' prescription opioids throughout

the United States.


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        313.    Mallinckrodt manufactures multiple forms of prescription opioids, including

but not limited to: Exalgo and Roxicodone.

        314.    The Distributor Defendants shipped Mallinckrodt's prescription opioids

throughout the United States.

        315.    The RICO Defendants also used the internet and other electronic facilities to carry

out their scheme and conceal the ongoing fraudulent activities. Specifically, the RICO

Defendants made misrepresentations about their compliance with Federal and State laws

requiring them to identify, investigate and report suspicious orders of prescription opioids and/or

diversion of the same into the illicit market.

        316.    At the same time, the RICO Defendants misrepresented the superior safety

features of their order monitoring programs, ability to detect suspicious orders, commitment to

preventing diversion of prescription opioids and that they complied with all state and

federal regulations regarding the identification and reporting of suspicious orders of prescription

opioids.

        317.    Plaintiffs are also informed and believe that the RICO Defendants utilized

the internet and other electronic resources to exchange communications, to exchange information

regarding prescription opioid sales, and to transmit payments and rebates/chargebacks.

        318.    The RICO Defendants also communicated by U.S. Mail, by interstate

facsimile, and by interstate electronic mail and with various other affiliates, regional offices,

regulators, distributors, and other third-party entities in furtherance of the scheme.

        319.    The mail and wire transmissions described herein were made in furtherance of

Defendants' scheme and common course of conduct to deceive regulators and the public

that Defendants were complying with their state and federal obligations to identify and report


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suspicious orders of prescription opioids all while Defendants were knowingly allowing

millions of doses of prescription opioids to divert into the illicit drug market. The RICO

Defendants' scheme and common course of conduct was intended to increase or maintain

high production quotas for their prescription opioids from which they could profit.

        320.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

wire facilities have been deliberately hidden, and cannot be alleged without access to

Defendants' books and records. But, Plaintiffs have described the types of, and in some instances,

occasions on which the predicate acts of mail and/or wire fraud occurred. They include

thousands of communications to perpetuate and maintain the scheme, including the things and

documents described in the preceding paragraphs.

        321.    The RICO Defendants did not undertake the practices described herein in

isolation, but as part of a common scheme. These actions violate 18 U.S.C. § 1962(c). Various

other persons, firms, and corporations, including third-party entities and individuals not named

as defendants in this Complaint, may have contributed to and/or participated in the scheme with

the RICO Defendants in these offenses and have performed acts in furtherance of the scheme to

increase revenues, increase market share, and /or minimize the losses for the RICO Defendants.

        322.    The RICO Defendants aided and abetted others in the violations of the above

laws, thereby rendering them indictable as principals in the 18 U.S.C. §§ 1341 and 1343

offenses.

        323.    The RICO Defendants hid from the general public, and suppressed and/or

ignored warnings from third parties, whistleblowers and governmental entities, about the reality

of the suspicious orders that the RICO Defendants were filling on a daily basis -- leading to the

diversion of a tens of millions of doses of prescription opioids into the illicit market.


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       324.    The RICO Defendants, with knowledge and intent, agreed to the overall

objective of their fraudulent scheme and participated in the common course of conduct to commit

acts of fraud and indecency in manufacturing and distributing prescription opioids.

       325.    Indeed, for the Defendants' fraudulent scheme to work, each of the Defendants

had to agree to implement similar tactics regarding marketing prescription opioids and

refusing to report suspicious orders.

       326.    As described herein, the RICO Defendants engaged in a pattern of related and

continuous predicate acts for years. The predicate acts constituted a variety of unlawful activities,

each conducted with the common purpose of obtaining significant monies and revenues from the

sale of their highly addictive and dangerous drugs. The predicate acts also had the same or similar

results, participants, victims, and methods of commission. The predicate acts were related and not

isolated events.

       327.    The predicate acts all had the purpose of generating significant revenue and

profits for the RICO Defendants while Plaintiffs were left with substantial monetary losses

through the damage that the prescription opioid epidemic caused. The predicate acts were

committed or caused to be committed by the RICO Defendants through their participation in the

Opioid Diversion Enterprise and in furtherance of its fraudulent scheme.

       328.    The pattern of racketeering activity alleged herein and the Opioid Diversion

Enterprise are separate and distinct from each other. Likewise, Defendants are distinct from the

enterprise.

       329.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future.

       330.    Many of the precise dates of the RICO Defendants' criminal actions at issue


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here have been hidden and cannot be alleged without access to Defendants' books and

records. Indeed, an essential part of the successful operation of the Opioids Addiction and

Opioid Diversion Enterprise alleged herein depended upon secrecy.

        331.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including the Plaintiffs and the proposed Class members.

Defendants calculated and intentionally crafted the Opioid Diversion Enterprise and their

scheme to increase and maintain their increased profits, without regard to the effect such

behavior would have on consumers, Plaintiffs, or the proposed Class members. In designing and

implementing the scheme, at all times Defendants were cognizant of the fact that those in the

manufacturing and distribution chain rely on the integrity of the pharmaceutical companies

and ostensibly neutral third parties to provide objective and reliable information regarding

Defendants' products and their manufacture and distribution of those products.

        332.    By intentionally refusing to report and halt suspicious orders of their

prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

constituting a pattern of racketeering activity.

        333.    It was foreseeable to Defendants that refusing to report and halt suspicious

orders, as required by the CSA and Code of Federal Regulations, would harm Plaintiffs as set

out herein, by allowing the flow of prescription opioids from appropriate medical channels

into the illicit drug market.

        334.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

  The RICO Defendants Manufactured, Sold and/or Dealt in Controlled Substances and
                     Their Crimes Are Punishable as Felonies.

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       335.    The RICO Defendants conducted and participated in the conduct of the affairs of

the Opioid Diversion Enterprise through a pattern of racketeering activity as defined in 18 U.S.C.

       § 1961(D) by the felonious manufacture, importation, receiving, concealment, buying,

selling, or otherwise dealing in a controlled substance or listed chemical (as defined in section

102 of the Controlled Substance Act), punishable under any law of the United States.

       336.    The RICO Defendants committed crimes that are punishable as felonies under

the laws of the United States. Specifically, 21 U.S.C. § 483(a)(4) makes it unlawful for any person

to knowingly or intentionally furnish false or fraudulent information in, or omit any material

information from, any application, report, record or other document required to be made, kept or

filed under this subchapter. A violation of section 483(a)(4) is punishable by up to four years in

jail, making it a felony. 21 U.S.C. § 483(d)(1).

       337.    Each of the RICO Defendants qualify as registrants under the CSA. Their

status as registrants under the CSA requires that they maintain effective controls against

diversion of controlled substances in schedule I or II, design and operate a system to disclose

to the registrant suspicious orders of controlled substances, and inform the DEA of

suspicious orders when discovered by the registrant. 21 U.S.C. § 823; 21 C.F.R. § 1301.74(b).

       338.    Pursuant to the CSA and the Code of Federal Regulations, the RICO

Defendants were required to make reports to the DEA of any suspicious orders identified through

the design and operation of their system to disclose suspicious orders.

       339.    The RICO Defendants knowingly and intentionally furnished false or

fraudulent information in their reports to the DEA about suspicious orders, and/or omitted

material information from reports, records and other document required to be filed with the DEA

including the Manufacturer Defendants' applications for production quotas. Specifically, the

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RICO Defendants were aware of suspicious orders of prescription opioids and the diversion of

their prescription opioids into the illicit market, and failed to report this information to the DEA

in their mandatory reports and their applications for production quotas.

          340.   For example, The DEA and DOJ began investigating McKesson in 2013

regarding its monitoring and reporting of suspicious controlled substances orders. On April 23,

2015, McKesson filed a Form-8-K announcing a settlement with the DEA and DOJ wherein it

admitted to violating the CSA and agreed to pay $150 million and have some of its DEA

registrations suspended on a staggered basis. The settlement was finalized on January 17,

2017. 169

          341.   Purdue's experience in Los Angeles is another striking example of Defendants'

willful violation of the CSA and Code of Federal Regulations as it relates to reporting suspicious

orders of prescription opioids. In 2016, the Los Angeles Times reported that Purdue was aware

of a pill mill operating out of Los Angeles yet failed to alert the DEA. 170 The LA Times

uncovered that Purdue began tracking a surge in prescriptions in Los Angeles, including

one prescriber in particular. A Purdue sales manager spoke with company officials in 2009

about the prescriber, asking "Shouldn't the DEA be contacted about this?" and adding that she

felt "very certain this is an organized drug ring." 171 Despite knowledge of the staggering




169 McKesson, McKesson Finalizes Settlement with U.S. Department of Justice and U.S. Drug
Enforcement Administration to Resolve Past Claims, About McKesson / Newsroom / Press
Releases, (January    17,   2017(), http://www.mckesson.com/about-
mckesson/newsroom/press- releases/2017/mckesson-finalizes-settlement-with-doj- and-dea-to-
resolve-past-claims/.
170 Harriet Ryan, et al., More than 1 million OxyContin pills ended up in the hands of criminals
and addicts. What the drug maker knew, Los Angeles Times, (July 10, 2016),
http://www.latimes.com/projects/la-me-oxycontin-part2/.
171 Id.

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amount of pills being issued in Los Angeles, and internal discussion of the problem, "Purdue did

not shut off the supply of highly addictive OxyContin and did not tell authorities what it knew

about Lake Medical until several years later when the clinic was out of business and its

leaders indicted. By that time, 1.1 million pills had spilled into the hands of Armenian

mobsters, the Crips gang and other criminals." 172

            342.   Finally, Mallinckrodt was recently the subject of a DEA and Senate

investigation for its opioid practices. Specifically, in 2011, the DEA targeted Mallinckrodt

arguing that it ignored its responsibility to report suspicious orders as 500 million of its pills

ended up in Florida between 2008 and 2012. 173 After six years of DEA investigation,

Mallinckrodt agreed to a settlement involving a $35 million fine. Federal prosecutors

summarized the case by saying that Mallinckrodt's response was that everyone knew what was

going on in Florida but they had no duty to report it. 174

            343.   Plaintiffs are informed and believe that the foregoing examples reflect the

RICO Defendants' pattern and practice of willfully and intentionally omitting information from

their mandatory reports to the DEA as required by 21 C.F.R. § 1301.74. This conclusion is

supported by the sheer volume of enforcement actions available in the public record against

the Distributor Defendants. 175 For example:


172
      Id.
173 Lenny Bernstein & Scott Higham, The government's struggle to hold opioid manufacturers
accountable, The Washington Post, (April 2, 2017),
https://www.washingtonpost.com/graphics/investigations/dea-
mallinckrodt/?utm_term=.b24cc81cc356. This number accounted for 66% of all oxycodone sold
in the state of Florida during that time.
174 Id.
175 Evaluation and Inspections Div., Office of the Inspector Gen., U.S. Dep't of Justice, The
Drug Enforcement Administration’s Adjudication of Registrant Actions 6 (2014),
https://oig.justice.gov/reports/2014/e1403.pdf.

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       344.    On April 24, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the AmerisourceBergen Orlando, Florida distribution center ("Orlando

Facility") alleging failure to maintain effective controls against diversion of controlled

substances. On June 22, 2007, AmerisourceBergen entered into a settlement that resulted in the

suspension of its DEA registration;

       345.    On November 28, 2007, the DEA issued an Order to Show Cause and Immediate

Suspension Order against the Cardinal Health Auburn, Washington Distribution Center

("Auburn Facility") for failure to maintain effective controls against diversion of hydrocodone;

       346.    On December 5, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Lakeland, Florida Distribution

Center ("Lakeland Facility") for failure to maintain effective controls against diversion of

hydrocodone;

       347.    On December 7, 2007, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Swedesboro, New Jersey

Distribution Center ("Swedesboro Facility") for failure to maintain effective controls against

diversion of hydrocodone;

       348.    On January 30, 2008, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Stafford, Texas Distribution

Center ("Stafford Facility") for failure to maintain effective controls against diversion of

hydrocodone;

       349.    On May 2, 2008, McKesson Corporation entered into an Administrative

Memorandum of Agreement ("2008 MOA") with the DEA which provided that McKesson would

"maintain a compliance program designed to detect and prevent the diversion of controlled


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substances, inform DEA of suspicious orders required by 21 C.F.R. § 1301.74(b), and follow

the procedures established by its Controlled Substance Monitoring Program";

       350.    On September 30, 2008, Cardinal Health entered into a Settlement and Release

Agreement and Administrative Memorandum of Agreement with the DEA related to its Auburn

Facility, Lakeland Facility, Swedesboro Facility and Stafford Facility. The document also

referenced allegations by the DEA that Cardinal failed to maintain effective controls against

the diversion of controlled substances at its distribution facilities located in McDonough,

Georgia ("McDonough Facility"), Valencia, California ("Valencia Facility") and Denver,

Colorado ("Denver Facility");

       351.    On February 2, 2012, the DEA issued an Order to Show Cause and

Immediate Suspension Order against the Cardinal Health Lakeland, Florida Distribution

Center ("Lakeland Facility") for failure to maintain effective controls against diversion of

oxycodone;

       352.    On December 23, 2016, Cardinal Health agreed to pay a $44 million fine to

the DEA to resolve the civil penalty portion of the administrative action taken against its

Lakeland, Florida Distribution Center; and

       353.    On January 5, 2017, McKesson Corporation entered into an Administrative

Memorandum Agreement with the DEA wherein it agreed to pay a $150,000,000 civil penalty for

violation of the 2008 MOA as well as failure to identify and report suspicious orders at

its facilities in Aurora CO, Aurora IL, Delran NJ, LaCrosse WI, Lakeland FL, Landover MD,

La Vista NE, Livonia MI, Methuen MA, Santa Fe Springs CA, Washington Courthouse OH

and West Sacramento CA.

       354.    These actions against the Distributor Defendants confirm that the Distributors


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knew they had a duty to maintain effective controls against diversion, design and operate a

system to disclose suspicious orders, and to report suspicious orders to the DEA. These actions

also demonstrate, on information and belief, that the Manufacturer Defendants were aware of

the enforcement against their Distributors and the diversion of the prescription opioids and a

corresponding duty to report suspicious orders.

        355.    The pattern of racketeering activity alleged herein is continuing as of the date of

this Complaint and, upon information and belief, will continue into the future.

        356.    Many of the precise dates of Defendants' criminal actions at issue herein were

hidden and cannot be alleged without access to Defendants' books and records. Indeed, an

essential part of the successful operation of the Opioid Diversion Enterprise depended upon

the secrecy of the participants in that enterprise.

        357.    Each instance of racketeering activity alleged herein was related, had similar

purposes, involved the same or similar participants and methods of commission, and had similar

results affecting similar victims, including consumers and Plaintiff and the proposed Class

members. Defendants calculated and intentionally crafted the diversion scheme to increase and

maintain profits from unlawful sales of opioids, without regard to the effect such behavior would

have on consumers, Plaintiff, and the proposed Class members.

        358.    By intentionally refusing to report and halt suspicious orders of their

prescription opioids, Defendants engaged in a fraudulent scheme and unlawful course of conduct

constituting a pattern of racketeering activity.

        359.    It was foreseeable to Defendants that refusing to report and halt suspicious

orders, as required by the CSA and Code of Federal Regulations would harm Plaintiff as set out

herein by allowing the flow of prescription opioids from appropriate medical channels into


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the illicit drug market.

        360.    The last racketeering incident occurred within five years of the commission of a

prior incident of racketeering.

                                            DAMAGES

        361.    The RICO Defendants' violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiff and the proposed Class members injury in their

businesses, as described above in language expressly incorporated herein by reference.

        362.    Plaintiff's and the proposed Class members' injuries were proximately caused

by Defendants' racketeering activities. But for the RICO Defendants' conduct, Plaintiffs and the

proposed Class members would not have incurred the monetary losses described above and

expressly incorporated herein by reference.

        363.    Plaintiff's and the proposed Class members' injuries were directly caused by the

RICO Defendants' racketeering activities.

        364.    Plaintiff seeks actual damages, treble damages, attorney's fees and all costs and

expenses of suit and pre- and post-judgment interest.

                                  COUNT II
   RACKETEER INFLUENCED AND CORRUPT ORGANIZATIONS ACT 18 U.S.C.
                  1962(d), et seq. (Against All Defendants)

        365.    Plaintiff realleges and incorporates by reference all preceding paragraphs, and

alleges as follows on behalf of itself and the proposed Class:

        366.    Plaintiff’s and the proposed Class members' injuries were proximately caused

by Defendants' racketeering activities. But for the RICO Defendants' conduct, Plaintiffs and the

proposed Class members would not have incurred the monetary losses described above and

expressly incorporated herein by reference.


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       367.    Defendants conspired to violate Section 1962(c), as alleged more fully above,

by conducting the affairs of the Opioid Diversion Enterprise through a pattern of racketeering

activity, as incorporated by reference below.

                         THE OPIOID DIVERSION ENTERPRISE.

       368.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference Paragraphs 253 through 286 concerning the Opioid Diversion

Enterprise.

                CONDUCT OF THE OPIOID DIVERSION ENTERPRISE.

       369.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference Paragraphs 287 through 301 concerning the Opioid Diversion

Enterprise.

                       PATTERN OF RACKETEERING ACTIVITY.

       370.    For efficiency and avoiding repetition, for purposes of this claim, Plaintiffs

incorporate by reference Paragraphs 302 through 367 concerning the Opioid Diversion

Enterprise.

                                           DAMAGES

       371.    The RICO Defendants' violations of law and their pattern of racketeering

activity directly and proximately caused Plaintiffs' and the proposed Class members injury in their

businesses, as described above in language expressly incorporated herein by reference.

       372.    Plaintiffs bring this claim against all RICO Defendants. At all relevant times,

the RICO Defendants were associated with the Opioid Diversion Enterprise and agreed and

conspired to violate 18 U.S.C. § 1962(c), that is, they agreed to conduct and participate,

directly and indirectly, in the conduct of the affairs of the Opioid Diversion Enterprise through


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a pattern of racketeering activity in violation of 18 U.S.C. § 1962(d). Under Section 1962(d) it

is unlawful for "any person to conspire to violate" Section 1962(c), among other provisions.

18 U.S.C. § 1962(d).

        373.    Plaintiffs' and the proposed Class members' injuries were directly caused by

the RICO Defendants' racketeering activities.

        374.    Plaintiffs seek actual damages, treble damages, attorney's fees and all costs and

expenses of suit and pre- and post-judgment interest.

                                             COUNT III

                                           NEGLIGENCE

        375.    Plaintiff realleges and incorporates by reference all preceding paragraphs, and

alleges as follows on behalf of itself and the proposed Class:

        376.    Negligence is established where the defendant owes the plaintiff a duty of care,

breaches that duty, and the breach proximately causes damages to the plaintiff.

        377.    Negligence per se is established where the defendant violates a statutory duty and

where the statute is intended to protect against the result of the violation, the plaintiff is within

the class intended to be protected by the statute, and the statutory violation is a proximate cause

of the plaintiff’s injury.

        378.    Each of the Defendants owed plaintiff, acting on its own behalf and on behalf of

the class, statutory and common-law duties of care.

        379.    Each of the Defendants breached those duties by, among other things, promoting

and marketing the use of opioids for indications not federally approved and circulating false

and/or misleading information concerning their safety and efficacy and misstating or omitting the

risk of addiction arising from their use. In so doing, the Manufacturing Defendants acted with


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actual malice.

       380.      Each of the Defendants owed plaintiff, acting on its own behalf and on behalf of

the class, the statutory duty to report suspicious sales, and the duty not to fill suspicious orders,

the duty to abide by any government agreements entered regarding the same and the duty to

comply with the federal CSA, 21 C.F.R. §1301.74(b), which required the design and operation of

a system to detect and disclose suspicious orders of controlled substances.

       381.      Each of the Defendants breached these duties by failing to design and operate a

system that would disclose the existence of suspicious orders of controlled substances or by

failing to report such suspicious orders to the appropriate regulators as required by state and

federal laws. In doing so, the Defendants acted with actual malice.

       382.      It was foreseeable to Defendants that plaintiff, and the other members of the class,

would suffer damages as a result of the harm they caused. Valley Hope and the other treatment

centers were a direct and foreseeable victim of the misconduct committed by Defendants.

       383.      The misconduct by Defendants did directly and proximately cause plaintiff, and

other members of the class, to suffer concrete and economic harm.

       384.      Plaintiff, acting on its own behalf and on behalf of the class, suffered both injuries

and pecuniary losses proximately caused by the Defendants’ breaches of their duties of care.

Among other things, plaintiff, and other members of the class, have experienced an

unprecedented flood of opiate-addicted patients that have been unable to pay for their treatment.

Defendants’ breaches of the statutory and common-law duties they each owed to plaintiff and

their citizens are the proximate cause of this crisis and its resultant harm to plaintiffs and their

residents.

       385.      Plaintiff seeks compensatory and punitive damages.


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                                   VIII. PRAYER FOR RELIEF

         WHEREFORE, Plaintiff on behalf of itself and all others similarly situated, ask that the

Court:

                 a. Certify the Class proposed herein;


                 b. Appoint Plaintiff as representatives of the Class;


                 c. Appoint Plaintiff’s counsel as attorneys for the Class;


                 d. Enter judgment awarding Plaintiff and the Class members treble damages

                     on their RICO claims;


                 e. Award Plaintiff and the class members prejudgment interest and post-

                     judgment interest as provided by law;


                 f. Award Plaintiff and the Class members a reasonable attorney's fee and costs;

                     and


                 g. Provide such further relief as may be just and proper.


                                      IX. JURY DEMAND

         Plaintiff, on behalf of itself and the Class members, demands a trial by jury on all

issues so triable.

         Respectfully Submitted,


                                              REX A. SHARP, P.A.

                                              /s/ Rex A. Sharp
                                              Rex. A. Sharp (KS #12350)


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